         Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 1 of 120



                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                                         )
In re:                                                                   )   Chapter 11
                                                                         )
SOUTHERN FOODS GROUP, LLC, et al.,                                       )   Case No. 19-36313 (DRJ)
                                                                         )
                     Debtors.1                                           )   (Jointly Administered)
                                                                         )
                                                                         )   Ref. Docket Nos. 2-11, 14, 16,
                                                                         )   21, 23-29, 41, 45, 46, 69-71

                                                  AFFIDAVIT OF SERVICE

STATE OF NEW YORK  )
                   ) ss.:
COUNTY OF NEW YORK )

FORREST HOUKU, being duly sworn, deposes and says:

1. I am employed as a Noticing Coordinator by Epiq Corporate Restructuring, LLC, located at
   777 Third Avenue, New York, New York 10017. I am over the age of eighteen years and am
   not a party to the above-captioned action.

2. On November 12, 2019, I caused to be served the:

     a. “Emergency Motion of Debtors for Entry of an Order (I) Directing Joint Administration
        of Chapter 11 Cases and (II) Granting Related Relief,” dated November 12, 2019 [Docket
        No. 2], (the “Joint Administration Motion”),



1 The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their respective Employer
Identification Numbers, are as follows: Southern Foods Group, LLC (1364); Dean Foods Company (9681); Alta-Dena Certified
Dairy, LLC (1347); Berkeley Farms, LLC (8965); Cascade Equity Realty, LLC (3940); Country Fresh, LLC (6303); Dairy
Information Systems Holdings, LLC (9144); Dairy Information Systems, LLC (0009); Dean Dairy Holdings, LLC (9188); Dean
East II, LLC (9192); Dean East, LLC (8751); Dean Foods North Central, LLC (7858); Dean Foods of Wisconsin, LLC (2504);
Dean Holding Company (8390); Dean Intellectual Property Services II, Inc. (3512); Dean International Holding Company
(9785); Dean Management, LLC (7782); Dean Puerto Rico Holdings, LLC (6832); Dean Services, LLC (2168); Dean
Transportation, Inc. (8896); Dean West II, LLC (9190); Dean West, LLC (8753); DFC Aviation Services, LLC (1600); DFC
Energy Partners, LLC (3889); DFC Ventures, LLC (4213); DGI Ventures, Inc. (6766); DIPS Limited Partner II (7167); Franklin
Holdings, Inc. (8114); Fresh Dairy Delivery, LLC (2314); Friendly’s Ice Cream Holdings Corp. (7609); Friendly’s
Manufacturing and Retail, LLC (9828); Garelick Farms, LLC (3221); Mayfield Dairy Farms, LLC (3008); Midwest Ice Cream
Company, LLC (0130); Model Dairy, LLC (7981); Reiter Dairy, LLC (3675); Sampson Ventures, LLC (7714); Shenandoah’s
Pride, LLC (2858); Steve’s Ice Cream, LLC (6807); Suiza Dairy Group, LLC (2039); Tuscan/Lehigh Dairies, Inc. (6774); Uncle
Matt’s Organic, Inc. (0079); and Verifine Dairy Products of Sheboygan, LLC (7200). The debtors’ mailing address is 2711 North
Haskell Avenue, Suite 3400, Dallas, TX 75204.



T:\Clients\DEANFOOD\Affidavits\First Day Service_DI 2-11, 14, 16, 21, 23-29, 41, 45, 46, 69-71_AFF_11-12-19 [REDACTED].doc
         Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 2 of 120



     b. “Debtors’ Notice of Designation as Complex Chapter 11 Bankruptcy Cases,” dated
        November 12, 2019 [Docket No. 3], (the “Complex Case Notice”),

     c. “Emergency Motion of Debtors for Entry of a Limited Interim Order Authorizing
        Debtors to Maintain Fuel Card Program in the Ordinary Course of Business,” dated
        November 12, 2019 [Docket No. 4], (the “Fuel Card Motion”),

     d. “Declaration of Gary Rahlfs in Support of Debtors’ Emergency Motion for Entry of a
        Limited Interim Order Authorizing Debtors to Maintain Fuel Card Program in the
        Ordinary Course of Business,” dated November 12, 2019 [Docket No. 5], (the “Fuel Card
        Declaration”),

     e. “Interim Order Granting Emergency Motion of Debtors for Entry of a Limited Interim
        Order Authorizing Debtors to Maintain Fuel Card Program in the Ordinary Course of
        Business,” dated November 12, 2019 [Docket No. 6], (the “Fuel Card Order”),

     f. “Order Granting Complex Chapter 11 Bankruptcy Case Treatment,” dated November 12,
        2019 [Docket No. 7], (the “Complex Case Order”),

     g. “Emergency Motion of Debtors for Entry of Interim and Final Orders Authorizing (I)
        Debtors to Continue to Maintain Existing Cash Management System, Bank Accounts,
        and Business Forms and (II) Financial Institutions to Honor and Process Related Checks
        and Transfers,” dated November 12, 2019 [Docket No. 8], (the “Cash Management
        Motion”),

     h. “Order Directing Joint Administration of Chapter 11 Cases,” dated November 12, 2019
        [Docket No. 9], (the “Joint Administration Order”),

     i. “Emergency Motion of Debtors for Entry of an Order Authorizing (I) Debtors to (A) Pay
        Prepetition Employee Obligations and (B) Maintain Employee Benefits Programs and
        Pay Related Administrative Obligations, (II) Current and Former Employees to Proceed
        with Outstanding Workers’ Compensation Claims, and (III) Financial Institutions to
        Honor and Process Related Checks and Transfers,” dated November 12, 2019 [Docket
        No. 10], (the “Employee Motion”),

     j. “Emergency Motion of Debtors for Entry of Intermediate and Final Orders Authorizing
        (I) Debtors to Pay Certain Prepetition Claims of Lien Claimants and (II) Financial
        Institutions to Honor and Process Related Checks and Transfers,” dated November 12,
        2019 [Docket No. 11], (the “Claims Motion”),

     k. “Emergency Motion of Debtors for Extension of Time to File (I) Schedules of Assets and
        Liabilities, (II) Schedules of Current Income and Expenditures, (III) Schedules of
        Executory Contracts and Unexpired Leases, and (IV) Statements of Financial Affairs,”
        dated November 12, 2019 [Docket No. 14], (the “Extension Motion”),



                                                                -2-
T:\Clients\DEANFOOD\Affidavits\First Day Service_DI 2-11, 14, 16, 21, 23-29, 41, 45, 46, 69-71_AFF_11-12-19 [REDACTED].doc
         Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 3 of 120



     l. “Emergency Motion of Debtors for Entry of an Order (I) Prohibiting Utilities from
        Altering, Refusing, and Discontinuing Service, (II) Deeming Utilities Adequately
        Assured of Future Performance, and (III) Establishing Procedures for Determining
        Requests for Additional Adequate Assurance,” dated November 12, 2019 [Docket No.
        16], (the “Utilities Motion”),

     m. “Emergency Motion of Debtors for Entry of an Order Authorizing (I) Debtors to
        Continue and Renew Their Liability, Property, Casualty, Surety Bond, and Other
        Insurance Programs and Honor All Obligations in Respect Thereof and (II) Financial
        Institutions to Honor and Process Related Checks and Transfers,” dated November 12,
        2019 [Docket No. 21], (the “Insurance Motion”),

     n. “Emergency Motion of Debtors for Entry of an Order Authorizing (I) Debtors to Pay
        Certain Prepetition Taxes, Governmental Assessments, and Fees and (II) Financial
        Institutions to Honor and Process Related Checks and Transfers,” dated November 12,
        2019 [Docket No. 23], (the “Tax Motion”),

     o. “Emergency Motion of Debtors for Entry of a Standing Order Confirming the Statutory
        Protections of the Bankruptcy Code,” dated November 12, 2019 [Docket No. 24], (the
        “Protection Motion”),

     p. “Emergency Motion of Debtors for Entry of a Limited Interim Order Authorizing
        Debtors to Maintain Purchase Card Program in the Ordinary Course of Business,” dated
        November 12, 2019 [Docket No. 25], (the “Purchase Card Motion”),

     q. “Declaration of Gary Rahlfs in Support of Debtors’ Emergency Motion for Entry of a
        Limited Interim Order Authorizing Debtors to Maintain Purchase Card Program in the
        Ordinary Course of Business,” dated November 12, 2019 [Docket No. 26], (the
        “Purchase Card Declaration”),

     r. “Interim Order Granting Emergency Motion of Debtors for Entry of Limited Interim
        Order Authorizing Debtors to Maintain Purchase Card Program in the Ordinary Course of
        Business,” dated November 12, 2019 [Docket No. 27], (the “Purchase Card Order”),

     s. “Emergency Motion of Debtors for Entry of Interim and Final Orders Authorizing (I)
        Debtors to Pay Prepetition Critical Vendor Claims and 503(b)(9) Claims in the Ordinary
        Course of Business, (II) Debtors to Return Goods, and (III) Financial Institutions to
        Honor and Process Related Checks and Transfers,” dated November 12, 2019 [Docket
        No. 28], (the “Critical Vendor Motion”),

     t. “Declaration of Robert Bruce Matson in Support of Debtors’ Motion for Authorization to
        Pay Critical Vendors,” dated November 12, 2019 [Docket No. 29], (the “Critical Vendor
        Declaration”),

     u. “Emergency Motion of Debtors for Entry of Interim and Final Orders Establishing
        Notification Procedures and Approving Restrictions on Certain Transfers of Claims
                                                                -3-
T:\Clients\DEANFOOD\Affidavits\First Day Service_DI 2-11, 14, 16, 21, 23-29, 41, 45, 46, 69-71_AFF_11-12-19 [REDACTED].doc
         Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 4 of 120



          Against and Interests in the Debtors’ Estates,” dated November 12, 2019 [Docket No.
          41], (the “NOL Motion”),

     v. “Emergency Motion of Debtors for Entry of an Order (I) Authorizing Debtors to (A)
        Continue Performing Under Their Prepetition Hedging Agreements and (B) Enter into
        and Perform Under New Post-Petition Hedging Agreements, (II) Modifying Automatic
        Stay, and (III) Authorizing Debtors to Assume Prepetition Hedging Agreements,” dated
        November 12, 2019 [Docket No. 45], (the “Hedging Motion”),

     w. “Declaration of Gary Rahlfs in Support of Debtors’ Chapter 11 Proceedings and First
        Day Pleadings,” dated November 12, 2019 [Docket No. 46], (the “First Day
        Declaration”),

     x. “Notice of First Day Hearing,” dated November 12, 2019 [Docket No. 69], (the “Hearing
        Notice”),

     y. “Emergency Motion of Debtors for Entry of an Order Authorizing (I) the Debtors to
        Honor Prepetition Obligations to Customers and Otherwise Continue Customer Practices
        and (II) Financial Institutions to Honor and Process Related Checks and Transfers,” dated
        November 12, 2019 [Docket No. 70], (the “Customer Programs Motion”), and

     z. “Notice of Agenda for Hearing on First Day Motions Scheduled for November 13, 2019
        at 2:30 PM (Location: Before the Honorable David R. Jones, 4th Floor, Courtroom No.
        400, 515 Rusk, Houston, Texas 77002.),” dated November 12, 2019 [Docket No. 71],
        (the “Agenda”),

     by causing true and correct copies of the:

         i.     Complex Case Notice, Complex Case Order, Hearing Notice and Agenda, to be
                enclosed securely in separate postage pre-paid envelopes and delivered via overnight
                mail to those parties listed on the annexed Exhibit A,

        ii.     Complex Case Notice, Complex Case Order, Hearing Notice and Agenda, to be
                delivered via facsimile to those parties listed on the annexed Exhibit B,

       iii.     Joint Administration Motion, Complex Case Notice, Fuel Card Motion, Fuel Card
                Declaration, Fuel Card Order, Complex Case Order, Cash Management Motion,
                Joint Administration Order, Employee Motion, Claims Motion, Extension Motion,
                Utilities Motion, Insurance Motion, Tax Motion, Protection Motion, Purchase Card
                Motion, Purchase Card Declaration, Purchase Card Order, Critical Vendor Motion,
                Critical Vendor Declaration, NOL Motion, Hedging Motion, First Day Declaration,
                Hearing Notice, Customer Programs Motion and Agenda, to be delivered via
                electronic mail to those parties listed on the annexed Exhibit C,

       iv.      Complex Case Notice, Complex Case Order, Hearing Notice and Agenda, to be
                delivered via electronic mail to those parties listed on the annexed Exhibit D,
                                                                -4-
T:\Clients\DEANFOOD\Affidavits\First Day Service_DI 2-11, 14, 16, 21, 23-29, 41, 45, 46, 69-71_AFF_11-12-19 [REDACTED].doc
         Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 5 of 120




        v.      Complex Case Notice, Complex Case Order, Cash Management Motion, Hearing
                Notice and Agenda, to be delivered via electronic mail to those parties listed on the
                annexed Exhibit E,

       vi.      Complex Case Notice, Complex Case Order, Utilities Motion, Hearing Notice and
                Agenda, to be delivered via electronic mail to those parties listed on the annexed
                Exhibit F,

      vii.      Complex Case Notice, Complex Case Order, Insurance Motion, Hearing Notice and
                Agenda, to be delivered via electronic mail to those parties listed on the annexed
                Exhibit G,

      viii.     Complex Case Notice, Complex Case Order, Tax Motion, Hearing Notice and
                Agenda, to be delivered via electronic mail to those parties listed on the annexed
                Exhibit H,

       ix.      Complex Case Notice, Complex Case Order, NOL Motion, Hearing Notice and
                Agenda, to be delivered via electronic mail to those parties listed on the annexed
                Exhibit I, and

        x.      Complex Case Notice, Complex Case Order, Hedging Motion, Hearing Notice and
                Agenda, to be delivered via electronic mail to those parties listed on the annexed
                Exhibit J.

3. All envelopes utilized in the service of the foregoing contained the following legend:
   “LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
   ADDRESSEE, PRESIDENT OR LEGAL DEPARTMENT.”

                                                                                           /s/ Forrest Houku
                                                                                           Forrest Houku
Sworn to before me this
12th day of November, 2019
/s/ John Chau
Notary Public, State of New York
No. 01CH6353383
Qualified in Queens County
Commission Expires January 23, 2021




                                                                -5-
T:\Clients\DEANFOOD\Affidavits\First Day Service_DI 2-11, 14, 16, 21, 23-29, 41, 45, 46, 69-71_AFF_11-12-19 [REDACTED].doc
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 6 of 120




                        EXHIBIT A
                                                     Dean Foods
                     Case 19-36313 Document 82 Service
                                                Filed inList
                                                         TXSB on 11/13/19 Page 7 of 120
Claim Name                               Address Information
ACOSTA, INC.                             C/O: LANDIS RATH & COBB LLP ATTN: DANIEL D. RATH 919 MARKET STREET SUITE 1800
                                         WILMINGTON DE 19801
ADM ARCHER DANIELS MIDLAND               ATTN: JUAN RICARDO LUCIANO 77 WEST WACKER DRIVE SUITE 4600 CHICAGO IL 60601
BERRY GLOBAL INC.                        ATTN: THOMAS E. SALMON 101 OAKLEY STREET EVANSVILLE IN 47710
BONDS ELLIS EPPICH SCHAFER JONES LLP     (COUNSEL TO THOMAS PETROLEUM, LLC) ATTN: JOSHUA N. EPPICH & BRYAN C. ASSINK,
                                         ESQS. 420 THROCKMORTON ST, STE 1000 FORT WORTH TX 76102
CALIFORNIA DAIRIES INC.                  ATTN: ANDREI MIKHALEVSKY 2000 N. PLAZA DRIVE VISALIA CA 93291
CENTRAL STATES SOUTHEAST & SOUTHWEST     PLAN ATTN: THOMAS C. NYHAN 9377 WEST HIGGINS ROAD ROSEMONT IL 60018-4938
AREAS PENSION
CONSOLIDATED CONTAINER COMPANY           ATTN: J. PHILLIP DWORSKY 109 27TH AVENUE NE MINNEAPOLIS MN 55418
DAIRY FARMERS OF AMERICA                 ATTN: RICHARD P. SMITH 1405 N. 98TH STREET KANSAS CITY KS 66111
DISTRICT OF COLUMBIA ATTORNEY GENERAL    ATTN: KARL A. RACINE 441 4TH ST, NW WASHINGTON DC 20001
ECOLAB INC.                              ATTN: DOUGLAS M. BAKER, JR. 1 ECOLAB PLACE ST. PAUL MN 55102-2233
ELOPAK INC.                              ATTN: THOMAS KORMENDI 46962 LIBERTY DRIVE WIXOM MI 48393
EMMET, MARVIN & MARTIN, LLP              (COUNSEL TO THE BANK OF NEW YORK MELLON, N.A., IN ITS CAPACITY AS INDENTURE
                                         TRUSTEE) ATTN: THOMAS A. PITTA, EDWARD P. ZUJKOWSKI & ELIZABETH TARAILA, ESQS.
                                         120 BROADWAY, 32ND FL NEW YORK NY 10271
EVERGREEN PACKAGING INC.                 ATTN: JOHN ROONEY 5350 POPLAR AVENUE SUITE 600 MEMPHIS TN 38119
GRAY REED & MCGRAW LLP                   (COUNSEL TO COOPERATIEVE RABOBANK UA, NY BRANCH) ATTN: LYDIA R. WEBB & AMBER
                                         M. CARSON 1601 ELM ST, STE 4600 DALLAS TX 75201
GRAY REED & MCGRAW LLP                   (COUNSEL TO COOPERATIEVE RABOBANK UA, NY BRANCH) ATTN: JASON S. BROOKNER 1300
                                         POST OAK BLVD, STE 2000 HOUSTON TX 77056
HUHTAMAKI INC.                           ATTN: CHARLES HEAULME 9201 PACKAGING DRIVE DE SOTO KS 66018
INTERNAL REVENUE SERVICES                CENTRALIZED INSOLVENCY OPERATION P.O. BOX 7346 PHILADELPHIA PA 19101-7346
INTERNAL REVENUE SERVICES                DEPARTMENT OF THE TREASURY 1500 PENNSYLVANIA AVENUE, N.W. WASHINGTON DC 20220
INTERNAL REVENUE SERVICES                LOCAL OFFICE 1100 COMMERCE STREET ROOM 121 DALLAS TX 75242
INTERNATIONAL FOOD PRODUCTS              ATTN: CLAYTON BROWN 150 LARKIN WILLIAMS IND CT. FENTON MO 63026
INTERNATIONAL PRECISION COMPONENTS       ATTN: MICHAEL STOLZMAN 28468 N. BALLARD DRIVE LAKE FOREST IL 60045
CORPORATION
LAND O'LAKES, INC.                       ATTN: BETH E. FORD 4001 LEXINGTON AVE. N ARDEN HILLS MN 55126-2998
LINEBARGER GOOGAN BLAIR & SAMPSON, LLP   (COUNSEL TO DALLAS COUNTY) ATTN: ELIZABETH WELLER 2777 N STEMMONS FWY, STE
                                         1000 DALLAS TX 75207
MAPLE DAIRY                              ATTN: A.J. BOS 15857 BEAR MOUNTAIN BLVD. BAKERSFIELD CA 93311
MAYER BROWN LLP                          ATTN: BRIAN TRUST 1221 AVENUE OF THE AMERICAS NEW YORK NY 10020-1001
MCGINNIS LOCHRIDGE LLP                   (COUNSEL TO BMO HARRIS BANK NA, BANK OF MONTREAL & BMO HARRIS EQUIPMENT
                                         FINANCE CO.) ATTN: CHRISTOPHER L. HALGREN 609 MAIN ST, STE 2800 HOUSTON TX
                                         77002
NESTLE USA                               ATTN: PAUL GRIMWOOD 1812 N. MOORE STREET ARLINGTON VA 22209
OFFICE OF THE UNITED STATES TRUSTEE      FOR THE SOUTHERN DISTRICT OF TEXAS ATTN: HECTOR DURAN JR, STEPHEN DOUGLAS
                                         STATHAM 515 RUSK ST SUITE 3516 HOUSTON TX 77002
PALMER & MANUEL, PLLC                    (COUNSEL TO WELLS FARGO EQUIPMENT FINANCE, INC.) ATTN: LARRY CHEK 8350 N
                                         CENTRAL EXPY, STE 1111 DALLAS TX 75206
PAUL WEISS RIFKIND WHARTON & GARRISON    (COUNSEL TO THE AD HOC GROUP OF BONDHOLDERS) ATTN: ANDREW N. ROSENBERG, ROBERT
LLP                                      A. BRITTON, DOUGLAS R. KEETON & GRACE C. HOTZ 1285 AVENUE OF THE AMERICAS NEW
                                         YORK NY 10019
PAUL, WEISS, RIFKIN, WHARTON &           ATTN: ANDREW ROSENBERG 1285 AVENUE OF THE AMERICAS NEW YORK NY 10019-6064
GARRISON, LLP
PENSION BENEFIT GUARANTY CORPORATION     ATTN: PATRICIA KELLY 1200 K STREET, NW WASHINGTON DC 20005
(PBGC)
PENSKE TRUCK LEASING COMPANY LP          ATTN: BRIAN HARD 2675 MORGANTOWN ROAD READING PA 19607
PILLSBURY WINTHROP SHAW PITTMAN, LLP     (COUNSEL TO THE AD HOC GROUP OF BONDHOLDERS) ATTN: HUGH M. RAY, III, WILLIAM
                                         J. HOTZE & JASON S. SHARP TWO HOUSTON CENTER 909 FANNIN, STE 2000 HOUSTON TX


Epiq Corporate Restructuring, LLC                                                                            Page 1 OF 3
                                                     Dean Foods
                     Case 19-36313 Document 82 Service
                                                Filed inList
                                                         TXSB on 11/13/19 Page 8 of 120
Claim Name                              Address Information
PILLSBURY WINTHROP SHAW PITTMAN, LLP    77010-1028
RALPH SCOZZAFAVA                        2711 NORTH HASKELL AVENUE SUITE 3400 DALLAS TX 75204
RETAIL WHOLESALE & DEPARTMENT STORE     UNION AND INDUSTRY PENSION FUND ATTN: STUART APPELBAUM / DON HOPKINS 1901 10TH
INTERNATIONAL                           AVENUE SOUTH BIRMINGHAM AL 35205
RICHARD JANKOWSKI                       C/O: THE COFFEY LAW OFFICE; ATTN: TIMOTHY J. COFFEY 1805 N. MILL STREET SUITE
                                        E NAPERVILLE IL 60563
RYDER SYSTEM, INC.                      ATTN: ROBERT E. SANCHEZ 11690 NW 105TH ST MIAMI FL 33178
SAPUTO DAIRY FOODS USA LLC              ATTN: LINO A. SAPUTO 2711 N. HASKELL AVE. DALLAS TX 75204
SECURITIES AND EXCHANGE COMMISSION      NEW YORK REGIONAL OFFICE ATTN: ANDREW CALAMARI, REGIONAL DIR BROOKFIELD PL,
                                        200 VESEY ST, STE 400 NEW YORK NY 10281-1022
SECURITIES AND EXCHANGE COMMISSION      100 F STREET, NE WASHINGTON DC 20549
SELECT MILK PRODUCERS INC.              ATTN: C. MILES 320 WEST HERMOSA DRIVE ARTESIA NM 88210
SILGAN PLASTIC CLOSURE CORPORATION      ATTN: TONY ALLOT 14515 NORTH OUTER 40 SUITE 210 CHESTERFIELD MO 63017
SOUTHEAST MILK, INC.                    ATTN: JIM SLEEPER 1950 SE COUNTY HWY 484 BELLEVIEW FL 34420
STATE OF ALABAMA ATTORNEY GENERAL       ATTN: STEVE MARSHALL 501 WASHINGTON AVE MONTGOMERY AL 36104
STATE OF ALASKA ATTORNEY GENERAL        ATTN: KEVIN G. CLARKSON 1031 W 4TH AVE, STE 200 ANCHORAGE AK 99501
STATE OF ARIZONA ATTORNEY GENERAL       ATTN: MARK BRNOVICH 2005 NORTH CENTRAL AVENUE PHOENIX AZ 85004-2926
STATE OF ARKANSAS ATTORNEY GENERAL      ATTN: LESLIE RUTLEDGE 323 CENTER ST, STE 200 LITTLE ROCK AR 72201-2610
STATE OF CALIFORNIA ATTORNEY GENERAL    ATTN: XAVIER BECERRA 1300 I ST, STE 1740 SACRAMENTO CA 95814
STATE OF COLORADO ATTORNEY GENERAL      ATTN: PHIL WEISER RALPH L CARR COLORADO JUDICIAL BLDG 1300 BROADWAY, 10TH FL
                                        DENVER CO 80203
STATE OF CONNECTICUT ATTORNEY GENERAL   ATTN: WILLIAM TONG 55 ELM ST HARTFORD CT 06106
STATE OF DELAWARE ATTORNEY GENERAL      ATTN: KATHY JENNINGS C 820 N FRENCH ST WILMINGTON DE 19801
STATE OF FLORIDA ATTORNEY GENERAL       ATTN: ASHEY MOODY PL 01 THE CAPITOL TALLAHASSEE FL 32399-1050
STATE OF GEORGIA ATTORNEY GENERAL       ATTN: CHRIS CARR 40 CAPITOL SQUARE, SW ATLANTA GA 30334
STATE OF HAWAII ATTORNEY GENERAL        ATTN: CLARE E. CONNORS 425 QUEEN ST HONOLULU HI 96813
STATE OF IDAHO ATTORNEY GENERAL         ATTN: LAWRENCE G. WASDEN 700 W JEFFERSON ST, STE 210 PO BOX 83720 BOISE ID
                                        83720-0010
STATE OF ILLINOIS ATTORNEY GENERAL      ATTN: KWAME RAOUL 100 W RANDOLPH ST CHICAGO IL 60601
STATE OF INDIANA ATTORNEY GENERAL       ATTN: CURTIS T. HILL, JR. INDIANA GOVERNMENT CENTER SOUTH 302 W WASHINGTON ST,
                                        5TH FL INDIANAPOLIS IN 46204
STATE OF IOWA ATTORNEY GENERAL          ATTN: TOM MILLER HOOVER STATE OFFICE BUILDING 1305 E WALNUT ST DES MOINES IA
                                        50319
STATE OF KANSAS ATTORNEY GENERAL        ATTN: DEREK SCHMIDT 120 SW 10TH AVE, 2ND FL TOPEKA KS 66612
STATE OF KENTUCKY ATTORNEY GENERAL      ATTN: ANDY BESHEAR 700 CAPITOL AVE, STE 118 FRANKFORT KY 40601-3449
STATE OF LOUISIANA ATTORNEY GENERAL     ATTN: JEFF LANDRY 1885 N THIRD ST BATON ROUGE LA 70802
STATE OF MAINE ATTORNEY GENERAL         ATTN: AARON FREY 6 STATE HOUSE STATION AUGUSTA ME 04333
STATE OF MARYLAND ATTORNEY GENERAL      ATTN: BRIAN E. FROSH 200 ST PAUL PLACE BALTIMORE MD 21202
STATE OF MASSACHUSETTS ATTORNEY GENERAL ATTN: MAURA HEALEY 1 ASHBURTON PLACE BOSTON MA 02108-1518
STATE OF MICHIGAN ATTORNEY GENERAL      ATTN: DANA NESSEL G. MENNEN WILLIAMS BLDG, 7TH FL 525 W OTTAWA ST - PO BOX
                                        30212 LANSING MI 48909
STATE OF MINNESOTA ATTORNEY GENERAL     ATTN: KEITH ELLISON 445 MINNESOTA ST STE 1400 ST. PAUL MN 55101-2131
STATE OF MISSISSIPPI ATTORNEY GENERAL   ATTN: JIM HOOD WALTER SILLERS BLDG 550 HIGH ST, STE 1200 JACKSON MS 39201
STATE OF MISSOURI ATTORNEY GENERAL      ATTN: ERIC SCHMITT SUPREME CT BLDG, 207 W HIGH ST PO BOX 899 JEFFERSON CITY MO
                                        65102
STATE OF MONTANA ATTORNEY GENERAL       ATTN: TIM FOX JUSTICE BLDG 215 N SANDERS ST HELENA MT 59620-1401
STATE OF NEBRASKA ATTORNEY GENERAL      ATTN: DOUG PETERSON 2115 STATE CAPITOL PO BOX 98920 LINCOLN NE 68509
STATE OF NEVADA ATTORNEY GENERAL        ATTN: AARON FORD 100 N CARSON ST CARSON CITY NV 89701
STATE OF NEW HAMPSHIRE ATTORNEY GENERAL ATTN: GORDON J. MACDONALD NH DEPT OF JUSTICE 33 CAPITOL ST CONCORD NH 03301
STATE OF NEW JERSEY ATTORNEY GENERAL    ATTN: GURBIR S. GREWAL RJ HUGHES JUSTICE COMPLEX 25 MARKET ST - PO BOX 080
                                        TRENTON NJ 08625-0080


Epiq Corporate Restructuring, LLC                                                                          Page 2 OF 3
                                                     Dean Foods
                   Case 19-36313 Document 82 Service
                                              Filed inList
                                                       TXSB on 11/13/19 Page 9 of 120
Claim Name                               Address Information
STATE OF NEW MEXICO ATTORNEY GENERAL     ATTN: HECTOR BALDERAS 408 GALISTEO ST VILLAGRA BLDG SANTA FE NM 87501
STATE OF NEW YORK ATTORNEY GENERAL       ATTN: LETITIA A. JAMES DEPT. OF LAW THE CAPITOL, 2ND FL ALBANY NY 12224
STATE OF NORTH CAROLINA ATTORNEY         ATTN: JOSH STEIN 9001 MAIL SERVICE CTR RALEIGH NC 27699-9001
GENERAL
STATE OF NORTH DAKOTA ATTORNEY GENERAL   ATTN: WAYNE STENEHJEM 600 E BOULEVARD AVE DEPT 125 BISMARCK ND 58505
STATE OF OHIO ATTORNEY GENERAL           ATTN: DAVE YOST 30 E BROAD ST, 14TH FL COLUMBUS OH 43215
STATE OF OKLAHOMA ATTORNEY GENERAL       ATTN: MIKE HUNTER 313 NE 21ST ST OKLAHOMA CITY OK 73105
STATE OF OREGON ATTORNEY GENERAL         ATTN: ELLEN F. ROSENBLUM 1162 COURT ST, NE SALEM OR 97301-4096
STATE OF PENNSYLVANIA ATTORNEY GENERAL   ATTN: JOSH SHAPIRO 16TH FL, STRAWBERRY SQ HARRISBURG PA 17120
STATE OF RHODE ISLAND ATTORNEY GENERAL   ATTN: PETER F. NERONHA 150 S MAIN ST PROVIDENCE RI 02903
STATE OF SOUTH CAROLINA ATTORNEY         ATTN: ALAN WILSON REMBERT C. DENNIS OFFICE BLDG 1000 ASSEMBLY ST, ROOM 519
GENERAL                                  COLUMBIA SC 29201
STATE OF SOUTH DAKOTA ATTORNEY GENERAL   ATTN: JASON RAVNSBORG 1302 EAST HIGHWAY 14, STE 1 PIERRE SD 57501-8501
STATE OF TENNESSEE ATTORNEY GENERAL      ATTN: HERBERT H. SLATERY, III PO BOX 20207 NASHVILLE TN 37202-0207
STATE OF TEXAS ATTORNEY GENERAL          ATTN: KEN PAXTON 300 W 15TH ST AUSTIN TX 78701
STATE OF UTAH ATTORNEY GENERAL           ATTN: SEAN D. REYES 350 N STATE ST, STE 230 SALT LAKE CITY UT 84114-2320
STATE OF VERMONT ATTORNEY GENERAL        ATTN: TJ DONOVAN 109 STATE ST MONTPELIER VT 05609-1001
STATE OF VIRGINIA ATTORNEY GENERAL       ATTN: MARK R. HERRING 202 N NINTH ST RICHMOND VA 23219
STATE OF WASHINGTON ATTORNEY GENERAL     ATTN: BOB FERGUSON 1125 WASHINGTON ST SE OLYMPIA WA 98504-0100
STATE OF WEST VIRGINIA ATTORNEY GENERAL ATTN: PATRICK MORRISEY STATE CAPITOL COMPLEX BLDG 1, ROOM E-26 CHARLESTON WV
                                        25305
STATE OF WISCONSIN ATTORNEY GENERAL      ATTN: JOSH KAUL WISCONSIN DEPARTMENT OF JUSTICE 17 W MAIN ST - PO BOX 7857
                                         MADISON WI 53703-7857
STATE OF WYOMING ATTORNEY GENERAL        ATTN: BRIDGET HILL KENDRICK BUILDING 2320 CAPITOL AVE CHEYENNE WY 82002
THE BANK OF NEW YORK                     MELLON TRUST COMPANY, N.A. ATTN: MOSES BALLENGER, MANAGER 601 TRAVIS STREET,
                                         17TH FL HOUSTON TX 77002
THE BANK OF NEW YORK MELLON TRUST        ATTN: MOSES BALLENGER 601 TRAVIS STREET 17TH FLOOR HOUSTON TX 77002
COMPANY, N.A.
THE UNITED STATES ATTORNEY'S OFFICE      FOR THE SOUTHERN DISTRICT OF TEXAS ATTN: RICHARD A KINCHELOEFOR 1000 LOUISIANA
                                         STREET HOUSTON TX 77002
U.S. DEPARTMENT OF AGRICULTURE           ATTN: GARY WASHINGTON 1400 INDEPENDENCE AVE., S.W. WASHINGTON DC 20250
WESTROCK                                 ATTN: STEVE VOORHEES 1000 ABERNATHY ROAD ATLANTA GA 30328
WHITE & CASE LLP                         (COUNSEL TO COOPERATIEVE RABOBANK UA, NY BRANCH) ATTN: SCOTT GREISSMAN, PHILIP
                                         ABELSON, ELIZABETH FELD & RASHIDA ADAMS 1221 AVENUE OF THE AMERICAS NEW YORK
                                         NY 10020-1095
WHITE & CASE LLP                         ATTN: SCOTT GREISSMAN 1221 AVENUE OF THE AMERICAS NEW YORK NY 10020-1095
WS PACKAGING GROUP, INC.                 ATTN: DEAN WIMER 2571 S. HEMLOCK ROAD GREEN BAY WI 54229




                                  Total Creditor count 102




Epiq Corporate Restructuring, LLC                                                                         Page 3 OF 3
     Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 10 of 120
           SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                  Overnight Mail Additional Service List
LANGLEY LLP
BRANDON K. BAINS
1301 SOLANA BLVD.
BUILDING 1, SUITE 1545
WESTLAKE, TX 76262
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 11 of 120




                         EXHIBIT B
    Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 12 of 120
           SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                      Facsimile Master Service List
               NAME                           ATTENTION                     FAX
BONDS ELLIS EPPICH SCHAFER          Joshua N. Eppich; Bryan C. Assink   817-405-6902
JONES LLP
GRAY REED & McGRAW LLP              Jason S. Brookner                   713-986-7100
GRAY REED & McGRAW LLP              Lydia R. Webb; Amber M. Carson      214-953-1332
LANGLEY LLP                         Brandon K. Bains                    214-722-7161
LINEBARGER GOGGAN BLAIR &           Elizabeth Weller                    469-221-5003
SAMPSON, LLP
McGinnis Lochridge LLP           Christopher L. Halgren                 713-615-8585
Palmer & Manuel, PLLC            Larry Chek                             214-265-1950
Paul, Weiss, Rifkind, Wharton &  Andrew N. Rosenberg; Robert A.         212-757-3990
Garrison LLP                     Britton; Douglas R. Keeton; Grace
                                 C. Hotz
Pillsbury Winthrop Shaw Pittman, Hugh M. Ray, III; William J. Hotze;    713-276-7673
LLP                              Jason S. Sharp
WHITE & CASE LLP                 Scott Greissman;Philip Abelson;        212-354-8113
                                 Elizabeth Feld;Rashida Adams;
THE BANK OF NEW YORK             ATTN: MOSES BALLENGER,                 713-483-6979
MELLON TRUST COMPANY, N.A. MANAGER
WHITE & CASE LLP                 ATTN: SCOTT GREISSMAN                  212-819-8200
MAYER BROWN LLP                  ATTN: BRIAN TRUST                      212-262-1910
PAUL, WEISS, RIFKIN, WHARTON ATTN: ANDREW ROSENBERG                     212-492-0158
& GARRISON, LLP
THE UNITED STATES                ATTN: RICHARD A                        713-718-
ATTORNEY'S OFFICE FOR THE        KINCHELOEFOR                           3300, 713-
SOUTHERN DISTRICT OF TEXAS                                              718-3033
STATE OF ALASKA ATTORNEY         ATTN: KEVIN G. CLARKSON                907-276-3697
GENERAL
STATE OF ARIZONA ATTORNEY ATTN: MARK BRNOVICH                           602-542-4085
GENERAL
STATE OF ARKANSAS                ATTN: LESLIE RUTLEDGE                  501-683-2520
ATTORNEY GENERAL
STATE OF CALIFORNIA              ATTN: XAVIER BECERRA                   916-323-5341
ATTORNEY GENERAL
STATE OF COLORADO                ATTN: PHIL WEISER                      720-508-6030
ATTORNEY GENERAL
STATE OF CONNECTICUT             ATTN: WILLIAM TONG                     860-808-5387
ATTORNEY GENERAL
STATE OF DELAWARE                ATTN: KATHY JENNINGS                   302-577-6630
ATTORNEY GENERAL
DISTRICT OF COLUMBIA             ATTN: KARL A. RACINE                   202-347-8922
ATTORNEY GENERAL
STATE OF FLORIDA ATTORNEY        ATTN: ASHEY MOODY                      850-487-2564
GENERAL
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 13 of 120
         SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                    Facsimile Master Service List
STATE OF GEORGIA ATTORNEY      ATTN: CHRIS CARR              404-657-8733
GENERAL
STATE OF HAWAII ATTORNEY       ATTN: CLARE E. CONNORS        808-586-1239
GENERAL
STATE OF IDAHO ATTORNEY        ATTN: LAWRENCE G. WASDEN      208-854-8071
GENERAL
STATE OF INDIANA ATTORNEY      ATTN: CURTIS T. HILL, JR.     317-232-7979
GENERAL
STATE OF IOWA ATTORNEY         ATTN: TOM MILLER              515-281-4209
GENERAL
STATE OF KANSAS ATTORNEY       ATTN: DEREK SCHMIDT           785-296-6296
GENERAL
STATE OF KENTUCKY              ATTN: ANDY BESHEAR            502-564-2894
ATTORNEY GENERAL
STATE OF MICHIGAN              ATTN: DANA NESSEL             517-335-7644
ATTORNEY GENERAL
STATE OF MISSISSIPPI           ATTN: JIM HOOD                601-359-4231
ATTORNEY GENERAL
STATE OF MISSOURI ATTORNEY     ATTN: ERIC SCHMITT            573-751-0774
GENERAL
STATE OF MONTANA               ATTN: TIM FOX                 406-444-3549
ATTORNEY GENERAL
STATE OF NEBRASKA              ATTN: DOUG PETERSON           402-471-3297
ATTORNEY GENERAL
STATE OF NEVADA ATTORNEY       ATTN: AARON FORD              775-684-1108
GENERAL
STATE OF NEW HAMPSHIRE         ATTN: GORDON J.               603-271-2110
ATTORNEY GENERAL               MACDONALD
STATE OF NEW JERSEY            ATTN: GURBIR S. GREWAL        609-292-3508
ATTORNEY GENERAL
STATE OF NEW MEXICO            ATTN: HECTOR BALDERAS         505-490-4883
ATTORNEY GENERAL
STATE OF NORTH CAROLINA        ATTN: JOSH STEIN              919-716-6750
ATTORNEY GENERAL
STATE OF OKLAHOMA              ATTN: MIKE HUNTER             405-521-6246
ATTORNEY GENERAL
STATE OF OREGON ATTORNEY       ATTN: ELLEN F. ROSENBLUM      503-378-4017
GENERAL
STATE OF PENNSYLVANIA          ATTN: JOSH SHAPIRO            717-787-8242
ATTORNEY GENERAL
STATE OF RHODE ISLAND          ATTN: PETER F. NERONHA        401-222-1331
ATTORNEY GENERAL
STATE OF SOUTH DAKOTA          ATTN: JASON RAVNSBORG         605-773-4106
ATTORNEY GENERAL
STATE OF TENNESSEE             ATTN: HERBERT H. SLATERY,     615-741-2009
ATTORNEY GENERAL               III
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 14 of 120
         SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                    Facsimile Master Service List
STATE OF TEXAS ATTORNEY        ATTN: KEN PAXTON              512-475-2994
GENERAL
STATE OF VIRGINIA ATTORNEY     ATTN: MARK R. HERRING         703-277-3547
GENERAL
STATE OF WEST VIRGINIA         ATTN: PATRICK MORRISEY        304-558-0140
ATTORNEY GENERAL
STATE OF WISCONSIN             ATTN: JOSH KAUL               608-267-2779
ATTORNEY GENERAL
STATE OF WYOMING               ATTN: BRIDGET HILL            307-777-6869
ATTORNEY GENERAL
ACOSTA, INC.                   C/O: LANDIS RATH & COBB       302-467-4450
                               LLP ATTN: DANIEL D. RATH
CONSOLIDATED CONTAINER         ATTN: J. PHILLIP DWORSKY      612-781-0967
COMPANY
RICHARD JANKOWSKI              C/O: THE COFFEY LAW OFFICE    630-326-6601
                               ATTN: TIMOTHY J. COFFEY
SELECT MILK PRODUCERS INC.     ATTN: C. MILES                505-746-1752
SOUTHEAST MILK, INC.           ATTN: JIM SLEEPER             352-245-9434
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 15 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                 Facsimile Banks Service List
                   NAME                             FAX
    BMO HARRIS BANK NA                        312-293-4780
    BRADY NATIONAL BANK                       325-597-0612
    COOPERATIEVE RABOBANK U.A.                3-130-712-2002
    COOPERATIEVE RABOBANK U.A.                914-287-2254
    (ADMINISTRATIVE AGENT)
    LITTLE HORN STATE BANK                    406-665-3623
    NIEUW AMSTERDAM RECEIVABLES               31-0-20-521-4890
    PNC BANK, NATIONAL ASSOCIATION            412-762-9184
    SOVEREIGN BANK                            617-757-5657
    THE BANK OF NEW YORK MELLON TRUST         713-483-6954
    COMPANY, N.A.
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 16 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                  Facsimile DIP Service List
                   NAME                             FAX
    COOPERATIEVE RABOBANK U.A.                914-287-2254
    (ADMINISTRATIVE AGENT)
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 17 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
           Facsimile Hedging Counterparties Service List
                  NAME                              FAX
    DAIRY PRODUCTS INC                        952-944-1436
    RABOBANK NY BRANCH                        914-287-2254
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 18 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                Facsimile Insurance Service List
                     NAME                                FAX
ACE AMERICAN INSURANCE CO                          2127037009
ASPEN BERMUDA LTD                                  14412951829
ASPEN SPECIALTY INSURANCE CO                       8607607702
AXIS INSURANCE COMPANY                             6787469444
BERKLEY INSURANCE COMPANY                          2126182940
ENDURANCE AMERICAN INS CO                          2124711742
ENDURANCE AMERICAN INSURANCE COMPANY               2124711748
EVEREST INDEMNITY INSURANCE COMPANY                9086043322
EVEREST NATIONAL INSURANCE COMPANY                 9086043322
FACTORY MUTUAL INSURANCE COMPANY                   412753029
ILLINOIS NATIONAL INSURANCE CO                     8449300370
MAGNA CARTA INSURANCE LTD                          8888606292
MARKEL BERMUDA LIMITED                             4412948231
MARKEL BERMUDA LIMITED                             4412948231
NAVIGATORS INSURANCE COMPANY                       6785974501
OLD REPUBLIC INSURANCE COMPANY                     3127508965
PACIFIC INDEMNITY INSURANCE                        2136125731
PRINCETON EXCESS & SURPLUS LINES INS CO            6092434257
QBE SPECIALTY                                      7634276473
XL BERMUDA LTD                                     4412929536
XL INSURANCE COMPANY SE (IRISH BRANCH)             35316075333
XL INSURANCE COMPANY SE (IRISH BRANCH)             35316075333
XL SPECIALTY INSURANCE CO                          8602461921
XL SPECIALTY INSURANCE CO                          8602461921
ZURICH AMERICAN INSURANCE CO                       8779622567
ZURICH AMERICAN INSURANCE COMPANY                  8779622567
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 19 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
               Facsimile Surety Bond Service List
                     NAME                                 FAX
BALTIMORE GAS AND ELECTRIC COMPANY ("BGE")           (443) 213-6017
BALTIMORE GAS AND ELECTRIC COMPANY ("BGE")           (410) 333-6844
CALIFORNIA DEPT OF FOOD AND AGRICULTURE              9166574240
CITY OF NEW ORLEANS                                  (504) 658-1606
CITY OF NEW ORLEANS                                  (504) 658-1353
CITY OF NEW ORLEANS                                  (504) 368-7651
CITY OF RICHMOND, VIRGINIA                           8046467736
COMMISIONER OF AGRICULTURE                           7195601953
COMMISSIONER OF AGRICULTURE OF THE STATE OF          (719) 560-1953
COLORADO
COMMISSIONER OF AGRICULTURE OF THE STATE OF          7195601953
COLORADO
COMMONWEALTH OF KENTUCKY                             5025645484
COMMONWEALTH OF PENNSYLVANIA                         7177836492
CONSTELLATION NEWENERGY, INC.                        6142250674
ENDURANCE AMERICAN INSURANCE COMPANY                 5168721594
FLORIDA POWER AND LIGHT COMPANY                      5616944999
HUNTSVILLE UTILITIES                                 8888845329
LABOR COMMISSION OF UTAH                             8015306804
LIBERTY MUTUAL INSURANCE COMPANIES                   8665486837
LIBERTY MUTUAL INSURANCE COMPANY                     8665474880
MONTANA DEPARTMENT OF LABOR & INDUSTRY               4064441419
NEW YORK STATE THRUWAY AUTHORITY                     5184714442
PENNSYLVANIA TURNPIKE COMMISSION                     (717) 565-4311
PENNSYLVANIA TURNPIKE COMMISSION                     (717) 565-4312
PEOPLES GAS SYSTEM                                   8132281820
SAFECO INSURANCE COMPANY OF AMERICA                  2065456277
SAFECO INSURANCE COMPANY OF AMERICA                  2065456277
SAFECO INSURANCE COMPANY OF AMERICA                  2065456277
SAFECO INSURANCE COMPANY OF AMERICA                  2065456277
SAFECO INSURANCE COMPANY OF AMERICA                  2065456277
SOUTHERN CALIFORNIA EDISON                           6265692473
SOUTHERN CALIFORNIA EDISON COMPANY                   6265692473
STATE OF CALIFORNIA                                  9166574240
STATE OF CALIFORNIA                                  9164647007
STATE OF CALIFORNIA.                                 9166574240
STATE OF FLORIDA                                     8502222926
STATE OF LOUISIANA                                   5048385416
STATE OF NEVADA                                      7024862758
STATE OF NEW HAMPSHIRE                               6032711109
STATE OF NEW JERSEY                                  6092922017
STATE OF NEW JERSEY                                  6096317000
STATE OF NEW YORK                                    5184571772
STATE OF OREGON                                      5039470088
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 20 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
               Facsimile Surety Bond Service List
STATE OF OREGON                                      5039863432
STATE OF OREGON                                      9716730762
STATE OF TEXAS                                       5124634965
STATE OF WEST VIRGINIA                               3045583269
STATE OF WEST VIRGINIA                               3045583269
STATE OF WEST VIRGINIA                               3045583269
STATE OF WEST VIRGINIA                               3045583269
STATE OF WISCONSIN                                   6082671030
TEXAS DEPARTMENT OF TRANSPORTATION                   5124654129
TEXAS DEPT OF INSURANCE                              8442758915
TEXAS WORKERS' COMPENSATION COMMISSION               8442758915
THE CITY OF LINCOLN, NEBRASKA                        4024346907
THE SOUTHWEST MULTI-CRAFT HEALTH & WELFARE           5052669358
TRUST FUND
TRAVELERS PROPERTY CASUALTY GROUP                    2143739038
UNITED STATES DEPARTMENT OF AGRICULTURE              5742875456
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 21 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                  Facsimile Tax Service List
                    NAME                                  FAX
ACADIA PARISH SCHOOL BOARD                           3377833761
ADA COUNTY                                           2082877109
ADAMS COUNTY                                         2607245304
ADAMS COUNTY                                         (720) 523-6175
AIKEN COUNTY                                         (803) 643-1994
AL STACS                                             2563833496
ALABAMA DEPARTMENT OF REVENUE                        3342420550
ALABAMA DEPARTMENT OF REVENUE                        3342420550
ALABAMA DEPARTMENT OF REVENUE                        3342420550
ALABAMA DEPARTMENT OF REVENUE                        3342420550
ALABAMA DEPARTMENT OF REVENUE                        3342420550
ALABAMA DEPARTMENT OF REVENUE                        3342420550
ALABAMA DEPARTMENT OF REVENUE                        3342420550
ALABAMA DEPARTMENT OF REVENUE                        3342420550
ALABAMA DEPT OF AGRICULTURE & INDUSTRIES             3342420550
ALABAMA DEPT OF ENVIRONMENTAL MANAGEMENT             3342420550
ALACHUA COUNTY                                       3523387363
ALAMEDA COUNTY                                       (510) 272-6502
ALAMEDA COUNTY                                       (510) 208-9932
ALAMEDA COUNTY                                       (510) 272-3784
ALEXANDER COUNTY                                     8286320059
ALLEN PARISH SCHOOL BOARD                            3376392346
ALPENA COUNTY                                        9893549645
ANDERSON COUNTY                                      9037235990
ANDERSON COUNTY                                      8642604319
ANDREWS ISD                                          4325233222
ANGELINA COUNTY                                      (936) 634-2690
ANGELINA COUNTY                                      (936) 633-6960
ANSON COUNTY                                         7049943262
ARAPAHOE COUNTY                                      3033472597
ARAPHOE COUNTY CLERK                                 3037944625
ARCHER COUNTY                                        9405744625
ARIZONA DEPARTMENT OF REVENUE                        (602) 542-4772
ARIZONA DEPARTMENT OF REVENUE                        (602) 542-4425
ARIZONA DEPARTMENT OF REVENUE                        (602) 542-4771
ARLINGTON COUNTY, VIRGINIA                           7032283218
ATASCOSA COUNTY                                      8307693854
AUSTIN COUNTY                                        9798650183
AVERY COUNTY                                         8287338216
BAILEY CAD                                           8062723643
BALDWIN COUNTY                                       4784450712
BARBOUR COUNTY                                       3347751110
BARBOUR COUNTY SHERIFF                               3044574643
BEAUFORT COUNTY                                      8432559489
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 22 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                  Facsimile Tax Service List
BEAUREGARD PARISH                                    3374622567
BEAUREGARD PARISH SHERIFF OFFICE                     3374622567
BEDFORD COUNTY                                       5405866943
BERNALILLO COUNTY                                    5054629768
BIENVILLE PARISH SCHOOL BOARD                        3182633100
BLADEN COUNTY                                        9108626737
BLANCO COUNTY                                        8308689112
BLEDSOE COUNTY                                       (615) 532-3699
BLOUNT COUNTY                                        8652735910
BONNEVILLE COUNTY                                    2085291353
BOONE COUNTY                                         8155473579
BOONE COUNTY                                         8593342234
BOONE COUNTY FISCAL COURT                            8593343105
BOONE COUNTY FISCAL COURT                            8593343914
BOSQUE COUNTY                                        2544352152
BOSSIER CITY - PARISH                                3187418997
BOWIE CAD                                            9036286780
BOYD COUNTY SHERIFF                                  6067390594
BRAXTON COUNTY                                       3047652947
BRAZORIA COUNTY                                      9798497984
BRAZOS COUNTY                                        9797759938
BRAZOS COUNTY TAX ASSESSOR                           9797759938
BREG DCCA                                            8085862733
BREMOND ISD                                          9798284011
BREVARD COUNTY                                       3212645149
BRIMMER LICENSE SERVICE                              7176991280
BROOKE COUNTY SHERIFF                                3047370759
BROWARD COUNTY                                       9548313945
BROWN CAD                                            3256468918
BROWN COUNTY                                         3256431647
BROWN COUNTY                                         6056264010
BROWN COUNTY TREASURER                               9204486341
BRUNSWICK COUNTY                                     9102532022
BUFFALO ISD                                          9033225806
BULLOCH COUNTY                                       9124894108
BULLOCK COUNTY                                       3347382984
BUNCOMBE COUNTY                                      8282506089
BUREAU OF CORPORATIONS                               2072875428
BURKBURNETT ISD                                      9405694776
BURKE COUNTY                                         7065548746
BURKE COUNTY                                         8287649432
BURLEIGH COUNTY                                      7012227528
BUTLER COUNTY                                        3342424993
BUTTE-SILVER BOW COUNTY                              4064976328
BUTTS COUNTY TAX COMMISSIONER                        7707756647
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 23 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                  Facsimile Tax Service List
CA DEPT. OF FOOD & AGRICULTURE DAIRY                 9166540403
CA DEPT. OF TAX AND FEE ADMINISTRATION               9162271883
CA FRANCHISE TAX BOARD                               9168436022
CA FRANCHISE TAX BOARD                               9168436022
CABARRUS COUNTY                                      7049202111
CABELL COUNTY SHERIFF                                3045268649
CACHE COUNTY                                         4357551969
CADDO PARISH SHERIFF                                 3186810888
CADDO SHREVEPORT                                     2252316221
CALCASIEU PARISH                                     3374373350
CALCASIEU PARISH SCHOOL SYSTEM                       3372174041
CALDWELL CAD                                         5126684947
CALDWELL COUNTY                                      8287571315
CALHOUN COUNTY                                       2562412870
CALHOUN COUNTY LICENSE COMMISSIONER                  2562311892
CALHOUN COUNTY SHERIFF                               3043546383
CALIFORNIA DEPARTMENT OF FOOD & AGRICULTURE          9169005344
CALIFORNIA DEPT OF FOOD & AGRICULTURE                9169005345
CALLAHAN COUNTY                                      3258545821
CAMERON COUNTY                                       9565440800
CAMP CAD                                             9038566544
CAMPBELL COUNTY                                      8592923833
CAMPBELL COUNTY                                      4235629732
CARBON COUNTY                                        4356372905
CARBON COUNTY                                        3073282632
CARROLL COUNTY                                       7708305992
CARROLL COUNTY TAG COMMISSIONER                      7708305849
CARROLLTON-FARMERS BRANCH ISD                        9729686216
CARTER COUNTY                                        6064742719
CARTERET COUNTY                                      2527322064
CASCADE COUNTY                                       4064546737
CATOOSA COUNTY                                       7068663827
CENTERVILLE CITY                                     9035366402
CENTERVILLE ISD                                      9035367148
CENTRAL KENTUCKY AGRICULTURAL CREDIT                 8592532876
CHARLESTON COUNTY                                    8439584370
CHARLESTON TREASURER                                 8439584370
CHARLOTTE COUNTY                                     9416372276
CHATHAM COUNTY                                       9126527874
CHATSWORTH CITY HALL                                 7065177376
CHEROKEE CAD                                         9036836271
CHEROKEE COUNTY                                      2569273669
CHEROKEE COUNTY                                      9036832362
CHEROKEE COUNTY                                      8644872548
CHEROKEE COUNTY - DEPT. OF MOTOR VEHICLES            2569276747
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 24 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                  Facsimile Tax Service List
CHESTERFIELD COUNTY                                  8047514993
CHESTERFIELD COUNTY                                  8436236352
CHESTERFIELD COUNTY                                  8047514993
CHILDRESS COUNTY                                     9409373386
CHILTON COUNTY                                       2057551507
CHOCTAW COUNTY                                       2054593369
CITRUS COUNTY                                        3523416514
CITY AND COUNTY OF DENVER                            7209134103
CITY AND COUNTY OF HONOLULU                          8084413100
CITY AND COUNTY OF HONOLULU                          8087685552
CITY OF ACWORTH                                      6788014035
CITY OF ALBANY                                       8552194338
CITY OF ASHLAND                                      6063291610
CITY OF ASHLAND                                      6063240978
CITY OF ASHLAND                                      6063291610
CITY OF ATHENS                                       6063240978
CITY OF BELLEVUE, KENTUCKY                           8592618387
CITY OF BERKELEY                                     8552194338
CITY OF BERKLEY                                      5109816901
CITY OF BOULDER                                      3034414381
CITY OF BOWLING GREEN                                2703933636
CITY OF BOWLING GREEN                                2703933636
CITY OF BOWLING GREEN                                2703933636
CITY OF BREMOND                                      9798283390
CITY OF BULLS GAP                                    4232350078
CITY OF BURLINGTON                                   3365706136
CITY OF CAMP WOOD                                    8302326701
CITY OF CATLETTSBURG                                 6067395754
CITY OF CHURCH HILL                                  4236761526
CITY OF COLUMBIA                                     9313817722
CITY OF COVINGTON                                    8592922137
CITY OF CRANSTON                                     4017803147
CITY OF CROSSVILLE                                   9314847713
CITY OF DAYTON                                       8594913538
CITY OF DRY RIDGE                                    8598243598
CITY OF EAGLE PASS                                   8307731111
CITY OF ERIN                                         9312895436
CITY OF EVART                                        2317343917
CITY OF FLORENCE, KY                                 8596475447
CITY OF FLORESVILLE                                  8305423136
CITY OF FOREST PARK                                  4046082344
CITY OF GARLAND                                      9722053834
CITY OF GEORGETOWN                                   5028639810
CITY OF GLADEWATER                                   9038456891
CITY OF GREELEY                                      9703509736
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 25 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                  Facsimile Tax Service List
CITY OF HARRISONBURG                                 5404327782
CITY OF HARTFORD                                     2702983220
CITY OF HARTFORD                                     8607226085
CITY OF IRON MOUNTAIN                                9067743774
CITY OF KANSAS CITY                                  8165131174
CITY OF KENNESAW                                     7704294559
CITY OF KINGSTON                                     8653762325
CITY OF LAFAYETTE                                    3372918310
CITY OF LAREDO                                       9567276410
CITY OF LEBANON                                      6154431562
CITY OF LENOIR                                       8283941072
CITY OF LOUISVILLE                                   3033354527
CITY OF LYNN                                         7814777075
CITY OF MARIETTA                                     7707945685
CITY OF MEMPHIS                                      9016366304
CITY OF MESQUITE                                     9723298553
CITY OF MONTROSE                                     9702401414
CITY OF MOUNT VERNON                                 6062563443
CITY OF MURFREESBORO                                 6158483247
CITY OF NEW ORLEANS                                  5046581606
CITY OF NEW ORLEANS                                  5046581606
CITY OF NORFOLK                                      7574412103
CITY OF ODENVILLE                                    2056292984
CITY OF OUACHITA                                     3183292362
CITY OF PALO PINTO                                   9416593628
CITY OF PAWTUCKET                                    4017222427
CITY OF PELL CITY                                    2058844917
CITY OF PROVIDENCE                                   4014548247
CITY OF RAYMONDVILLE                                 9566890981
CITY OF RICHMOND                                     8046463904
CITY OF ROANOKE                                      5408531019
CITY OF ROCKINGHAM                                   9108950610
CITY OF ROCKMART                                     7706844435
CITY OF ROCKWOOD                                     7343799270
CITY OF ROGERSVILLE                                  4232729451
CITY OF ROSSVILLE                                    7855846155
CITY OF RUSSELLVILLE                                 4799684327
CITY OF RUSSELLVILLE, KY                             4799684327
CITY OF SEATTLE                                      2063869025
CITY OF SHEBOYGAN                                    9204590298
CITY OF SHREVEPORT                                   3186735270
CITY OF SPRINGFIELD                                  6153821612
CITY OF STAMPING GROUND                              5025356523
CITY OF STAMPING GROUNG                              5025356523
CITY OF SURGOINSVILLE                                4233454646
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 26 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                  Facsimile Tax Service List
CITY OF TRINITY                                      9365949710
CITY OF TULSA                                        9186993170
CITY OF VIRGINIA BEACH                               7574275978
CITY OF WARNER ROBINS                                4789291124
CITY OF WATERBURY                                    2033466162
CITY OF WATERBURY                                    2033466162
CITY OF WATERVILLE                                   2076804249
CITY OF WINCHESTER                                   8597447450
CITY OF WOODSTOCK                                    6783886358
CITY OF WOONSOCKET                                   4015976604
CITY OF WYOMING                                      6165307200
CITY VIEW ISD                                        9408518889
CLAIBORNE COUNTY                                     4236265945
CLARK COUNTY                                         9373282661
CLARK COUNTY                                         7024555969
CLARK COUNTY SHERIFF                                 8597450203
CLARKE COUNTY                                        2512754224
CLARKE COUNTY                                        2512753498
CLARKE COUNTY                                        7066133146
CLAY COUNTY                                          9405384725
CLAY COUNTY                                          9042696395
CLAY COUNTY                                          2563547395
CLAY COUNTY                                          2182995195
CLAY COUNTY                                          8183894070
CLAY COUNTY SHERIFF                                  3045878366
CLAYTON COUNTY                                       7704735984
CLEAR CREEK ISD                                      2812849901
CLEBURNE COUNTY                                      2564637829
CLEVELAND COUNTY                                     7044844917
CNTY DIR OF FINANCE CNTY OF HAWAII                   8089618569
COBB COUNTY                                          7705283118
COBB COUNTY                                          3348972481
COBB COUNTY TAX COMMISSIONER                         7705284027
COCHRAN COUNTY                                       8062665629
COKE COUNTY                                          3254532328
COLBERT COUNTY                                       2563868510
COLBERT COUNTY                                       2563868510
COLEMAN COUNTY                                       3256255134
COLLETON COUNTY                                      8435495169
COLORADO DEPARTMENT OF AGRICULTURE                   3034662867
COLORADO DEPARTMENT OF REVENUE                       3038662037
COLORADO DEPARTMENT OF STATE                         3038694860
COLUMBIA COUNTY                                      7068683343
COMAL COUNTY                                         8306266871
COMANCHE COUNTY                                      3253565790
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 27 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                  Facsimile Tax Service List
COMM. OF REV. SERVICES DOR                           8602974929
CONCHO CAD                                           3257324234
COOKE CAD                                            9406682587
CORYELL COUNTY                                       2548652519
COUNTY CLERK OF GARFIELD                             9709471078
COUNTY CLERK OF MARION                               4239421327
COUNTY CLERK OF WHITE                                9318362601
COUNTY OF MAUI                                       8082707831
COUNTY TREASURER                                     6414213089
COUNTY TREASURER OF CAMPBELL                         3076876416
CRAVEN COUNTY                                        2526362569
CRENSHAW COUNTY                                      3343353616
CT DEPARTMENT OF REVENUE SERVICES                    8602975727
CULBERSON COUNTY                                     4322831939
CULLMAN COUNTY                                       2567751398
CUMBERLAND COUNTY CLERK                              9314846284
DAKOTA COUNTY LICENSE CENTER LAKEVILLE               9529854499
DALE COUNTY                                          3344450498
DALLAM CAD                                           8062494124
DALLAM COUNTY                                        8062447801
DALLAS COUNTY                                        2146537887
DALLAS COUNTY TAX ASSESSOR                           2146537887
DALLAS COUNTY URD                                    9728694459
DAVIDSON COUNTY                                      6158626057
DAVIDSON COUNTY                                      3362432894
DAVIDSON COUNTY CLERK                                6158626057
DAWSON CAD                                           8068722364
DEAF SMITH CAD                                       8063646895
DEKALB COUNTY                                        2568458506
DELAWARE DIVISION OF CORPORATIONS                    3027392274
DELTA COUNTY                                         9033954638
DELTA COUNTY CLERK AND RECORDER                      9708742161
DENTON COUNTY                                        9403493501
DENVER COUNTY                                        7209134103
DENVER MANAGER OF REVENUE                            7209134100
DEPARTMENT OF CONSUMER AND REGULATORY                2024429445
AFFAIRS
DEPARTMENT OF REVENUE                                6019237637
DEPARTMENT OF REVENUE                                6019237637
DEPARTMENT OF REVENUE                                4064442980
DEPARTMENT OF TAXATION                               8042546111
DEPARTMENT OF THE TREASURY                           8552147522
DEPARTMENT OF THE TREASURY                           5737519443
DEPARTMENT OF THE TREASURY                           8552147522
DEPARTMENT OF THE TREASURY                           8552147522
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 28 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                  Facsimile Tax Service List
DEPARTMENT OF THE TREASURY                           8552147522
DEPARTMENT OF THE TREASURY                           8552147522
DEPARTMENT OF TREASURY                               8552147522
DEPT. OF AGRICULTURE WV                              3045582203
DEPT. OF MOTOR VEHICLES                              8043670883
DEPT. OF MOTOR VEHICLES                              8602635599
DESOTO COUNTY                                        8639934863
DEWITT COUNTY                                        3612750883
DICKSON COUNTY                                       6157895473
DIVISION OF TAXATION/LITTER CONTROL FEE              6092929266
DODDRIDGE COUNTY SHERIFF                             3048733968
DONLEY COUNTY                                        8068745042
DORCHESTER COUNTY                                    8438320057
DOUGHERTY COUNTY                                     2294462713
DOUGLAS COUNTY TREASURER                             4024446453
DUPLIN COUNTY                                        9102962331
DURHAM COUNTY                                        9195600350
DUVAL COUNTY                                         9046301432
EAGLE PASS ISD                                       8307736472
EASTLAND CAD                                         2546310628
ECTOR CAD                                            4323321726
EDGECOMBE COUNTY                                     2526412706
EDWARDS COUNTY                                       8306834195
EFFINGHAM COUNTY                                     9127548411
EL PASO COUNTY                                       9157712301
EL PASO COUNTY                                       7195207549
EL PASO TAX ASSESSOR / COLLECTOR                     9157712301
ELLIS COUNTY                                         9728255150
ELMORE COUNTY                                        3345671184
ERATH COUNTY                                         2549654594
ETOWAH COUNTY                                        2564396002
ETOWAH COUNTY TAG DEPT                               2564396002
EVANGELINE PARISH TAX COMMISSION                     3373634325
FAIRFIELD COUNTY                                     8036352767
FALLS COUNTY                                         2548831438
FANNIN CAD                                           9035838015
FANNIN COUNTY                                        7062584598
FAYETTE COUNTY                                       2059326115
FAYETTE COUNTY                                       7704613611
FCPS                                                 8593814157
FENTRESS COUNTY                                      9318797717
FERGUS COUNTY                                        4065359222
FLAGLER COUNTY                                       3863134161
FLATHEAD COUNTY                                      4067585694
FLATHEAD COUNTY                                      4067585864
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 29 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                  Facsimile Tax Service List
FLINT INCOME TAX DEPARTMENT                          5174419700
FLORENCE COUNTY                                      8436653069
FLORIDA DEPARTMENT OF AGRICULTURE                    8506177744
FLORIDA DEPARTMENT OF AGRICULTURE                    8506177744
FLORIDA DEPARTMENT OF STATE                          8502456014
FLOYD CAD                                            8069834909
FORSYTH COUNTY                                       3367483000
FORT BEND COUNTY                                     8324711830
FRANKLIN COUNTY                                      5404833080
FRANKLIN COUNTY                                      9035373483
FREESTONE COUNTY                                     9033896533
FRESNO COUNTY                                        5596003496
FRIO COUNTY                                          8303340006
FULTON COUNTY                                        5742237742
GADSDEN COUNTY                                       8506276548
GAINES CAD                                           4327583674
GALLATIN COUNTY SHERIFF                              8595674764
GALVESTON COUNTY                                     4097705351
GARFIELD TOWNSHIP                                    2319411588
GARLAND ISD                                          9724948631
GASTON COUNTY                                        7048626262
GENEVA COUNTY                                        3346845602
GEORGETOWN / SCOTT COUNTY REVENUE                    5028639808
GEORGETOWN COUNTY                                    8435453156
GEORGIA DEPARTMENT OF AGRICULTURE                    4046517957
GILMER COUNTY SHERIFF                                3044625134
GLADEWATER ISD                                       9038456994
GLYNN COUNTY                                         9122613849
GONZALES COUNTY                                      8305194256
GORDON COUNTY                                        7066298190
GORDON COUNTY                                        7066298190
GORMAN ISD                                           2547343393
GRAINGER COUNTY                                      8658283153
GRAND COUNTY TREASURER                               9707253689
GRAND PRAIRIE METRO URD                              9722378080
GRAND RAPIDS CITY INCOME TAX                         6164564608
GRANDVILLE COUNTY                                    9196901766
GRANT PARISH SHERIFF'S SALES TAX FUND                3186273418
GRAY COUNTY                                          8066698054
GRAYSON COUNTY TAX OFFICE                            9038934973
GREENBRIER COUNTY SHERIFF                            3046475429
GREENE COUNTY                                        4178684844
GREENUP COUNTY SHERIFF                               6064739878
GREENVILLE COUNTY                                    8644677189
GREENVILLE COUNTY TAX COLLECTOR                      8644677189
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 30 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                  Facsimile Tax Service List
GREENWOOD COUNTY                                     8649428724
GREGG COUNTY                                         9032372607
GREGG COUNTY TAX OFFICE                              9032372607
GUADALUPE COUNTY                                     8303729940
HALE CAD                                             8062931834
HALIFAX COUNTY                                       4344762799
HALL COUNTY                                          7705317106
HAMBLEN COUNTY                                       4233182508
HAMILTON CAD                                         2543868947
HAMILTON COUNTY                                      4232097301
HAMILTON COUNTY                                      4232097301
HANCOCK COUNTY                                       2543868727
HANCOCK COUNTY SHERIFF                               3045644138
HANOVER COUNTY                                       8043656046
HARDIN COUNTY                                        4092464718
HARDIN-JEFFERSON ISD                                 4092872283
HARNETT COUNTY                                       9108144017
HARRIS COUNTY                                        7134374561
HARRIS COUNTY TAX ASSESSOR                           7134374561
HARRISON CAD                                         7139614869
HARRISON COUNTY                                      2288654168
HARRISON COUNTY                                      9039355564
HARRISON COUNTY SHERIFF                              3046261066
HARRISON COUNTY TAX COLLECTOR                        2288654168
HARTLEY CAD                                          8063654582
HASKELL CAD                                          9408643075
HAWAII COUNTY                                        8089618248
HAWAII DEPARTMENT OF AGRICULTURE                     8089739613
HAWAII DEPARTMENT OF TAXATION                        8089746300
HAWAII DEPARTMENT OF TAXATION                        8089746300
HAWKINS COUNTY                                       4232725801
HAYS COUNTY                                          5123935547
HAYWOOD COUNTY                                       8284526661
HENDERSON COUNTY                                     9036777230
HENDERSON TAX ADMINISTRATOR                          2708276002
HENRY COUNTY                                         2766344774
HENRY COUNTY                                         7702888190
HENRY COUNTY TAX COMMISSIONER                        7702888189
HERNANDO COUNTY                                      3527544189
HIDALGO COUNTY                                       9563182733
HIDALGO COUNTY TAX ASSESSOR                          9563182733
HIDALGO COUNTY TAX ASSESSOR                          9563182733
HIGHLAND COUNTY                                      8634026828
HILL CAD                                             2545823654
HILL COUNTY                                          2544824001
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 31 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                  Facsimile Tax Service List
HILLSBOROUGH COUNTY                                  8133474383
HOOD COUNTY                                          8175793295
HOPKINS COUNTY                                       9034384015
HORRY COUNTY                                         8439156470
HORRY COUNTY                                         8439156470
HOUSTON CAD                                          9365442711
HOUSTON COUNTY                                       9365442711
HOUSTON COUNTY                                       9312892799
HOWARD COUNTY                                        4322642282
HUNT COUNTY                                          9034084002
HUNTINGTON COUNTY                                    2603584823
IBERIA PARISH SCHOOL BOARD                           3373656996
IDAHO TRANSPORTATION DEPARTMENT                      2083344430
IL SECRETARY OF STATE                                2177850358
ILLINOIS DEPARTMENT OF AGRICULTURE                   8157875488
ILLINOIS DEPARTMENT OF REVENUE                       2177856527
ILLINOIS DEPARTMENT OF REVENUE                       2177856527
ILLINOIS DEPARTMENT OF REVENUE                       2177856527
ILLINOIS DEPT. OF REVENUE                            2177856527
ILLINOIS SECRETARY OF STATE                          2177850358
IN DEPARTMENT OF REVENUE                             3172321843
INDIAN RIVER COUNTY                                  7727705009
INDIANA DEPARTMENT OF REVENUE                        3172321843
INDIANA DEPARTMENT OF REVENUE                        3172321843
INDIANA DEPARTMENT OF REVENUE                        3172321843
INDIANA DEPARTMENT OF REVENUE                        3172321843
INDIANA DEPT OF ENVIRONMENTAL MGMT.                  3172336647
INDIANA OF DEPARTMENT OF REVENUE                     3172321843
INDIANA OF DEPARTMENT OF REVENUE                     3172321843
INDIANA STATE EGG BOARD                              7654946349
INTERNAL REVENUE SERVICE                             8552147522
IOWA DEPARTMENT OF AGRICULTURE MILK FUND             5152818503
IOWA DEPARTMENT OF REVENUE                           5152426487
IOWA DEPARTMENT OF REVENUE                           5152426487
IOWA DEPARTMENT OF REVENUE AND FINANCE               5152426487
IOWA DEPT OF TRANSPORTATION                          5152373355
IREDELL COUNTY                                       7049283003
IRION COUNTY                                         3258352195
JACK COUNTY                                          9409575322
JACKSON COUNTY                                       8285867555
JACKSON COUNTY                                       7067082502
JACKSON COUNTY                                       2565749267
JACKSON COUNTY                                       9312684149
JACKSON COUNTY SHERIFF                               3043725259
JASPER COUNTY                                        4093848226
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 32 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                  Facsimile Tax Service List
JEFFERSON COUNTY                                     2054814128
JEFFERSON COUNTY                                     4097845848
JEFFERSON COUNTY                                     8654711939
JEFFERSON COUNTY TAX ASSESSOR                        4098358535
JOHNSON COUNTY                                       8175560826
JOHNSON COUNTY                                       9199895614
JONES CAD                                            3258232424
KANAWHA COUNTY SHERIFF                               3043570291
KANSAS DEPARTMENT OF AGRICULTURE                     7855646777
KANSAS DEPARTMENT OF REVENUE                         7852913614
KANSAS DEPARTMENT OF REVENUE                         7852967240
KANSAS SECRETARY OF STATE                            7852964570
KARNES COUNTY                                        8307804530
KAUA'I COUNTY                                        8082416499
KAUFMAN COUNTY                                       9729321413
KENDALL COUNTY                                       8302493975
KENTUCKY DEPARTMENT OF AGRICULTURE                   5025642133
KENTUCKY DEPARTMENT OF AGRICULTURE                   5025642133
KENTUCKY DEPARTMENT OF AGRICULTURE                   5025730046
KENTUCKY DEPARTMENT OF REVENUE                       5025648946
KENTUCKY DEPT. OF REVENUE                            5025646545
KIMBLE CAD                                           3254464361
KNOX COUNTY                                          8652153655
KNOX COUNTY TAX OFFICE                               9404592004
LA PLATA COUNTY CLERK AND RECORDER                   9702595413
LAFOURCHE PARISH SCHOOL BOARD                        9854460801
LAKE COUNTY                                          3522532125
LAMAR CAD                                            9037858322
LAMAR COUNTY                                         2056959971
LAMAR COUNTY TAX ASSESSOR                            9037372425
LAMB CAD                                             8063856944
LAMPASS COUNTY                                       5125564825
LANCASTER COUNTY                                     8776365279
LARAMIE COUNTY                                       3076334408
LAREDO ISD                                           8562731818
LASALLE PARISH SALES TAX FUND                        3183369978
LAURENS COUNTY                                       8649843922
LEA COUNTY                                           5753966820
LEAKEY ISD                                           8302325535
LEBANON COUNTY                                       7172284462
LEE COUNTY                                           3347055081
LEE COUNTY                                           9795423787
LEE COUNTY                                           2394852262
LENOIR COUNTY                                        2525274923
LEON COUNTY                                          8506064758
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 33 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                  Facsimile Tax Service List
LEON COUNTY                                          9035362431
LEWIS COUNTY                                         9317966010
LEWIS COUNTY CLERK                                   9317966010
LEWIS COUNTY SHERIFF                                 3042692644
LIBERTY COUNTY                                       9362538040
LIMESTONE COUNTY                                     2547293533
LINCOLN COUNTY                                       7047329028
LINCOLN COUNTY                                       7063591520
LINCOLN COUNTY                                       3048243430
LINCOLN COUNTY SHERIFF                               3042692644
LINCOLN PARISH                                       3182515142
LIVINGSTON PARISH SCHOOL BOARD                       2256863052
LLANO COUNTY                                         3252475205
LOGAN COUTNY TREASURER                               4052823155
LOUDON COUNTY                                        8654580829
LOUISIANA DEPARTMENT OF ENVIR QUALITY                2252193971
LOUISIANA DEPARTMENT OF REVENUE                      2252316221
LOUISIANA DEPARTMENT OF REVENUE                      2252316221
LOUISIANA DEPT OF AGRICULTURE & FORESTRY             2259221253
LOWNDES COUNTY                                       2296712599
LOWNDES COUNTY TAX COMM.                             2296712599
LUBBOCK CAD                                          8067622451
LUBBOCK COUNTY                                       8067757951
LUCAS COUNTY                                         4192132121
LYNN CAD                                             8065614277
MA DEPT. OF AGRICULTURAL RESOURCES                   6176261850
MACON COUNTY                                         6156665323
MACON COUNTY                                         3347242622
MADISON COUNTY                                       8596244027
MADISON COUNTY                                       2565323368
MAINE BUREAU OF AGRICULTURE, FOOD AND RURAL          2072877548
RESOURCES
MAINE DAIRY AND NUTRITION COUNCIL                    2072877161
MAINE DEPARTMENT OF ENVIRONMENTAL                    2072877826
PROTECTION
MAINE REVENUE SERVICES                               2072876975
MAINE REVENUE SERVICES                               2072876975
MANATEE COUNTY                                       9417084934
MARENGO COUNTY                                       3342952273
MARION COUNTY                                        8434238392
MARION COUNTY                                        2059213676
MARLBORO COUNTY                                      843 4549462
MARSHALL COUNTY                                      3048451283
MARSHALL COUNTY                                      3342424993
MARTIN COUNTY                                        4327562992
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 34 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                  Facsimile Tax Service List
MARTIN COUNTY                                        7722885975
MARYLAND DEPT OF AGRICULTURE                         4108415835
MASON COUNTY                                         3253476194
MASON COUNTY SHERIFF                                 3046752838
MASSACHUSETTS DEPT OF ENVIRON PROTECTION             6175746880
MAUI COUNTY                                          8082707702
MAVERICK COUNTY                                      8307736378
MCCREARY COUNTY SHERIFF                              6063762347
MCCREARY COUNTY TAX ADMINISTRATOR                    6063764319
MCCREARY COUNTY TAX ADMINISTRATOR                    6063764319
MCCULLOCH CAD                                        3255972408
MCCULLOCH COUNTY                                     3255978306
MCDOWELL COUNTY                                      8286528401
MCHENRY COUNTY                                       8153381737
MCLENNAN COUNTY                                      2547572666
MCLENNAN COUNTY TAX ASSESSOR                         2547572666
MCMINN COUNTY                                        4237441603
MCMINN COUNTY CLERK                                  4237441657
MEDINA COUNTY                                        8307416015
MEIGS COUNTY                                         4233347209
MENARD COUNTY                                        3253962916
MERCER COUNTY                                        7249627395
MERCER COUNTY SHERIFF                                3044878370
MESA COUNTY                                          9702441804
MESA COUNTY CLERK AND RECORDER                       9702561588
MESA COUNTY DOV                                      9702441676
MIAMI DADE COUNTY                                    3053751142
MICHIGAN CORPORATIONS DIVISION                       5172410538
MIDLAND CAD                                          4326884918
MIDLAND COUNTY TAX ASSESSOR                          4326884916
MILAM COUNTY                                         2546977020
MILLS CAD                                            3256483458
MINERAL COUNTY SHERIFF                               3047884771
MINNEHAHA COUNTY                                     6053676091
MINNEHAHA COUNTY TREASURER                           6053676091
MINNESOTA SECRETARY OF STATE                         6512969073
MISSISSIPPI DEPARTMENT OF REVENUE                    6019237318
MISSISSIPPI SECRETARY OF STATE                       6013591499
MISSOULA COUNTY                                      4062584811
MISSOULA COUNTY TREASURER                            4062584811
MMTA                                                 2076234096
MOFFAT COUNTY CLERK                                  970 8263413
MONROE COUNTY                                        3052924515
MONROE COUNTY                                        4234428053
MONTAGUE CAD                                         9408946599
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 35 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                  Facsimile Tax Service List
MONTAGUE COUNTY                                      9408942012
MONTANA DEPARTMENT OF REVENUE                        4064442980
MONTANA DEPARTMENT OF REVENUE                        4064442980
MONTANA SECRETARY OF STATE                           4064449002
MONTEZUMA COUNTY CLERK                               9705640215
MONTGOMERY COUNTY                                    9315535132
MONTGOMERY COUNTY CLERK                              9315535160
MOORE COUNTY                                         8069352344
MOORE COUNTY                                         9109476340
MOREHOUSE SALES AND USE TAX COMMISSION               3182836183
MORGAN COUNTY                                        2563514699
MOTOR CARRIER DEPT. TRANSPORTATION DIV.              5039863396
MURRAY COUNTY                                        7065173522
NASH COUNTY                                          2524620508
NATCHITOCHES TAX COMMISSION                          3183570622
NATRONA COUNTY                                       (307) 235-9520
NATRONA COUNTY TREASURER                             (307) 235-9474
NAVARRO COUNTY                                       9038753391
NCDMV                                                8286493583
ND OFFICE OF STATE TAX COMMISSIONER                  7013283700
NEBRASKA SECRETARY OF STATE                          4024713237
NEVADA DEPARTMENT OF AGRICULTURE                     7753533661
NEVADA DEPARTMENT OF TAXATION                        7024862373
NEVADA DEPT OF AGRICULTURE                           7753533661
NEVADA DEPT. OF MOTOR VEHICLES                       7756844692
NEVADA DIVISION OF ENVIRONMENTAL PROTECT             7756875856
NEVADA SECRETARY OF STATE                            7756845708
NEW HAMPSHIRE DEPARTMENT OF STATE                    6032713247
NEW HANOVER COUNTY                                   9107987310
NEW JERSEY DIVISION OF REVENUE                       6092925097
NEW MEXICO DEPT OF AGRICULTURE                       5756468120
NEW MEXICO TAXATION AND REVENUE                      5058270178
NEW MEXICO TAXATION AND REVENUE DEPARTMENT           5058270178
NEW YORK STATE DEPARTMENT OF STATE                   5184745173
NEWBERRY COUNTY                                      8033212131
NEWTON COUNTY                                        7707842088
NEZ PERCE COUNTY                                     2087993037
NH DRA                                               6032305945
NM TAXATION AND REVENUE DEPT.                        5058270178
NOLAN CAD                                            3252358165
NORTH CAROLINA DEPARTMENT OF REVENUE                 9197150909
NORTH CAROLINA DEPARTMENT OF REVENUE                 9197150909
NORTH DAKOTA DEPARTMENT OF AGRICULTURE               7013284567
NORTH DAKOTA DEPT. OF TRANSPORTATION                 7013280310
NORTH DAKOTA SECRETARY OF STATE                      7013282992
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 36 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                  Facsimile Tax Service List
NORTHEAST TITLE AND TAG INC.                         5702070909
NUECES CANYON ISD                                    8302324168
NUECES COUNTY                                        8302343514
NUECES COUNTY TAX ASSESSOR                           3618880218
NYS DEPT. OF AG & MARKETS                            5184855816
NYS DIVISION OF CORPORATIONS                         5184745173
OCONEE COUNTY                                        8647181013
OFFICE OF STATE TAX COMMISSIONER                     7013283700
OFFICE OF TAX AND REVENUE                            2024426890
OFFICE OF TAX AND REVENUE                            2024426890
OFFICE OF THE SECRETARY OF STATE                     5025645687
OHIO COUNTY SHERIFF                                  3042343759
OHIO DEPARTMENT OF AGRICULTURE                       6147286310
OHIO DEPARTMENT OF TAXATION                          6143872165
OHIO DEPARTMENT OF TAXATION                          6143872165
OKEECHOBEE COUNTY                                    8637632426
OKLAHOMA COUNTY                                      4057137158
OKLAHOMA DEPARTMENT OF AGRICULTURE                   4055224912
OKLAHOMA SECRETARY OF STATE                          4055213771
ONSLOW COUNTY                                        9109895818
ORANGE COUNTY                                        9196443332
ORANGE COUNTY                                        7148345361
OREGON DEPARTMENT OF REVENUE                         5039458738
OSCEOLA COUNTY                                       4077424009
OWEN COUNTY                                          5024841004
PALO PINTO COUNTY CAD                                9406593628
PANOLA COUNTY                                        9036932726
PARISH OF CATAHOULA                                  3183369978
PARISH OF CONCORDIA                                  3183369978
PARISH OF EAST BATON ROUGE                           2253895673
PARISH OF EAST CARROLL                               3183369978
PARISH OF ST. TAMMANY                                9857267767
PARISH SALES TAX FUND                                9858769841
PARK COUNTY                                          4062224160
PARK COUNTY                                          3075278649
PARKER CAD                                           8175986133
PARKER COUNTY TAX ASSESSOR                           8175986133
PARMER CAD                                           8062511121
PASCO COUNTY                                         3525214275
PASQUOTANK COUNTY                                    2523386125
PECOS COUNTY                                         4323363382
PECOS COUNTY                                         4323363382
PENDER COUNTY                                        9102591286
PENNINGTON COUNTY                                    6053946810
PENNINGTON COUNTY                                    2186837026
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 37 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                  Facsimile Tax Service List
PENNSYLVANIA DEPARTMENT OF STATE                     7177050927
PERRY COUNTY                                         3346832201
PERRY COUNTY                                         9315893232
PICKENS COUNTY                                       8648985932
PICKENS COUNTY                                       2053672040
PIKE COUNTY                                          3345666382
PINE TREE ISD                                        9032955180
PINELLAS COUNTY                                      7274533533
PITT COUNTY                                          2528301935
PLYMOUTH COUNTY                                      7125464518
PLYMOUTH COUNTY                                      7125464518
POLK COUNTY                                          9363276885
POLK COUNTY                                          4233383101
POLK COUNTY                                          7707498674
POLK COUNTY TREASURER                                5152862225
POWER COUNTY                                         2082267612
PRESIDIO COUNTY                                      4327294920
PRESTON COUNTY SHERIFF                               3043293990
PULASKI COUNTY                                       6066798642
PUTNAM COUNTY                                        9313728201
PUTNAM COUNTY SHERIFF                                3045860260
RAINS CAD                                            9034734040
RANDALL COUNTY                                       8064685657
RANDALL COUNTY TAX ASSESSOR                          8064685541
RANDOLPH COUNTY SHERIFF                              3046362093
RANKIN COUNTY TAX COLLECTOR                          6018247111
RAYMONDVILLE ISD                                     9566896850
REAL COUNTY                                          8302326701
RED RIVER COUNTY                                     9034270159
REEVES CAD                                           4322714002
RHODE ISLAND SECRETARY OF STATE                      4012223040
RICHARDSON ISD                                       4695930506
RICHLAND COUNTY                                      8035762269
RICHLAND COUNTY TREASURER                            8035762269
RICHMOND COUNTY                                      9109978273
RICHMOND COUNTY                                      7068212325
RICHMOND COUNTY                                      8043335461
RITCHIE COUNTY SHERIFF                               3046434208
RIVERSIDE COUNTY                                     9519553923
ROANOKE COUNTY                                       5407727514
ROBERTSON COUNTY                                     6153840237
ROBESON COUNTY                                       9106713010
ROCKWALL CAD                                         9727716871
ROSEBUD COUNTY TREASURER                             4063462754
ROUTT COUNTY CLERK                                   9708705426
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 38 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                  Facsimile Tax Service List
ROWAN COUNTY                                         7042167983
RUNNELS COUNTY                                       3253655884
RUSSELL COUNTY                                       3344484705
SAMPSON COUNTY                                       9105924865
SAN AUGUSTINE COUNTY                                 9362759579
SAN JUAN COUNTY                                      9703878046
SANTA CLARA COUNTY                                   4082790357
SARASOTA COUNTY                                      9418618319
SC DEPARTMENT OF REVENUE                             8038961682
SC DEPARTMENT OF REVENUE                             8038961682
SCHLEICHER CAD                                       3258533066
SCOTLAND COUNTY                                      9102773185
SCREVEN COUNTY                                       9125647621
SCURRY COUNTY                                        3255741687
SECRETARY OF STATE                                   2079450175
SECRETARY OF STATE                                   2083342080
SECRETARY OF STATE                                   5152425953
SECRETARY OF THE COMMONWEALTH                        6177424538
SEDGWICK COUNTY                                      3163837113
SEDGWICK COUNTY TREASURER                            3163837113
SEVIER COUNTY                                        4358930443
SEVIER COUNTY                                        8654530290
SHACKELFORD CAD                                      3257622208
SHELBY COUNTY                                        2056706915
SHERIDAN COUNTY                                      3076742529
SILVER BOW COUNTY TREASURER                          4064976328
SMITH COUNTY TAX ASSESSOR                            9035902939
SMITH COUNTY TAX OFFICE                              9035902939
SOMERVELL CAD                                        2548973258
SOUTH DAKOTA DEPARTMENT OF AGRICULTURE               6057733481
SOUTH DAKOTA SECRETARY OF STATE                      6057736580
SPARTANBURG COUNTY                                   8645962992
SPARTANBURG COUNTY TREASURER                         8645962992
ST. CHARLES PARISH SCHOOL BOARD                      9857857246
ST. CLAIR COUNTY                                     2055942108
ST. HELENA PARISH SHERIFFS OFFICE                    2252223144
ST. JOHN THE BAPTIST PARISH                          9853596602
STAFFORD COUNTY                                      5406588554
STANISLAUS COUNTY                                    2095257868
STATE OF CALIFORNIA DEPT. OF FOOD & AGRICULTURE      9166574240
STATE OF CONNECTICUT                                 8605096209
STATE OF IDAHO                                       2083326690
STATE OF MI - DIRECT MAIL UNIT #298                  5173353298
STATE OF MONTANA                                     4064442701
STATE OF NEVADA                                      7756842020
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 39 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                  Facsimile Tax Service List
STEPHENS COUNTY                                      2545597296
STERLING COUNTY                                      3253782266
STONEWALL COUNTY                                     9409892715
SULLIVAN COUNTY                                      4233234141
SULLIVAN COUNTY CLERK                                8458070434
SUMTER COUNTY                                        8034362469
SURRY COUNTY                                         3364018120
SUTTON CAD                                           3253872031
SWEETWATER COUNTY                                    3078723998
SWEETWATER COUNTY TREASURER                          3078723998
SWISHER CAD                                          8069954079
SWISHER COUNTY                                       8069954572
TALLAPOOSA COUNTY                                    2568251017
TANGIPAHOA PARISH SCHOOL SYSTEM                      9857482489
TAXATION & REVENUE DEPT.                             5058270940
TAXATION AND REVENUE DEPARTMENT                      5058270940
TAYLOR CAD                                           3256867877
TAYLOR COUNTY                                        3256741394
TAYLOR COUNTY SHERIFF                                3042653016
TAZEWELL COUNTY                                      2769884246
TERRY CAD                                            8066374675
TEXAS COMMISSION ON ENVIRONMENTAL QLTY               5122390606
TEXAS COMPTROLLER OF PUBLIC ACCOUNTS                 8005311441
TEXAS COMPTROLLER OF PUBLIC ACCOUNTS                 8005311441
TEXAS DEPARTMENT OF AGRICULTURE                      8003801675
TIFT COUNTY TAX COMMISSIONER                         (229) 386-7958
TIFT COUNTY TAX COMMISSIONER                         (229) 386-7833
TITUS COUNTY                                         9035776714
TOM GREEN COUNTY                                     3256553450
TOM GREEN COUNTY TAX OFFICE                          3256553450
TOOLE COUNTY CLERK                                   4064248321
TOWN OF BELLINGHAM                                   5086572894
TOWN OF BRYSON                                       8284889474
TOWN OF COEBURN                                      2763953648
TOWN OF DECATUR                                      4233349995
TOWN OF EAST HARTFORD                                8602917354
TOWN OF EAST WINDSOR                                 8606234798
TOWN OF EMERALD ISLE                                 2523545068
TOWN OF FRANKLIN                                     5085204923
TOWN OF HERMON                                       2078483316
TOWN OF JASPER                                       4239423110
TOWN OF JEFFERSON                                    3368465564
TOWN OF WALLACE                                      9102855135
TOWN OF WARREN                                       4012450595
TOWN OF WARSAW                                       8043333104
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 40 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                  Facsimile Tax Service List
TOWN OF WATERTOWN                                    8609454741
TOWN OF WILBRAHAM                                    4135962830
TOWNSHIP OF FLORENCE                                 6094991186
TREASURER STATE OF MAINE                             2072872367
TREASURER STATE OF MAINE                             2072872367
TREASURERS OFFICE                                    3076742529
TUCKER COUNTY SHERIFF                                3044784819
TULSA COUNTY                                         9185965029
TUSCALOOSA COUNTY                                    2057500530
TUSCALOOSA COUNTY                                    2054648230
TWIN FALLS COUNTY                                    2087364097
TYLER COUNTY SHERIFF                                 3047582587
UINTAH COUNTY                                        4357815370
UNION COUNTY                                         7064396012
UNION COUNTY                                         7064396012
UNION COUNTY                                         8659228137
UNION PARISH                                         3182518698
UPPER GWYNEDD TOWNSHIP                               2156998846
UPSHUR COUNTY SHERIFF                                3044720937
UPTON COUNTY                                         4236932333
US DEPARTMENT OF AGRICULTURE                         2027205427
UT DEPT. OF TRANSPORTATION                           8012976899
UTAH COUNTY                                          3854688301
UTAH STATE TAX COMMISSION                            8012973573
UTAH STATE TAX COMMISSION                            8012973573
UTAH STATE TAX COMMISSION                            8012973573
UTAH STATE TAX COMMISSIONER                          8012973573
UVALDE CAD                                           8302788150
UVALDE COUNTY TAX ASSESSOR                           8304860062
VA DEPT. OF TAXATION                                 8042546111
VAN ZANDT CAD                                        9035676600
VANCE COUNTY                                         2527382059
VERMILION PARISH SCHOOL BOARD                        3377405901
VERMONT DEPARTMENT OF TAXES                          8028285787
VERMONT DEPARTMENT OF TAXES                          8028285787
VERMONT SECRETARY OF STATE                           8028282496
VERNON PARISH                                        3372380240
VICTORIA COUNTY                                      3615760477
VIRGINIA DEPARTMENT OF REVENUE                       8042546111
VIRGINIA DEPARTMENT OF TAXATION                      8042546111
VIRGINIA DEPARTMENT OF TAXATION                      8042546111
VIRGINIA DEPT. OF AGRICULTURE & CONSUMER             8042546111
SERVICES
VIRGINIA DEPT. OF TAXATION                           8042546111
VOLUSIA COUNTY                                       3866266584
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 41 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                  Facsimile Tax Service List
WA STATE DEPT. OF REVENUE                            3607056699
WAKE COUNTY                                          9198567128
WALKER CAD                                           9362953061
WALKER COUNTY                                        2053847000
WALKER COUNTY                                        7066381453
WALKER COUNTY                                        2053847268
WALLER COUNTY                                        9798267619
WARD COUNTY                                          4329432745
WARE COUNTY                                          9122874468
WARE COUNTY TAX COMMISSIONER                         9122874468
WARREN COUNTY                                        9314736754
WARREN COUNTY                                        2707811984
WARREN COUNTY CLERK                                  2708435319
WARREN COUNTY OCCUPATIONAL LICENSE                   2703933636
WASHINGTON COUNTY                                    2403132111
WASHINGTON COUNTY                                    (979) 277-3741
WASHINGTON COUNTY                                    (979) 277-6282
WASHINGTON COUNTY                                    7403767424
WASHINGTON COUNTY                                    2765251309
WASHINGTON COUNTY                                    2766983406
WASHINGTON COUNTY                                    6514306060
WASHINGTON STATE DEPARTMENT OF REVENUE               (360) 705-6655
WASHINGTON STATE DEPARTMENT OF REVENUE               (360) 705-6699
WASHOE COUNTY                                        7753282500
WAYNE COUNTY                                         9197311594
WAYNE COUNTY                                         3042725318
WEBB COUNTY                                          9565235014
WEBB COUNTY TAX OFFICE                               9565235050
WEBSTER COUNTY SHERIFF                               3048472647
WEBSTER PARISH SCHOOL BOARD                          3183774114
WELD COUNTY                                          9703046435
WELD COUNTY CLERK                                    9703046435
WEST BATON ROUGE PARISH                              2253340543
WEST VIRGINIA DEPARTMENT OF AGRICULTURE              3045582203
WEST VIRGINIA DEPARTMENT OF AGRICULTURE              3045582203
WEST VIRGINIA SECRETARY OF STATE                     3045580900
WETZEL COUNTY                                        3044555256
WHARTON COUNTY                                       9795323897
WHITE COUNTY                                         9318363204
WHITE COUNTY TAX COMMISSIONER                        7062190078
WHITLEY COUNTY                                       6065390478
WICHITA COUNTY                                       940766.8176
WICHITA COUNTY TAX ASSESSOR                          940766.8176
WILBARGER CAD                                        9405532324
WILBARGER COUNTY                                     9405532324
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 42 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                  Facsimile Tax Service List
WILKES COUNTY                                        3366517551
WILLACY COUNTY                                       9566893910
WILLIAMSBURG COUNTY                                  8433551582
WILLIAMSON COUNTY                                    6157905463
WILLIAMSON COUNTY                                    5129431618
WILSON COUNTY                                        6154494678
WILSON COUNTY                                        2523992030
WINKLER COUNTY                                       4325866925
WINN PARISH SCHOOL BOARD                             9856282582
WINNEBAGO COUNTY                                     8153194401
WINSTON COUNTY                                       2054898926
WIRT COUNTY SHERIFF                                  3042753303
WISCONSIN DEPARTMENT OF AGRICULTURE                  6082245034
WISCONSIN DEPARTMENT OF REVENUE                      6082670834
WISCONSIN DEPARTMENT OF REVENUE                      6082670834
WISCONSIN DEPARTMENT OF REVENUE                      6082670834
WISCONSIN DEPARTMENT OF REVENUE                      4142274405
WISCONSIN DEPT OF AGRICULTURE, TRADE &               6082244677
CONSUMER PROTECTION
WISCONSIN DEPT. OF FINANCIAL INSTITUTIONS            6082676813
WISE COUNTY                                          9406275763
WISE COUNTY                                          2763284570
WOOD COUNTY                                          9037635753
WV BUREAU OF PUBLIC HEALTH                           3045581035
WYOMING COUNTY SHERIFF                               3047328712
WYOMING DEPARTMENT OF REVENUE                        3077773632
WYOMING DEPT OF AGRICULTURE                          3077776593
WYOMING SECRETARY OF STATE                           3077776217
YANCY COUNTY                                         9197153107
YOAKUM COUNTY                                        8064567118
YORK COUNTY                                          8038185166
YOUNG CAD                                            (940) 549-7271
YOUNG CAD                                            (940) 549-5160
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 43 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                 Facsimile Utilities Service List
                     NAME                                FAX
3 RIVERS COMMUNICATIONS                              4064672535
ABC WASTE OF SAVANNAH                                9124430130
ABCWUA -ALBUQUERQUE BERNALILLO                       5052893062
ABCWUA -ALBUQUERQUE BERNALILLO                       5052893062
ACADIANA WASTE SERVICES                              3374510005
ACADIANA WASTE SERVICES                              3374510005
ADVANCED DISPOSAL                                    9046360699
ADVANCED DISPOSAL                                    2292427439
ADVANCED DISPOSAL ONLINE                             9046360699
ADVANCED DISPOSAL SOLID WASTE MIDWEST                9046360699
ADVANCED DISPOSAL SOLID WASTE MIDWEST                2292427439
AEP-COLUMBUS SOUTHERN POWER                          8664646607
AEP-INDIANA MICHIGAN POWER                           6147161497
AEP-OHIO POWER                                       6148836680
AIRGAS USA LLC                                       6192253271
AIRGAS USA LLC                                       6106876932
ALABAMA POWER-BIRMINGHAM                             2052572176
ALABAMA POWER-BIRMINGHAM                             2052572176
ALBANY UTILITIES                                     2294341813
ALBANY UTILITIES                                     2294341813
ALOHA WASTE SYSTEMS INC                              8088930942
ALPENA POWER COMPANY                                 9893584990
ALPENA POWER COMPANY                                 9893584944
ALPENA POWER COMPANY                                 9893584990
AMEREN ILLINOIS                                      8772637369
AMEREN ILLINOIS                                      8772637369
AMERICAN WASTE CONTROL IN                            9184462903
AMERICAN WASTE CONTROL INC                           9184462903
AMERIGAS                                             6109923233
AMERIGAS - DALLAS                                    6109923233
AMERIGAS - PASADENA                                  6109923233
AMES OIL & PROPANE,INC                               2178642591
ANNISTON WATER WORKS                                 2562361532
ANNISTON WATER WORKS                                 2562361532
ARMSTRONG CABLE                                      7242568093
ASBURY ENVIRONMENTAL SE                              3105375697
ASBURY ENVIRONMENTAL SE                              6194631331
ASHWAUBENON WATER & SEWER                            9204922311
ASHWAUBENON WATER & SEWER                            9204922328
AT&T                                                 2144643622
AT&T MOBILITY                                        2144643622
AT&T N099 10389                                      5129367003
AT&T*BILL PAYMENT                                    2144643622
ATHENS UTILITIES BOARD (TN)                          4237460950
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 44 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                 Facsimile Utilities Service List
ATHENS UTILITIES BOARD (TN)                          4237460950
ATLANTIC BROADBAND                                   6177868803
ATLANTIC CITY ELECTRIC                               6096255274
ATLANTIC CITY ELECTRIC                               6094633832
ATLAS DISPOSAL INDUSTRIES                            9167362931
ATMOS ENERGY CORP                                    9728559765
ATMOS ENERGY CORP                                    9728553075
ATMOS ENERGY LOUISIANNA INDUST                       9728559765
ATMOS ENERGY LOUISIANNA INDUST                       9728553075
ATMOS ENERGY(FORMERLY TXU GAS)                       9728559765
ATMOS ENERGY(FORMERLY TXU GAS)                       9728553075
ATT                                                  2144643622
ATT*BILL PAYMENT                                     2144643622
AUGUSTA UTILITIES DEPARTMENT                         7063124123
AUGUSTA UTILITIES DEPARTMENT                         7067712646
AVISTA UTILITIES                                     5418584790
BABYLON RECYCLING CENTER                             6319577440
BANGOR WATER DISTRICT                                2079474516
BANGOR WATER DISTRICT                                2077350090
BCWS - BUTLER COUNTY WTR & SWR                       5137855799
BCWS - BUTLER COUNTY WTR & SWR                       5138873777
BELVIDERE WATER AND SEWER DEPT                       8155479214
BG&E                                                 4432136017
BG&E                                                 4432136017
BLUE RIDGE EMC (NC)                                  7063794836
BLUE RIDGE MOUNTAIN EMC (GA)                         7063794836
BMC/SO CAL GAS COMPANY                               9093058261
BOARD OF PUBLIC UTILITIES                            6097773320
BOARD OF PUBLIC UTILITIES                            6092922264
BOARD OF PUBLIC UTILITIES                            6092922619
BOARD OF PUBLIC UTILITIES                            3076377672
BOISE CITY PUBLIC WORKS DEPT                         2083843753
BOISE CITY PUBLIC WORKS DEPT                         2083843754
BOISE CITY UTILITY BILLING                           2086087460
BOISE CITY UTILITY BILLING                           2083957861
BOROUGH OF INDIANA                                   7244634177
BURRTEC WASTE INDUSTRIES INC                         7602562570
CABLE ONE INC 1                                      6023646010
CABLE TV OF EAST ALABAMA                             3342987000
CALCASIEU PARISH WATER WORKS                         3377213500
CANEY FORK ELEC COOP                                 9314732631
CANEY FORK ELEC COOP                                 9314733116
CHESAPEAKE UTILITIES                                 3027346799
CHESAPEAKE UTILITIES                                 3027346750
CITY & COUNTY OF BUTTE                               4064976200
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 45 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                 Facsimile Utilities Service List
CITY & COUNTY OF BUTTE                               4064976328
CITY OF AKRON                                        3303752468
CITY OF ANAHEIM                                      7147655164
CITY OF AUSTIN                                       5129742833
CITY OF AUSTIN                                       5129742833
CITY OF BANGOR                                       2079426631
CITY OF BIG SPRING WATER DEPT                        4322642540
CITY OF BIG SPRING WATER DEPT                        4322642527
CITY OF BISMARCK                                     7012226470
CITY OF BISMARCK                                     7012216840
CITY OF BLAIRSVILLE                                  7067812858
CITY OF BOISE EBPP                                   2086087460
CITY OF BRENTWOOD UTILITY                            9255165435
CITY OF BROWNWOOD                                    3256413779
CITY OF BROWNWOOD                                    3256413779
CITY OF CARROLLTON GA                                7708302044
CITY OF CARROLLTON GA                                7708302043
CITY OF COLORADO SPRINGS                             7193856834
CITY OF COLUMBIA (SC)                                8033438719
CITY OF CORPUS CHRISTI TX                            3618263105
CITY OF CORPUS CHRISTI TX                            3618268279
CITY OF CORTEZ                                       9705658172
CITY OF CROSSVILLE                                   9314847713
CITY OF DALLAS TX                                    2146703946
CITY OF DECATUR UTILITIES                            2607247213
CITY OF DELAND                                       3866267137
CITY OF DENISON WATER DEPT                           9034651676
CITY OF ENGLEWOOD                                    3037836893
CITY OF ENGLEWOOD                                    3037836893
CITY OF GOLDSBORO                                    9195804205
CITY OF GREAT FALLS                                  4064528048
CITY OF GREELEY                                      9703509736
CITY OF GREELEY                                      9703509737
CITY OF GULFPORT                                     2288685722
CITY OF HARRINGTON                                   3023983530
CITY OF HAVRE                                        4052629459
CITY OF HELENA                                       4064478377
CITY OF HOLDREGE                                     3089958681
CITY OF HOUSTON                                      7133711057
CITY OF IDAHO FALLS                                  2086128241
CITY OF LAFAYETTE                                    3036655588
CITY OF LAGRANDE                                     5419633333
CITY OF LE MARS                                      7125484976
CITY OF LEBANON TN                                   6154436319
CITY OF LENOIR                                       8287572100
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 46 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                 Facsimile Utilities Service List
CITY OF LEWISTON                                     2087461907
CITY OF LEWISTON                                     2087467952
CITY OF LUMBERTON                                    9106713882
CITY OF LUMBERTON PAYMEN                             9106713814
CITY OF MARIETTA                                     7707945505
CITY OF MARIETTA                                     7707945505
CITY OF MARQUETTE                                    9062280429
CITY OF MCKINNEY                                     9725472607
CITY OF MCKINNEY                                     9725472607
CITY OF MODESTO                                      2094915920
CITY OF NORTH LAS VEGAS                              7023990383
CITY OF NORTH LAS VEGAS                              7023990383
CITY OF OCALA                                        3526921381
CITY OF OCALA                                        3526902025
CITY OF OFALLON                                      6186244508
CITY OF PARIS                                        9037376951
CITY OF PARIS                                        9037858519
CITY OF RALEIGH                                      9199961813
CITY OF RALEIGH                                      9199961813
CITY OF RAWLINS                                      3073284599
CITY OF RAWLINS                                      3073284555
CITY OF RENO                                         7753342097
CITY OF ROCKFORD                                     8159679649
CITY OF ROCKFORD                                     8009001225
CITY OF SPRINGFIELD OH                               9373283471
CITY OF SPRINGFIELD OH                               9373283497
CITY OF ST GEORGE                                    4356274700
CITY OF ST GEORGE                                    4356274731
CITY OF STILLWATER                                   4057428245
CITY OF TAMPA UTILITIES                              8132748430
CITY OF TAMPA UTILITIES                              8132748430
CITY OF THIEF RIVER FALLS                            2186814145
CITY OF THIEF RIVER FALLS                            2186837343
CITY OF TIFTON                                       2293913949
CITY OF TIFTON GA                                    2293913877
CITY OF TULSA                                        9186993170
CITY OF TULSA                                        9186993170
CITY OF TWIN FALLS                                   2087357250
CITY OF TWIN FALLS                                   2087362296
CITY OF VALDOSTA                                     2292593592
CITY OF VALDOSTA                                     2292418285
CITY OF VICTORIA TX                                  3614853115
CITY OF WACO (TX)                                    2542992437
CITY OF WACO (TX)                                    2542992437
CITY OF WASHINGTON                                    7066783752
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 47 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                 Facsimile Utilities Service List
CITY OF WASHINGTON                                    7066783752
CITY OF WEST MELBOURNE                               3218377750
CITY OF WEST MELBOURNE                               3217682390
CITY OF WEST PALM BEACH                              5618221214
CITY OF WEST PALM BEACH                              5618221214
CITY OF WICHITA FALLS TX                             9407618833
CITY OF WILDWOOD SEWER                               6095221711
CITY OF WILDWOOD SEWER                               6095221711
CITY OF WILDWOOD WATER                               6095221711
CITY OF WINDOM UTILITIES                             5078316127
CITY OF WINDOM UTILITIES                             5078316127
CITY OF WINSTON-SALEM                                3367477400
CITY OF WOODWAY                                      2547724480
CITY OF WORLAND UTILITIES                            3073472480
CITY OF WORLAND UTILITIES                            3073472480
CITY OF WYOMING                                      6165307200
CITY OF WYOMING                                      6165307200
CITY TREASURER-SAN DIEGO                             6192367134
CITY TREASURER-SAN DIEGO                             6192367134
CITY UTILITIES                                       2603560344
CLARKSVILLE GAS & WATER DEPT                         9316485983
COLQUITT ELECTRIC                                    2299853620
COLQUITT ELECTRIC                                    2299856705
COMMERCIAL ENERGY OF MONTANA                         4068733300
COUNTY DIRECTOR OF FINANCE                           8089618569
DENVER SANITARY CO INC                               3032950755
DEPARTMENT OF PUBLIC UTILITIES                       7573976350
DEPT OF PUBLIC UTIL TOLEDO                           4192451853
DEPT OF PUBLIC UTIL TOLEDO                           4192451853
DEPT OF WATER COUNTY OF KAUAI                        8082455402
DEPT OF WATER SUPPLY                                 8089618657
DISH NETWORK-ONE TIME                                3037231000
DISPOSAL MANAGEMENT SERV                             5706480893
DIXIE POWER                                          4356733297
DIXIE POWER                                          4354395352
DMS DIESEL REPAIR LLC                                8089355944
DOMINION ENERGY                                      8047716696
DUKES SANITARY SERVICE I                             3308569134
EAST VALLEY WATER DISTRIC                            9098064228
EAST VALLEY WATER DISTRIC                            9098886741
EDISON WATER CO.                                     9089280471
EMERA MAINE                                          2079732980
EMERA MAINE                                          2079732980
EMERA MAINE                                          2079732980
EMERY TELCOM                                         4387485001
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 48 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                 Facsimile Utilities Service List
EPB                                                  4236481233
EPB ELECTRIC POWER BOARD                             4236481233
EPB ELECTRIC POWER BOARD                             4236481233
ERIE WATER WORKS                                     814870800071
EVERGY KANSAS CENTRAL INC                            8008260026
EVERSOURCE CT ELECTRIC                               8002862000
EVERSOURCE CT ELECTRIC                               8887836617
EVERSOURCE WESTERN MASS ELEC                         8776596326
EVERSOURCE WESTERN MASS ELEC                         8887836610
FARMERS TELECOMMUNICATIO                             2566382144
FIRST PIEDMONT CORP                                  8004766780
FIRST UTILITY DIST OF KNOX CTY                       8656754955
FIRST UTILITY DIST OF KNOX CTY                       8659669741
FLATHEAD ELECTRIC COOP. INC.                         8007358489
FLATHEAD ELECTRIC COOP. INC.                         4067514483
FLORENCE TOWNSHIP WATER&SEWER                        6094992525114
FLORIDA PUBLIC UTILITIES GAS                         8004277712
FLORIDA PUBLIC UTILITIES GAS                         8004277712
FLORIN COUNTY WATER DISTRICT                         9163830808
FLORIN COUNTY WATER DISTRICT                         9163830808
FLOYD COUNTY WATER DEPT                              7062915132
FPL                                                  8002263545
FPL                                                  80022635452
FSIALABAMA POWER                                     8884305787
G & H GARBAGE SERVICE INC                            4357897220
GATEWAY PROPANE                                      6182863006
GEORGIA POWER                                        8886555888
GRAND TRAVERSE COUNTY                                2319956039
GREAT LAKES WATER AUTHORITY                          3139649290
GREATER CINCINNATI WATER WORKS                       5135917700
GREENVILLE WATER SYSTEM                              8642416055
GROVE HILL WATER WORKS BOARD                         2512753153
GROVE HILL WATER WORKS BOARD                         2512753153
HAMPTON ROADS SANITATION DIST                        8882754782
HANCOCK-WOOD ELECTRIC                                8004454840
HAWAII GAS                                           8085945522
HAWAII GAS                                           8085355933
HAWAIIAN ELECTRIC COMPANY                            8085487311
HAWAIIAN ELECTRIC COMPANY                            8085487311
HAYWARD WATER SYSTEM                                 5105833610
HAYWARD WATER SYSTEM                                 5105834600
HC UTILITIES DEPT                                    3525404368
HELCO                                                8089696999
HIGHLAND TELEPHONE COOPER                            4236282121
HOLSTON GASES ATHENS                                 4237451266
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 49 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                 Facsimile Utilities Service List
HOLSTON GASES KNOXVILLE                              8655730063
HOULTON WATER CO                                     2075322259
HUNTSVILLE UTILITIES                                 2565351200
HUNTSVILLE UTILITIES                                 25653512005
IDAHO POWER                                          2083882200
IDAHO POWER                                          8004886151
IDR INC                                              7706711106
IMPERIAL IRRIGATION                                  7603399471
IMPERIAL IRRIGATION                                  8003037756
IN CONCEPTUAL SYSTEMS CO                             5417918130
INTERCONN RESOURCES LLC                              8882416855
INTERCONN RESOURCES LLC                              8882416855
INTERMOUNTAIN GAS CO                                 2083776840
INTERMOUNTAIN GAS CO                                 8005483679
JACKSON EMC (GA)                                     8004623691
JACKSON EMC (GA)                                     7063675281
JEFFERSON COUNTY AL                                  2053255390
JEFFERSON COUNTY AL                                  2053255300
JOHNSON CITY UTILITY                                 4234611640
JOHNSON CITY UTILITY SYSTEM                          4234611640
KANSAS GAS SERVICE                                   8007944780
KANSAS GAS SERVICE                                   7855758547
KAUAI ISLAND UTILITY COOP                            8082464300
KAUAI ISLAND UTILITY COOP                            8082464300
KUB- KNOXVILLE UTILITIES BOARD                       8655242911
KUB- KNOXVILLE UTILITIES BOARD                       8655242911
LA PLATA ELECTRIC ASSOC                              9702475786
LA PLATA ELECTRIC ASSOC                              8888395732
LAKE REGION ELECTRIC                                 8003645732
LAKE REGION ELECTRIC                                 2188631171
LAKESHORE RECYCLING SYST                             7736856043
LAURENS ELECTRIC COOPERATIVE                         8009423141
LAURENS ELECTRIC COOPERATIVE                         8646823141
LEE COUNTY UTILITIES                                 2395338845
LEE COUNTY UTILITIES                                 8004850214
LENOIR CITY UTILITY BOARD                            8659889696
LENOIR CITY UTILITY BOARD                            8446875282
LESHER REAL ESTATE                                   4037824301
LESHER REAL ESTATE                                   7172734535
LEVEL 3 COMMUNICATIONS                               7208885085
LINCOLN ELECTRIC SYSTEMS                             4027424891
LINCOLN ELECTRIC SYSTEMS                             4027424891
LINCOLN WATER & WASTEWTR SYST                        4024417765
LINCOLN WATER & WASTEWTR SYST                        4024418735
LINGO                                                6204128059
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 50 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                 Facsimile Utilities Service List
LONG DISTANCE CONSOLID                               8882293900
LOUISVILLE WATER COMPANY                             5025693674
LOUISVILLE WATER COMPANY                             5025690851
LOUISVILLE WATER COMPANY                             5025693677
LYNN WATER & SEWER COMMISSION                        7815951420
LYNN WATER & SEWER COMMISSION                        7815951420
MACKENZIE DISPOSAL INC                               4062593600
MACON WATER AUTHORITY                                4787419146
MACON WATER AUTHORITY                                4787419146
MADISON UTILITIES                                    2567727501
MADISON UTILITIES                                    2567720253
MARQUETTE BOARD                                      9062280329
MARSHALL MUNICIPAL UTILIT                            6608866724
MARSHALL MUNICIPAL UTILIT                            6608866724
MCALLEN PUBLIC UTILITIES                             9566811766
MCALLEN PUBLIC UTILITIES                             9566811767
MET-ED (FORMERLY GPU)                                 3302455419
MET-ED (FORMERLY GPU)                                 3302455420
METRO SERVICE GROUP INC                              5043651762
METRO WATER SERVICES                                 6158624929
METRO WATER SERVICES                                 6158624929
METROPOLITAN COUNCIL                                 6123497566
MID VALLEY DISPOSAL ENCOR                            5598429437
MIDCO                                                6053304083
MIDCO - CALL CENTER                                  6053304083
MIDDLE TENNESSEE NATURAL GAS                         6155976331
MIDDLE TENNESSEE NATURAL GAS                         6155976331
MINNESOTA ENERGY RESOURCES                           6155976331
MISSOULA ELECTRIC COOPERATIVE                        4065414433
MISSOULA ELECTRIC COOPERATIVE                        4065416318
MISSOULA WATER                                       4065416318
MONROE COUNTY WATER AUTHORITY                        5854420220
MONROE COUNTY WATER AUTHORITY                        5854420220
MONTANA DAKOTA UTILITIES                             7013233104
MONTANA DAKOTA UTILITIES                             7013233104
MONTANA WASTE SYSTEMS INC                            4067616391
MONTEZUMA WATER COMPANY                              9708822201
MOORHEAD PUBLIC SERVICE                              2184778000
MOORHEAD PUBLIC SERVICE                              2184778020
MUB OF ALBERTVILLE                                   2568783761
MUB OF ALBERTVILLE                                   2568788501
MUNICIPAL LIGHT & WATER                               3085356749
MUNICIPAL LIGHT & WATER                               3085356748
NATIONAL FUEL                                        7168577648
NATIONAL FUEL                                        7168577648
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 51 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                 Facsimile Utilities Service List
NATWEL SUPPLY CORP                                   2107362444
NEW MEXICO GAS COMPANY                               5056974494
NICOR GAS                                            6309836070
NICOR GAS                                            6309836070
NIPSCO                                               8662487296
NIPSCO                                               8662487296
NORTH ALABAMA GAS DISTRICT                           2567720227
NORTH ALABAMA GAS DISTRICT                           2563860627
NORTH ALABAMA GAS DISTRICT                           2567728098
NORTH MANHEIM TOWNSHIP                               5706281010
NORTH WALES WATER AUTHORITY                          2156998037
NTS COMMUNICATIONS INC                               8067883381
NYSEG                                                6077624422
OAK HILL GARBAGE DISPOSAL INCORPORATED               3042556562
OG&E                                                 4055533567
OG&E                                                 4055533567
OKEFENOKE RURAL ELECTRIC                             9124626100
OKEFENOKE RURAL ELECTRIC                             9124626100
ONEIDA WATER & WASTEWATER                            4235696311
ONEIDA WATER & WASTEWATER                            4235692471
OPTIMUM 7801                                         5168031349
PIONEER ELECTRIC COOPERATIVE I                       3343824913
PIONEER ELECTRIC COOPERATIVE I                       6203561858
PLATEAU ELECTRIC COOP                                4235696005
PLATEAU ELECTRIC COOP                                4235696005
PLYMOUTH ROCK ENERGY LLC                             5162951417
PLYMOUTH ROCK ENERGY LLC                             5162951417
PM RECYCLING INC                                     4017650380
PMTJEFF CO AL SEWER BILL                             2053255698
PNM                                                  5052412368
PNM                                                  5059389401
POTOMAC EDISON                                       3307776499
POTTER COUNTY TAX                                    8063422618
POWELL VALLEY ELECTRIC COOP                          4236265204
POWELL VALLEY ELECTRIC COOP                          4236260711
PPL ELECTRIC UTILITIES                               4846343484
PPL ELECTRIC UTILITIES                               4846343484
PRATT RECYCLING INC (DISC - ACH)                     7709185679
PRICE RIVER WATER IMPRVMT DIST                       4356376374
PRICE RIVER WATER IMPRVMT DIST                       4356376374
PSE&G                                                9734305845
PSE&G LONG ISLAND (LIPA)                             5169498461
PUBLIC SERVICE CO OF OK                              9185993233
PUBLIC SERVICE CO OF OK                              9185993233
PUBLIC WORKS & UTILITIES                             3168587787
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 52 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                 Facsimile Utilities Service List
PUBLIC WORKS-UTILITIES                               4066578319
RCS COMMUNICATIONS                                   5025846999
RECOLOGY SOUTH VALLEY                                4088423358
RELIANCE PROPANE & FUEL OIL                          4194739733
ROANOKE GAS CO                                       5407772636
ROCHESTER WATER & SWR DEPT                           5742233412
ROCHESTER WATER & SWR DEPT                           5742233412
ROCK SPRINGS MUN UTILITY                             3073521527
ROCKY MOUNTAIN POWER                                 8012202798
ROCKY MOUNTAIN POWER                                 2083568801
ROWLAND WATER DIST                                   5626976149
ROWLAND WATER DIST                                   5626976149
RPJ WASTE SERVICES INC                               3026539999
RRWRD - ROCK RIVER WATER                             8153877665
RRWRD - ROCK RIVER WATER                             8153877665
SACRAMENTO COUNTY UTILITIES                          9168549292
SAN MIGUEL POWER ASSN INC                            9708647257
SANITATION SOLUTIONS                                 6785138393
SCOTTSBORO ELEC POWER BOARD                          2565742680
SCOTTSBORO ELEC POWER BOARD                          2565745085
SEVIER COUNTY ELECTRIC SYSTEM                        8654284536
SEVIER COUNTY ELECTRIC SYSTEM                        8654284536
SEWERAGE & WATER BRD OF NEW OR                       5045852455
SHENTEL/NTC                                          5409843438
SIOUX FALLS UTILITIES                                6053677341
SIOUX FALLS UTILITIES                                6053677341
SJWD WATER DISTRICT                                  8649493511
SJWD WATER DISTRICT                                  8649493511
SMITHS WATER & SEWER AUTHORITY                       3342986342
SMITHS WATER & SEWER AUTHORITY                       3342986412
SO CAL GAS                                           9093058261
SOUTH KENTUCKY REC                                   6066798279
SOUTH PYMATUNING TWNSHP                              7249622141
SOUTHERN SANITATION                                  7705546477
SOUTHERN UTILITIES COMPANY                           3015892885
SOUTHWEST GAS CORPORATION                            8778606020
SPARTANBURG WATER SYS                                8645964929
SPECIAL T WATER SYS INC                              5626938992
SPIRE/ALAGASCO                                       8002924008
SQ WASTE-NOT RECYCLING                               9706699926
SUBURBAN PROPANE                                     9735897241
SUEZ WATER IDAHO                                     2083623858
SUEZ WATER IDAHO                                     2083623858
SUMMIT PARK PSD                                      3046235304
SUPREME ENERGY INC                                   9736720148
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 53 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                 Facsimile Utilities Service List
TALEN TREASURE STATE LLC                             3026365454
TALQUIN ELECTRIC COOP                                8506272553
TALQUIN ELECTRIC COOP                                8506272553
TED JOHNSON PROPANE                                  6263384194
TED JOHNSON PROPANE                                  6263384194
TED JOHNSON PROPANE                                  6263384194
TENNESSEE TRASH SERVICE-                             8659860268
TEXAS GAS SERVICE                                    9156807292
THE WATER WORKS AND SEWER BRD                        2565437704
TIGER INC.                                           3036658561
TIGER INC.                                           9184916659
TIME WARNER CABLE                                    8642972236
TIME WARNER OCEANIC CABLE                            8642972236
TOLEDO EDISON                                        4192495617
TOTAL ENERGY RESOURCES LLC                           7247424703
TOTAL ENERGY RESOURCES LLC                           7247424703
TOWN OF BRASELTON                                    7066543109
TOWN OF BRASELTON                                    7066543109
TOWN OF EAST GREENBUSH                               5186892495
TOWN OF EAST GREENBUSH TAX OFF                       5184771300
TOWN OF EAST GREENBUSH TAX OFF                       5180774810
TOWN OF EVANSVILLE                                   3072355109
TOWN OF EVANSVILLE                                   3072665109
TOWN OF EVANSVILLE UTIL.                             3072349678
TOWN OF FRANKLIN                                     5085204913
TOWN OF TARBORO                                      2526414230
TOWN OF TARBORO                                      2526414230
TOWN OF WILBRAHAM                                    4135991716
TOWN OF WILBRAHAM                                    4135991716
TRASHBILLING.COM CC                                  8022441530
TREASURER CHESTERFIELD COUNTY                        8047514993
TREASURER CHESTERFIELD COUNTY                        8047514993
TRI COUNTY DISPOSAL                                  4062276300
TRI COUNTY INDUSTRIES                                7247483988
TRI COUNTY INDUSTRIES INC                            7246588749
TUCKASEIGEE WATER AND SEW                            8286319089
TWIN EAGLE RESOURCE MGMT LLC                         7133417324
TWIN EAGLE RESOURCE MGMT LLC                         7133417324
UGI ENERGY SERVICES INC.                             6403744288
UPPER GWYNEDD TOWNSHIP                               2156997777
UPPER GWYNEDD TOWNSHIP                               2156998846
UPPER SHENANGO VALLEY WATER                          7249812008
UPPER SHENANGO VALLEY WATER                          7249812008
USA HAULING & RECYCLING INC                          8607415927
USA WASTE & RECYCLING IN                             8433930709
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 54 of 120
      SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                 Facsimile Utilities Service List
UTE WATER CONSERVANCY DIS                            9702429189
UTE WATER CONSERVANCY DIS                            9702429189
UTILITY OPERATIONS DIVISION                          3183293358
VANS SANITATION & RECYCLING                          7125466953
VERENDRYE ELEC COOP                                  7016240231
VERENDRYE ELEC COOP                                  7016240353
VILLAGE OF ASHWAUBENON                               9204922328
VILLAGE OF HUNTLEY                                   8475155206
VOLUNTEER ENERGY COOP                                4234769337
VOLUNTEER ENERGY COOP                                4233347003
WASTE INDUSTRIES - CONVEN                            3366659509
WASTE INDUSTRIES - NON-CO                            3362290526
WASTE INDUSTRIES LLC                                 3366659509
WASTE NOT RECYCLING                                  9706699926
WASTE PRO OF AL- 4                                   2056050800
WASTE PRO OF FL- 1                                   3527267440
WASTE PRO OF FL- 110 TALL                            8505310800
WASTE WATER SERVICES INC                             5086979979
WATERTOWN WSA                                        8609454974
WEST OAHU AGGREGATE CO INC                           8088477782
WESTERN VIRGINIA WATER AUTHOR                         5402838217
WHITE TOWNSHIP SEWER SERV                            7244630705
WISE ELECTRIC COOPERATIVE INC                        9406263060
YAMPA VALLEY ELECTRIC ASSOC                          9708797270
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 55 of 120




                         EXHIBIT C
    Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 56 of 120
          SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                   Electronic Mail Master Service List
       NAME               ATTENTION                       EMAIL
THE BANK OF NEW        ATTN: MOSES          mosestidwell.ballenger@bnymellon.c
YORK MELLON            BALLENGER,           om
TRUST COMPANY,         MANAGER
N.A.
WHITE & CASE LLP       ATTN: SCOTT          sgreissman@whitecase.com
                       GREISSMAN
MAYER BROWN LLP        ATTN: BRIAN TRUST    btrust@mayerbrown.com
PAUL, WEISS, RIFKIN,   ATTN: ANDREW         arosenberg@paulweiss.com
WHARTON &              ROSENBERG
GARRISON, LLP
OFFICE OF THE          ATTN: HECTOR         ustp.region07@usdoj.gov;
UNITED STATES          DURAN JR, STEPHEN    hector.duran.jr@usdoj.gov;
TRUSTEE FOR THE        DOUGLAS STATHAM      stephen.statham@usdoj.gov
SOUTHERN DISTRICT
OF TEXAS
SECURITIES AND         ATTN: ANDREW         newyork@sec.gov
EXCHANGE               CALAMARI,
COMMISION, NEW         REGIONAL DIR
YORK REGIONAL
OFFICE
THE UNITED STATES      ATTN: RICHARD A      richard.kincheloe@usdoj.gov
ATTORNEY'S OFFICE      KINCHELOEFOR
FOR THE SOUTHERN
DISTRICT OF TEXAS
STATE OF ALASKA        ATTN: KEVIN G.       attorney.general@alaska.gov
ATTORNEY GENERAL       CLARKSON
STATE OF ARIZONA       ATTN: MARK           aginfo@azag.gov
ATTORNEY GENERAL       BRNOVICH
STATE OF ARKANSAS      ATTN: LESLIE         oag@arkansasag.gov
ATTORNEY GENERAL       RUTLEDGE
STATE OF COLORADO      ATTN: PHIL WEISER    attorney.general@coag.gov
ATTORNEY GENERAL
STATE OF               ATTN: WILLIAM        attorney.general@ct.gov
CONNECTICUT            TONG
ATTORNEY GENERAL
STATE OF DELAWARE      ATTN: KATHY          attorney.general@state.de.us
ATTORNEY GENERAL       JENNINGS
DISTRICT OF            ATTN: KARL A.        oag@dc.gov
COLUMBIA               RACINE
ATTORNEY GENERAL
STATE OF GEORGIA       ATTN: CHRIS CARR     agcarr@law.ga.gov
ATTORNEY GENERAL
STATE OF HAWAII        ATTN: CLARE E.       hawaiiag@hawaii.gov
ATTORNEY GENERAL       CONNORS
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 57 of 120
         SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                  Electronic Mail Master Service List
STATE OF LOUISIANA   ATTN: JEFF LANDRY     constituentservices@ag.louisiana.gov
ATTORNEY GENERAL
STATE OF             ATTN: BRIAN E.        oag@oag.state.md.us
MARYLAND             FROSH
ATTORNEY GENERAL
STATE OF             ATTN: MAURA           ago@state.ma.us
MASSACHUSETTS        HEALEY
ATTORNEY GENERAL
STATE OF MICHIGAN    ATTN: DANA NESSEL     miag@michigan.gov
ATTORNEY GENERAL
STATE OF             ATTN: KEITH           attorney.general@ag.state.mn.us
MINNESOTA            ELLISON
ATTORNEY GENERAL
STATE OF MISSOURI    ATTN: ERIC SCHMITT    attorney.general@ago.mo.gov
ATTORNEY GENERAL
STATE OF MONTANA     ATTN: TIM FOX         contactdoj@mt.gov
ATTORNEY GENERAL
STATE OF NEBRASKA    ATTN: DOUG            ago.info.help@nebraska.gov
ATTORNEY GENERAL     PETERSON
STATE OF NEVADA      ATTN: AARON FORD      aginfo@ag.nv.gov
ATTORNEY GENERAL
STATE OF NEW         ATTN: GORDON J.       attorneygeneral@doj.nh.gov
HAMPSHIRE            MACDONALD
ATTORNEY GENERAL
STATE OF NORTH       ATTN: WAYNE           ndag@nd.gov
DAKOTA ATTORNEY      STENEHJEM
GENERAL
STATE OF             ATTN: MIKE HUNTER     questions@oag.ok.gov
OKLAHOMA
ATTORNEY GENERAL
STATE OF UTAH        ATTN: SEAN D.         uag@agutah.gov
ATTORNEY GENERAL     REYES
STATE OF VERMONT     ATTN: TJ DONOVAN      ago.info@vermont.gov
ATTORNEY GENERAL
ACOSTA, INC.         C/O: LANDIS RATH &    rath@lrclaw.com
                     COBB LLP ATTN:
                     DANIEL D. RATH
ADM ARCHER           ATTN: JUAN            luciano.botelho@adm.com
DANIELS MIDLAND      RICARDO LUCIANO
BERRY GLOBAL INC.    ATTN: THOMAS E.       tsalmon@berryplastics.com
                     SALMON
CALIFORNIA DAIRIES   ATTN: ANDREI          amikhalevsky@californiadairies.com
INC.                 MIKHALEVSKY
CENTRAL STATES       ATTN: THOMAS C.       tnyhan@centralstatesfunds.org
SOUTHEAST &          NYHAN
    Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 58 of 120
          SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                   Electronic Mail Master Service List
SOUTHWEST AREAS
PENSION PLAN
CONSOLIDATED          ATTN: J. PHILLIP      pdworsky@containerexperts.com
CONTAINER             DWORSKY
COMPANY
DAIRY FARMERS OF      ATTN: RICHARD P.      rsmith@dfamilk.com
AMERICA               SMITH
ECOLAB INC.           ATTN: DOUGLAS M.      doug.baker@ecolab.com
                      BAKER, JR.
ELOPAK INC.           ATTN: THOMAS          thomas.kormendi@elopak.com
                      KORMENDI
EVERGREEN             ATTN: JOHN ROONEY     rooney.john@evergreenpackaging.co
PACKAGING INC.                              m
HUHTAMAKI INC.        ATTN: CHARLES         charles.heaulme@huhtamaki.com
                      HÉAULMÉ
INTERNATIONAL         ATTN: CLAYTON         cbrown@ifpc.com
FOOD PRODUCTS         BROWN
INTERNATIONAL         ATTN: MICHAEL         michael@ipcclakeforest.com
PRECISION             STOLZMAN
COMPONENTS
CORPORATION
LAND O'LAKES, INC.    ATTN: BETH E. FORD    bernie.ford@landolakesinc.com
NESTLE USA            ATTN: PAUL            paul.grimwood@us.nestle.com
                      GRIMWOOD
PENSION BENEFIT       ATTN: PATRICIA        kelly.patricia@pbgc.gov
GUARANTY              KELLY
CORPORATION
(PBGC)
PENSKE TRUCK          ATTN: BRIAN HARD      brian.hard@penske.com
LEASING COMPANY
LP
RALPH SCOZZAFAVA      ATTN: RALPH           ralphscozz@yahoo.com
                      SCOZZAFAVA
RETAIL WHOLESALE      ATTN: STUART          stuart@rwdsufunds.com;
& DEPARTMENT          APPELBAUM / DON       don@rwdsufunds.com
STORE                 HOPKINS
INTERNATIONAL
UNION AND
INDUSTRY PENSION
FUND
RYDER SYSTEM, INC.    ATTN: ROBERT E.       robert.sanchez@ryder.com
                      SANCHEZ
SAPUTO DAIRY          ATTN: LINO A.         lsaputo@saputo.com
FOODS USA LLC         SAPUTO
SELECT MILK           ATTN: C. MILES        rancem@selectmilk.com
PRODUCERS INC.
    Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 59 of 120
            SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                     Electronic Mail Master Service List
SILGAN PLASTIC            ATTN: TONY ALLOT    tallot@silgancontainers.com
CLOSURE
CORPORATION
SOUTHEAST MILK,           ATTN: JIM SLEEPER   jim.sleeper@southeastmilk.org
INC.
THE BANK OF NEW           ATTN: MOSES         mosestidwell.ballenger@bnymellon.c
YORK MELLON               BALLENGER           om
TRUST COMPANY,
N.A.
U.S. DEPARTMENT OF        ATTN: GARY          gary.washington@wdc.usda.gov
AGRICULTURE               WASHINGTON
WESTROCK                  ATTN: STEVE         svoorhees@westrock.com
                          VOORHEES
WS PACKAGING              ATTN: DEAN WIMER    dwimer@wspackaging.com
GROUP, INC.
BONDS ELLIS EPPICH                            bryan.assink@bondsellis.com;
SCHAFER JONES LLP                             joshua@bondsellis.com
Emmet, Marvin & Martin,                       tpitta@emmetmarvin.com;
LLP                                           ezujkowski.emmetmarvin.com;
                                              etaraila@emmetmarvin.com
GRAY REED &                                   jbrookner@grayreed.com
McGRAW LLP
GRAY REED &                                   lwebb@grayreed.com;
McGRAW LLP                                    acarson@grayreed.com
LANGLEY LLP                                   bbains@l-llp.com
LINEBARGER                                    dallas.bankruptcy@publicans.com
GOGGAN BLAIR &
SAMPSON, LLP
McGinnis Lochridge LLP                        chalgren@mcginnislaw.com
Palmer & Manuel, PLLC                         lchek@pamlaw.com
Paul, Weiss, Rifkind,                         arosenberg@paulweiss.com;
Wharton & Garrison LLP                        rbritton@paulweiss.com;
                                              dkeeton@paulweiss.com;
                                              ghotz@paulweiss.com
Pillsbury Winthrop Shaw                       hugh.ray@pillsburylaw.com;
Pittman, LLP                                  william.hotze@pillsburylaw.com;
                                              jason.sharp@pillsburylaw.com
WHITE & CASE LLP                              scott.greissman@whitecase.com;
                                              philip.abelson@whitecase.com;
                                              efeld@whitechase.com;
                                              rashida.adams@whitecase.com
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 60 of 120




                         EXHIBIT D
    Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 61 of 120
          SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                    Electronic Mail DIP Service List
                NAME                                   EMAIL
COOPERATIEVE RABOBANK U.A.                 tmteam@rabobank.com
(ADMINISTRATIVE AGENT)
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 62 of 120




                         EXHIBIT E
  Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 63 of 120
        SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                 Electronic Mail Banks Service List
              NAME                                    EMAIL
CITIZENS BANK                        christopher.n.rothwell@citizensbank.com
COMMUNITY BANK                       brian.bund@cbna.com
KEY BANK                             keyexpress@keybank.com;
                                     rita.robles@key.com
LITTLE HORN STATE BANK               ckelley@littlehornstatebank.com
PNC BANK                             annalise.smith@pnc.com
RAWLINS NATIONAL BANK                ebank@rnbonline.com
SOVEREIGN BANK                       prosa@sovereignbank.com
TD BANKNORTH                         matthew.doherty@td.com
U.S. BANK                            timothy.pillar@usbank.com
ACF FINCO I LP                       arescommercialfinance@aresmgmt.com
CIT NORTHBRIDGE FUNDING I LLC        contact@cit.com
COBANK, ACB                          connect@cobank.com
COOPERATIEVE RABOBANK U.A.           noc@rabobank.com
COOPERATIEVE RABOBANK U.A.           tmteam@rabobank.com
(ADMINISTRATIVE AGENT)
ING CAPITAL LLC                      ingcm@ing.com
NIEUW AMSTERDAM RECEIVABLES          nl-narc@intertrustgroup.com
PNC BANK, NATIONAL ASSOCIATION       abfadmin@pnc.com
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 64 of 120




                         EXHIBIT F
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 65 of 120
         SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                  Electronic Mail Utilities Service List
             NAME                                      EMAIL
3 RIVERS COMMUNICATIONS             3rt@3rivers.net
ABCWUA -ALBUQUERQUE                 waterquality@abcwua.org
BERNALILLO
ACADIANA WASTE SERVICES             sales@acadianawaste.com
ACADIANA WASTE SERVICES             sales@acadianawaste.com
ADVANCED DISPOSAL                   mobrien@advanceddisposal.com
ADVANCED DISPOSAL SOLID WASTE       mobrien@advanceddisposal.com
MIDWEST
AEP-APPALACHIAN POWER               jpwebster@aep.com
AEP-APPALACHIAN POWER               fadargham@aep.com
AEP-COLUMBUS SOUTHERN POWER         amdebord@eap.com
AEP-INDIANA MICHIGAN POWER          kmsabrosky@aep.com
AEP-INDIANA MICHIGAN POWER          rjkeisling@aep.com
AEP-OHIO POWER                      fadargham@aep.com
AIRGAS USA LLC                      wecanhelp@airgas.com
ALABAMA POWER-BIRMINGHAM            mshayes@southernco.com
ALOHA WASTE SYSTEMS INC             christine@alohawastesystems.com
ALPENA POWER COMPANY                kd@alpenapower.com;
                                    solutions@alpenapower.com
ALPENA POWER COMPANY                solutions@alpenapower.com
AMERICAN DISPOSAL SYSTEM            commercialdivision@adsimail.com
AMERICAN WASTE                      info@americanwaste.org
AMERIGAS                            anthony.rosback@amerigas.com
AMERIGAS - DALLAS                   anthony.rosback@amerigas.com
AMWASTE OF LOUISIANA                customerservice6160@wcnx.org
ANNISTON WATER WORKS                info@awwsb.org
ANNISTON WATER WORKS                info@awwsb.org
ARMSTRONG CABLE                     rochs@agoc.com;lnaples@agoc.com
ASBURY ENVIRONMENTAL SE             info@asburyenv.com
ASHWAUBENON WATER & SEWER           afarvour@ashwaubenon.com;
                                    jbroich@ashwaubenon.com
ASHWAUBENON WATER & SEWER           afarvour@ashwaubenon.com
ATHENS UTILITIES BOARD (TN)         aub@aub.org
ATHENS UTILITIES BOARD (TN)         aub@aub.org
ATLANTIC BROADBAND                  info@atlanticbb.com
ATMOS ENERGY CORP                   christopher.felan@atmosenergy.com
ATMOS ENERGY LOUISIANNA INDUST      christopher.felan@atmosenergy.com
ATMOS ENERGY(FORMERLY TXU           christopher.felan@atmosenergy.com
GAS)
AUGUSTA UTILITIES DEPARTMENT        contact@greateraugustautilitydistrict.org
AVISTA UTILITIES                    john.wilcox@avistacorp.com
BANGOR WATER DISTRICT               digsafes@bangorwater.org
BATTERY SOLUTIONS                   customerservice@batterysolutions.com
BCIBIRCHCOMMUNICATION               partnerwithus@fusionconnect.com
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 66 of 120
         SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                  Electronic Mail Utilities Service List
BCWS - BUTLER COUNTY WTR & SWR      bcws@butlercountyohio.com
BEDFORD REGIONAL WATER AUTH         finance@brwa.com
BEDFORD REGIONAL WATER AUTH         finance@brwa.com
BOARD OF WATER SUPPLY               contactus@hbws.org;
                                    customerservice@hbws.org
BOROUGH OF INDIANA                  contact-us@indianaboro.com
BOROUGH OF INDIANA                  contact-us@indianaboro.com;
                                    nsipos@indianaboro.com
BOWLING GREEN MUNI UTILITIES        bgutildir@bgohio.org
BOWLING GREEN MUNI UTILITIES        bgutildir@bgohio.org
BRIGHTRIDGE                         contactus@brightridge.com
BRIGHTRIDGE                         contactus@brightridge.com
BURRTEC WASTE INDUSTRIES INC        barstowcs@burrtec.com
CADENHEAD SERVIS GAS                contactus@servisgas.com
CADENHEAD SERVIS GAS                contactus@servisgas.com
CAVALIER MUNICIPAL UTILITIES        cavmun@polarcomm.com
CAVALIER MUNICIPAL UTILITIES        chamber@cavaliernd.com
CHAMPION ENERGY SERVICES PA/OH      info@championenergyservices.com
CHAMPION ENERGY SERVICES PA/OH      customercaremanager@championenergyservic
                                    es.com; info@championenergyservices.com
CHARLESTON SANITARY BOARD AND       info@csb-wv.com
CHARLESTON SANITARY BOARD AND       info@csb-wv.com
CHARLESTON WATER SYSTEM             customerservice@charlestoncpw.com
CHARLESTON WATER SYSTEM             customerservice@charlestoncpw.com
CHARTER COMM                        investor@charter.com
CHARTER COMMUNICATIONS              investor@charter.com
CHERRYLAND ELEC COOP                cec@cherrylandelectric.coop
CHERRYLAND ELEC COOP                cec@cherrylandelectric.coop
CIN BELL ELEC PAY                   kim.zdinak@cbts.com
CITY OF ABILENE WATER UTILITY       water_office@abilenetx.gov
CITY OF ABILENE WATER UTILITY       water_office@abilenetx.gov
CITY OF AKRON                       mayor@akronohio.gov
CITY OF AKRON                       dmiller-dawson@akronohio.gov
CITY OF ASHEVILLE                   esthermanheimer@avlcouncil.com
CITY OF ASHEVILLE                   gwenwisler@avlcouncil.com
CITY OF BANGOR                      publicworks@bismarcknd.gov
CITY OF BANGOR                      publicworks@bismarcknd.gov
CITY OF BARBERTON                   customercare@cityofbarberton.com
CITY OF BIG SPRING WATER DEPT       fguerra@mybigspring.com
CITY OF BISMARCK                    publicworks@bismarcknd.gov
CITY OF BLAIRSVILLE                 cob_water_06@yahoo.com
CITY OF BLAIRSVILLE                 cob_water_06@yahoo.com
CITY OF BRENTWOOD UTILITY           ubmessages@brentwoodca.gov
CITY OF BROWNWOOD                   ci.brownwood.tx.us
CITY OF BROWNWOOD                   ci.brownwood.tx.us
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 67 of 120
         SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                  Electronic Mail Utilities Service List
CITY OF CARROLLTON GA               utilitybilling@carroliton_ga.gov
CITY OF CHARLOTTE NC                utilbill@charloettenc.gov
CITY OF CHATTANOOGA TN              311@chattanooga.gov
CITY OF COLORADO SPRINGS            streetdivision@springsgov.com
CITY OF COLUMBIA (SC)               shalaine.archie@columbiasc.gov
CITY OF COLUMBIA (SC)               customercare@columbiasc.net
CITY OF COTATI                      water@cotaticity.org
CITY OF CROSSVILLE                  info@crossvilletn.gov
CITY OF DELAND                      weaverb@deland.org
CITY OF DENISON WATER DEPT          utilities@cityofdenison.com
CITY OF EL CENTRO                   billpay@cityofelcentro.org
CITY OF ENGLEWOOD                   lolguin@englewoodco.gov
CITY OF FARMINGTON NM               customerconnect@fmtn.org
CITY OF FORT STOCKTON               chalexander@cityfs.net
CITY OF GILLETTE                    util@gillettewy@gov
CITY OF GOLDSBORO                   cgwynn@goldsboronc.gov
CITY OF GRAND ISLAND UTILITES       customerservice@grand-island.com
CITY OF GREELEY                     utility.billing@greeleygov.com
CITY OF GULFPORT                    utilitybilling@gulfport-ms.gov
CITY OF HAMMOND                     palermo_gl@hammond.org
CITY OF HAMMOND                     palermo_gl@hammond.org
CITY OF HAVRE                       dpeterson@ci.havre.mt.us
CITY OF HAVRE                       dpeterson@ci.havre.mt.us
CITY OF HELENA                      citywater@helenamt.gov
CITY OF HIGH POINT                  customerservice@highpointnc.gov
CITY OF HIGH POINT                  customerservice@highpointnc.gov
CITY OF HOHENWALD                   info@validitymag.com
CITY OF HOHENWALD                   dmcknight@hohenwald.com
CITY OF HOLDREGE                    city@cityofholdrege.org
CITY OF HOLDREGE                    city@cityofholdrege.org
CITY OF HOUSTON                     ucscomm@houstontx.gov
CITY OF HOUSTON                     ucscomm@houstontx.gov
CITY OF IDAHO FALLS                 utilities@idahofallsidaho.gov
CITY OF JACKSONVILLE                myjax@custhelp.com
CITY OF KINGSPORT                   markzinnanti@kingsporttn.gov
CITY OF KINGSPORT                   markzinnanti@kingsporttn.gov
CITY OF LAGRANDE                    kimhulse@cityoflagrande.org
CITY OF LAREDO UTILITIES            rmia@ci.laredo.tx.us
CITY OF LAREDO UTILITIES            rmia@ci.laredo.tx.us
CITY OF LEBANON AUTHORITY           lcooley@lebanonauthority.org
CITY OF LEBANON TN                  patricia@lebonontn.org
CITY OF LENOIR                      josephlgibbons@yahoo.com
CITY OF LEWISTON                    cmaurer@cityoflewiston.org
CITY OF LEWISTON                    jgomez@cityoflewiston.org
CITY OF LIVONIA                     snash@ci.livonia.mi.us
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 68 of 120
         SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                  Electronic Mail Utilities Service List
CITY OF LIVONIA                     snash@ci.livonia.mi.us
CITY OF LOGAN DEPT OF UTILITY       lynann.smith@loganutah.org
CITY OF LOGAN DEPT OF UTILITY       tyson.griffin@loganutah.org
CITY OF LUMBERTON                   info@lumberton-nc.com
CITY OF LUMBERTON                   cbuie@ci.lumberton.nc.us
CITY OF LUMBERTON PAYMEN            bdavis@ci.lumberton.nc.us
CITY OF MARIETTA                    stumlin@mariettaga.gov
CITY OF MARIETTA                    bkelley@mariettaga.gov
CITY OF MARQUETTE                   utility@marquettemi.gov
CITY OF MCDONOUGH                   bcopeland@mcdonoughga.org
CITY OF MCKINNEY                    contact-citymanager@mckinneytexas.org
CITY OF MCKINNEY                    contact-citymanager@mckinneytexas.org
CITY OF MISSOULA-FINANCE            mayorstaff@ci.missoula.mt.us
CITY OF MISSOULA-FINANCE            mayorstaff@ci.missoula.mt.us
CITY OF MODESTO                     webmaster@modestogov.com
CITY OF MODESTO                     cbarnes@modestogov.com;
                                    wwong@modestogov.com
CITY OF MONROE UTILITY              bhasart@monroewa.gov;
                                    utilitybilling@monroewa.gov
CITY OF MYRTLE BEACH                bbethune@cityofmyrtlebeach.com
CITY OF MYRTLE BEACH                bbethune@cityofmyrtlebeach.com
CITY OF OCALA                       kguinn@ocalafl.org
CITY OF OCALA                       ous@ocalafl.org
CITY OF OFALLON                     webmaster@ofallon.mo.us
CITY OF OFALLON                     bhennessy@ofallon.mo.us
CITY OF OKLAHOMA CITY               water@okc.gov
CITY OF OKLAHOMA CITY               water@okc.gov
CITY OF OREM                        rfbrunst@orem.org
CITY OF OREM                        rfbrunst@orem.org
CITY OF ORLANDO                     buddy.dyer@orlando.gov
CITY OF ORLANDO                     ar@orlando.gov
CITY OF OXNARD                      tim.flynn@oxnard.org
CITY OF PARIS                       dharris@paristexas.gov
CITY OF PARIS                       djohnson@paristexas.gov
CITY OF RALEIGH                     citymanager@raleighnc.gov
CITY OF RALEIGH                     citymanager@raleighnc.gov
CITY OF RAWLINS                     utility@rawlins-wyoming.com
CITY OF RAWLINS                     shannum@rawlins-wyoming.com
CITY OF RENO                        renodirect@reno.gov
CITY OF RENO                        renodirect@reno.gov
CITY OF ROCKFORD                    kerry.partridge@rockfordil.gov
CITY OF ROCKFORD                    nicholas.meyer@rockfordil.gov
CITY OF ROSWELL                     fsd@roswellgov.com
CITY OF ROSWELL                     j.neeb@roswell-nm.gov
CITY OF SAN ANGELO                  daniel.valenzuela@cosatx.us
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 69 of 120
         SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                  Electronic Mail Utilities Service List
CITY OF SAN ANGELO                  daniel.valenzuela@cosatx.us
CITY OF SHREVEPORT                  adrian.perkins@shreveportla.gov
CITY OF SHREVEPORT                  adrian.perkins@shreveportla.gov
CITY OF SPRINGFIELD OH              aluttrell@springfieldohio.gov
CITY OF SPRINGFIELD OH              bheck@springfieldohio.gov
CITY OF ST GEORGE                   adam.lenhard@sgcity.org
CITY OF STILLWATER                  mayor@stillwater.org
CITY OF TALLASSEE                   shornsby@tallassee-al.gov
CITY OF THIEF RIVER FALLS           billing@citytrf.net
CITY OF THIEF RIVER FALLS           billing@citytrf.net
CITY OF TIFTON                      mmallow@esginc.net
CITY OF TIFTON GA                   mmallow@esginc.net
CITY OF TROY                        citymanager@troymi.gov
CITY OF TROY                        citymanager@troymi.gov
CITY OF TUPELO WATER & LIGHT        webmaster@tupeloms.gov
CITY OF TUPELO WATER & LIGHT        webmaster@tupeloms.gov
CITY OF TUSCALOOSA WATER & SWR      ubcontact@tuscaloosa.com
CITY OF TUSCALOOSA WATER & SWR      ubcontact@tuscaloosa.com
CITY OF TWIN FALLS                  bbaxter@tfid.org
CITY OF TWIN FALLS                  trothweiler@tfid.org
CITY OF VALDOSTA                    dmuse@valdostacity.com
CITY OF VICTORIA TX                 mozuna@victoriatx.org
CITY OF VICTORIA TX                 jgarza@victoriatx.org
CITY OF WASHINGTON                  sbailey@washingtonwilkes.org
CITY OF WASHINGTON                  sbailey@washingtonwilkes.org
CITY OF WAYCROSS                    tmiller@waycrossga.com
CITY OF WAYCROSS                    tmiller@waycrossga.com
CITY OF WAYCROSS                    tmiller@waycrossga.com
CITY OF WEST MELBOURNE              info@westmelbourne.org
CITY OF WEST PALM BEACH             cityclerk@wpb.org
CITY OF WEST PALM BEACH             cityclerk@wpb.org
CITY OF WICHITA FALLS TX            marie.balthrop@wichitafallstx.gov
CITY OF WICHITA FALLS TX            blake.jurecek@wichitafallstx.gov
CITY OF WILDWOOD SEWER              sewerinfo@wildwoodnj.org
CITY OF WILDWOOD WATER              sewerinfo@wildwoodnj.org
CITY OF WILLISTON                   davidt@ci.williston.nd.us
CITY OF WILLISTON                   davidt@ci.williston.nd.us
CITY OF WINDOM UTILITIES            winwater@windom-mn.com
CITY OF WINDOM UTILITIES            winutl@windom-mn.com
CITY OF WINSTON-SALEM               citylink@cityofws.org
CITY OF WINSTON-SALEM               citylink@cityofws.org
CITY OF WOODBURY                    council@woodburymn.gov
CITY TREASURER-SAN DIEGO            cityclerk@sandiego.gov
CITY UTILITIES                      annette.carroll@huntington.in.us
CLARK COUNTY WATER RECL DIST        snhba@cleanwaterteam.com
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 70 of 120
         SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                  Electronic Mail Utilities Service List
CLARK COUNTY WATER RECL DIST        snhba@cleanwaterteam.com
CLARKSVILLE GAS & WATER DEPT        gasandwater@cityofclarksville.com
CLARKSVILLE GAS & WATER DEPT        gasandwater@cityofclarksville.com
COAST EPA                           call@coastepa.com
COAST EPA                           call@coastepa.com
COLORADO SPRINGS UTILITIES          askus@csu.org
COLORADO SPRINGS UTILITIES          askus@csu.org
COLQUITT ELECTRIC                   customerservice@colquittemc.com
COLQUITT ELECTRIC                   customerservice@colquittemc.com
CPL RETAIL ENERGY                   wtucplretailenergy@directenergy.com
CPS ENERGY                          feedback@cpsenergy.com.
CPS ENERGY                          feedback@cpsenergy.com
DEPARTMENT OF PUBLIC UTILITIES      trimyere@portsmouthva.gov
DEPARTMENT OF WATER SUPPLY          water.supply@mauicounty.gov
DEPT OF PUBLIC UTIL TOLEDO          dpucustomerservice@toledo.oh.gov
DEPT OF PUBLIC UTIL TOLEDO          dpucustomerservice@toledo.oh.gov
DEPT OF WATER COUNTY OF KAUAI       webmaster@kauaiwater.org
DEPT OF WATER SUPPLY                dws@hawaiidws.org
DIRECT ENERGY BUSINESS NY           businessinfo@directenergy.com
DIRECT ENERGY BUSINESS NY           customerrelations@directenergy.com
DISPOSAL MANAGEMENT SERV            kendms@earthlink.net
DUNCAN PUBLIC UTILTIES              custsvc@duncanok.gov
EAST VALLEY WATER DISTRIC           publicaffairs@eastvalley.org :
                                    jmura@eastvalley.org
EBMUDTRUCKWASTE/EZ-PAY              rrwaste@ebmud.com
EL PASO ELECTRIC                    customercare@epelectric.com
EL PASO ELECTRIC                    customercare@epelectric.com
EL PASO WATER UTILITIES             customer.service@epwater.org
EL PASO WATER UTILITIES             customer.service@epwater.org
ELIZABETHTOWN GAS                   correspondenceetg@sjindustries.com
ELIZABETHTOWN GAS                   correspondenceetg@sjindustries.com
EMERY TELCOM                        support@emerytelcom.com
EMPIRE WASTE SYSTEM (EPAY)          info@empirewastesystems.com
ENGIE RESOURCES                     custserv@na.engie.com
ENGIE RESOURCES                     custserv@na.engie.com
ERIE WATER WORKS                    rcostantini@eriewaterworks.org
EVERGY KANSAS CENTRAL INC           ir@evergy.com
FLOYD COUNTY WATER DEPT             hulseys@floydcountyga.org
FUSION/BIRCH                        partnerwithus@fusionconnect.com
GOLD MEDAL ENVIRON                  info@goldmedal.net
GRAND TRAVERSE COUNTY               gtcclerk@grandtraverse.org
GREAT LAKES WATER AUTHORITY         info@glwater.org
GREATER CINCINNATI WATER            help@mygcww.org
WORKS
GREENVILLE WATER SYSTEM             customerservice@greenvillewater.com
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 71 of 120
         SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                  Electronic Mail Utilities Service List
HAMPTON ROADS SANITATION DIST       ehenifin@hrsd.com
HAYWARD WATER SYSTEM                environment@hayward-ca.gov
HOULTON WATER CO                    sherman@hwco.org
LEVEL 3 COMMUNICATIONS              billing@centurylink.com;
                                    emergencyddos@level3.com
LINCOLN ELECTRIC SYSTEMS            customerservice@les.com; info@les.com
LINCOLN ELECTRIC SYSTEMS            customerservice@les.com; info@les.com
LINCOLN WATER & WASTEWTR SYST       gvanslyke@lincoln.ne.gov
LINCOLN WATER & WASTEWTR SYST       gvanslyke@lincoln.ne.gov
LINGO                               subpoenas@lingo.com
LUBBOCK POWER LIGHT & H2O           customerfirst@cityoflubbockutilities.com
LUBBOCK POWER LIGHT & H2O           customerfirst@cityoflubbockutilities.com
LUFKIN UTILITY COLLECTION           utilityinfo@cityoflufkin.com
LUMINANT ENERGY COMPANY LLC         media.relations@luminant.com
LUMINANT ENERGY COMPANY LLC         media.relations@luminant.com
LUMOS NETWORKS INC                  help@lumos.net
MACON WATER AUTHORITY               customercare@maconwater.org
MACON WATER AUTHORITY               customercare@maconwater.org
MADISON UTILITIES                   custserv@madisonutilies.org;
                                    edebord@madisonutilities.org;
                                    mb;amd@madisonutilities.org
MADISON UTILITIES                   custserv@madisonutilities.org
MALTSBERGER INDUSTRIAL              ralston@okfuels.net
PROPANE
MANSFIELD POWER AND GAS             info@mansfield.com
MANSFIELD POWER AND GAS             info@mansfield.com
MARIETTA POWER                      thepower@maritta.gov
MARIETTA POWER                      thepower@maritta.gov
MARQUETTE BOARD                     mblp_general_info@mblp.org
MARSHALL MUNICIPAL UTILIT           mmu@mmumo.net
MARSHALL MUNICIPAL UTILIT           mmu@mmumo.net
MATHESON TRI-GAS INC                info@mathesongas.com
MATHESON TRI-GAS INC                info@mathesongas.com
MERIWETHER LEWIS ELECTRIC COOP      power@mlec.com
MERIWETHER LEWIS ELECTRIC COOP      power@mlec.com
MET-ED (FORMERLY GPU)               me_interconnection@firstenergycorp.com
MET-ED (FORMERLY GPU)               me_interconnection@firstenergycorp.com
METRO WATER SERVICES                mws.online@nashvill.gov
METRO WATER SERVICES                mws.online@nashvill.gov
METROPOLITAN COUNCIL                public.info@metc.state.mn.us
METROPOLITAN COUNCIL                public.info@metc.state.mn.us
MIAMI-DADE WATER AND SEWER          atty@miamidade.gov
MIAMI-DADE WATER AND SWR DEPT       atty@miamidade.gov
MIAMI-DADE WATER AND SWR DEPT       atty@miamidade.gov
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 72 of 120
         SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                  Electronic Mail Utilities Service List
MIDAMERICAN ENERGY COMPANY          addressupdates@midamerican.com;
                                    energyexpert@midamerican.com
MIDAMERICAN ENERGY COMPANY          addressupdates@midamerican.com;
                                    energyexpert@midamerican.com
MIDDLE TENNESSEE ELECTRIC           info@mtemc.com
MIDDLE TENNESSEE ELECTRIC           info@mtemc.com
MIDDLEPOINT LANDFILL                middlepoint@republicservices.com
MISSOULA WATER                      ellisj@ci.missoula.mt.us
MOBILE AREA WATER & SEWER SYS       cs.info@mawss.com
MOBILE AREA WATER & SEWER SYS       cs.info@mawss.com
MODESTO IRRIGATION DISTRICT         customerservice@mid.org
MODESTO IRRIGATION DISTRICT         customerservice@mid.org
MOORHEAD PUBLIC SERVICE             mps@mpsutility.com
MOORHEAD PUBLIC SERVICE             mps@mpsutility.com
MORRISTOWN UTILITY SYSTEMS          customerservice@musfiber.net
MORRISTOWN UTILITY SYSTEMS          customerservice@musfiber.net
MOUNTAIN WASTE                      trash@carbondaleco.net
MUB OF ALBERTVILLE                   echumley@mub-albertville.com
MURRAY MUNICIPAL UTILITIES          customerservice@murryky.gov
MURRAY MUNICIPAL UTILITIES          customerservice@murryky.gov
MUZAK DBA MOOD MEDIA                info@moodmedia.com
NATIONAL FUEL                       smaczniakp@natfuel.com
NATIONAL FUEL                       smaczniakp@natfuel.com
NATWEL SUPPLY CORP                  natwel@sbcglobal.net
NEW MEXICO GAS COMPANY              customerservice@nmgco.com
NEW MEXICO GAS COMPANY              customerservice@nmgco.com
NICOR GAS                           customercare@nicor.com
NICOR GAS                           customercare@nicor.com
NORTH GEORGIA EMC                   info@ngemc.com
NORTH GEORGIA EMC                   info@ngemc.com
NORTH STATE COMMUNICATIONS          wholesale@nscom.com
NV ENERGY NORTH                     customerservice@nvenergy.com
NYSEG                               custserv@nyseg.com
NYSEG                               custserv@nyseg.com
OCONNOR UTILITY DISTRICT            oud@blomand.net
OKEFENOKE RURAL ELECTRIC            customer.service@oremc.com
OKLAHOMA NATURAL GAS                customer.service@oremc.com
ONEIDA WATER & WASTEWATER           tooneida@highland.net
PACIFIC WASTE INC                   apryl@pacificwasteinc.com
PIEDMONT NATURAL GAS                customerselfservice@duke-energy.com
PIEDMONT NATURAL GAS                customerservice@duke-energy.com
PIONEER ELECTRIC COOPERATIVE I      memberservices@pioneerelectric.coop
PIONEER ELECTRIC COOPERATIVE I      memberservices@pioneerelectric.coop
PLYMOUTH COUNTY SOLID WASTE         landfill@co.plymouth.ia.us
AGENCY
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 73 of 120
         SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                  Electronic Mail Utilities Service List
PLYMOUTH ROCK ENERGY LLC            customercare@plymouthenergy.com
PM RECYCLING INC                    pmrecycling@aol.com
PMTJEFF CO AL SEWER BILL            sewerlocate@jccal.org
PNM                                 energyefficiency@pnm.com
PNM                                 energyefficiency@pnm.com
POTTER COUNTY TAX                   pcto@co.potter.tx.us
PPL ELECTRIC UTILITIES              pplnews@pplweb.com
PPL ELECTRIC UTILITIES              pplnews@pplweb.com
PRO WASTE SERVICES INC              prowasteservices@aol.com
PSE&G                               customerrelations@pseg.com
PSE&G LONG ISLAND (LIPA)            pseglongislandclaims@pseg.com
PSE&G LONG ISLAND (LIPA)            pseglongislandclaims@pseg.com
PUBLIC WORKS-UTILITIES              bossb@ci.billings.mt.us
RELIANT ENERGY                      privacy@reliant.com
RELIANT ENERGY (TX)                 privacy@reliant.com
RG&E                                customer_service@rge.com
ROANOKE GAS CO                      info@rgceresources.com
ROCKY MOUNTAIN POWER                customeradvocacyteam@rockymountainpower
                                    .net
ROCKY MOUNTAIN SANITATION           mattie@rockymountainsanitation.com
ROWLAND WATER DIST                  info@rowlandwater.com
ROWLAND WATER DIST                  info@rowlandwater.com
SACRAMENTO COUNTY UTILITIES         utilities@saccounty.net
SALT LAKE CITY PUBLIC UTILITIE       holly.mullen@slcgov.com
SAN MIGUEL POWER ASSN INC            memberservice@smpa.com
SANITATION SOLUTIONS                contact@sanitationsolutions.net
SANTEE COOPER                        info@santeecooper.com
SAWNEE EMC                          customerservice@sawnee.com
SEMCO ENERGY GAS CO                 customer.service@semcoenergy.com
SEMCO ENERGY GAS CO                 customer.service@semcoenergy.com
SEWERAGE & WATER BRD OF NEW         swbno.org
OR
SHEFFIELD UTILITIES (AL)            complaintresolution@tva.gov
SHENTEL/NTC                         complaints@shentel.net
SJOBERGS INC                        office1@mncable.net
SJWD WATER DISTRICT                 sjwdservice@sjwd.com
SJWD WATER DISTRICT                 sjwdservice@sjwd.com
SLEMCO SOUTHWEST LOUISIANA          info@slemco.com
EMC
SLEMCO SOUTHWEST LOUISIANA          info@slemco.com
EMC
SMITHS WATER & SEWER AUTHORITY      info@smithswater.com
SMUD                                customerservices@smud.org
SO CAL ED                           origin.sce.com
SO CAL GAS                          rburns@acento.com
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 74 of 120
         SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                  Electronic Mail Utilities Service List
SOUTHWEST GAS CORPORATION           myaccount.swgas.com
SOUTHWESTERN ELECTRIC POWER         swepco.com
SOUTHWESTERN ELECTRIC POWER         swepco.com
SPARKLIGHT                          sparklight.com
SPARTANBURG SANITARY SWR DIST       spartanburgwater.org/contact
SPECIAL T WATER SYS INC             service@specialwater.com
SPEEDCONNECT, LLC                   speedconnect.com
SPRINGFIELD WATER & SEWER           info@waterandsewer.org
SUMMIT PARK PSD                     summitparkpsd@aol.com
SUMMIT PARK PSD                      customerservice@summitparkpsd.com
SUPREME ENERGY INC                  info@supremeenergyinc.com
TALEN ENERGY                        customercare@talenenergy.com
TALEN ENERGY                        customercare@talenenergy.com
TDS                                 tdsinfo@tdsinc.com
TDS METROCOM                        tdsinfo@tdsinc.com
TDS TELECOM                         tdsinfo@tdsinc.com
TED JOHNSON PROPANE                 johnweigel@tedjohnsonpropane.com
TED JOHNSON PROPANE                 johnweigel@tedjohnsonpropane.com
TED JOHNSON PROPANE                 johnweigel@tedjohnsonpropane.com
TENNESSEE-AMERICAN WATER CO         infotn@amwater.com
TENNESSEE-AMERICAN WATER CO         president.williams@amwater.com
TEXAS GAS SERVICE                   info@txgas.net
THE WATER WORKS AND SEWER BRD       ustomerservice@gadsdenwater.org:
                                    customerservice@gadsdenwater.org
TIGER INC.                          info@tigernaturalgas.com
TIME WARNER CABLE                   priorityescalationteam@chartercom.com
TIME WARNER OCEANIC CABLE           priorityescalationteam@chartercom.com
TOTAL ENERGY RESOURCES LLC          info@totalenergyresources.com
TOWN OF BRASELTON                   jscott@braselton.net
TOWN OF BRASELTON                   mayorcouncil@braselton.net
TOWN OF EAST GREENBUSH              info@eastgreenbush.org
TOWN OF EAST GREENBUSH TAX OFF      kbennett@eastgreenbush.org
TOWN OF EAST GREENBUSH TAX OFF      tmurphy@eastgreenbush.org
TOWN OF EVANSVILLE                  clerkofcourt@evansvillewy.com
TOWN OF EVANSVILLE                  townclerk@evansvillewy.com
TOWN OF FRANKLIN                    tmercer@franklinma.gov
TOWN OF TARBORO                     john_moore@tarboro-nc.com
TOWN OF TARBORO                     john_moore@tarboro-nc.com
TRASHBILLING.COM CC                 info@trashbilling.com
TREASURER CHESTERFIELD COUNTY       treasurer@chesterfield.gov
TREASURER CHESTERFIELD COUNTY       treasurer@chesterfield.gov
TRUCKEE MEADOWS WATER               tmwaboard@tmwa.com
TRUCKEE MEADOWS WATER               tmwaboard@tmwa.com
TURLOCK SCAVENGER CO                tscinfo@turlockscaenger.com
TWC*TIME WARNER CABLE               smb-bankruptcy@charter.com
    Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 75 of 120
          SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                   Electronic Mail Utilities Service List
TWC*TIMEWARNERCABLE                  smb-bankruptcy@charter.com
TXU ENERGY                           diane.ringler@txu.com
TXU ENERGY                           diane.ringler@txu.com
UGI ENERGY SERVICES INC.             customercare @ugies.com
UGI ENERGY SERVICES INC.             customercare@ugies.com
UGI UTILITIES INC                    customerservice@ugi.com
UGI UTILITIES INC                    customerservice@ugi.com
UNITED LIQUID WASTE RECYCLING        rtracy75@yahoo.com
INC
UPPER GWYNEDD TOWNSHIP               wtroxel@uppergwynedd.org
UTE WATER CONSERVANCY DIS            alopez@utewater.org
UTE WATER CONSERVANCY DIS            alopez@utewater.org
VALLEY VISTA SERVICES                info@valleyvistaservices.com
VANS SANITATION & RECYCLING          info@vanssanitation.com;
                                     scott@vanssanitation.com
VERIZON                              wiiliam.vermette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON WIRELESS                     wiiliam.vermette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 000050                      wiiliam.vermette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 000570                      wiiliam.vermette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 002879                      wiiliam.vermette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 003505                      wiiliam.vermette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 004108                      wiiliam.vermette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 005264                      wiiliam.vermette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 005332                      wiiliam.vermette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 005779                      wiiliam.vermette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 007410                      wiiliam.vermette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 009985                      wiiliam.vermette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 010678                      wiiliam.vermette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 012811                      wiiliam.vermette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 013385                      wiiliam.vermette@verizon.com;
                                     paul.adamec@verizon.com
    Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 76 of 120
          SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                   Electronic Mail Utilities Service List
VERIZON* 013476                      wiiliam.vermette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 013736                      wiiliam.vermette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 016905                      wiiliam.vermette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 017819                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 017872                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 018160                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 018835                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 019179                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 022140                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 023271                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 023499                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 023919                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 024586                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 026202                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 026917                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 027516                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 029945                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 032320                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 033361                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 035892                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 039024                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 041100                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 041868                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
    Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 77 of 120
          SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                   Electronic Mail Utilities Service List
VERIZON* 043522                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 044700                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 044991                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 045526                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 049559                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 050122                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 051461                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 055520                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 057037                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 057102                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 057730                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 058265                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 058498                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 059920                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 060124                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 060217                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 060401                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 060897                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 061574                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 067757                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 069793                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 070573                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 071112                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
    Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 78 of 120
          SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                   Electronic Mail Utilities Service List
VERIZON* 071842                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 072671                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 074474                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 074830                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 075216                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 075935                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 078475                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 081337                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 082861                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 084926                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 085555                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 088503                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 088552                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 089865                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 089976                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 090479                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON* 093146                      william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VERIZON*ONETIMEPAYMENT               william.vernette@verizon.com;
                                     paul.adamec@verizon.com
VILLAGE OF ASHWAUBENON               mkardoskee@ashwaubenon.com
VILLAGE OF HUNTLEY                   djohnson@huntley.il.us
VILLAGE OF HUNTLEY                   djohnson@huntley.il.us
VOLUNTEER ENERGY COOP                ahood@vec.org
VOLUNTEER ENERGY COOP                sscott@vec.org
WASHINGTON GAS                       customersupport@washgas.com
WASHINGTON GAS                       customersupport@washgas.com
WASTE CONNECTIONS                    customerservice1010@wcnx.org
INCORPORATED
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 79 of 120
         SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                  Electronic Mail Utilities Service List
WASTE CONNECTIONS OF FLORIDA        customerservice6440@wcnx.org
INC
WASTE CONNECTIONS OF                customerservice5012@wcnx.org
OKLAHOMA INC
WASTE CONNECTIONS OF TN INC         customerservice1010@wcnx.org
WASTE INDUSTRIES - CONVEN           wecanhelp@wasteindustries.com
WASTE INDUSTRIES - NON-CO           wecanhelp@wasteindustries.com
WASTE INDUSTRIES LLC                wecanhelp@wasteindustries.com
WASTE MANAGEMENT INC OF             erich@wasteconnections.com
FLORIDA
WASTE MANAGEMENT OF ALAMEDA         erich@wasteconnections.com
COUNTY
WASTE MANAGEMENT OF EL CAJON        erich@wasteconnections.com
SAN
WASTE MANAGEMENT OF MICHIGAN        erich@wasteconnections.com
INC
WASTE MANAGEMENT OF NEW YORK        erich@wasteconnections.com
LLC
WASTE MGMT WM EZPAY                 erich@wasteconnections.com
WASTE NOT RECYCLING                 tloose@waste-not.com
WASTE PRO OF FL- 110 TALL           tmitchell@wasteprousa.com
WASTE WATER SERVICES INC            jimbaird@wwsiofma.com;
                                    jamierobbins@wwsiofma.com:
                                    roblotterhand@wwsiofma.com:
                                    erniebaird@wwsiofma.com
WATERTOWN WSA                       rscannell@watertownct.org;
                                    cattaneo@watertownct.org
WATERTOWN WSA                       rscannell@watertownct.org;
                                    cattaneo@watertownct.org
WCI*3083 ROCK RIVER HA              callcenter@wasteconnections.com
WCI*6440-MIAMI                      customerservice6447@wcnx.org
WCI*CITY SANITATION                 customerservice3042@wcnx.org
WCI*CLARKSVILLE DISP                customerservice6034@wcnx.org
WCI*EVERGREENDISPOSAL               cs@evergreenws.com
WCI*OF WYOMING,INC                  customerservice3021@wcnx.org
WCI*ORLANDO HAULING                 customerservice6460@wcnx.org
WCI*PSI ENVIRON IF                  customerservice2210@wcnx.org
WCI*PWS MCKINNEY                     customerservice5183@wcnx.org
WCI*RUMSEYENVIRONMENTA              customerservice6081@wcnx.org
WCI*SCOTT SOLID WASTE               customerservice6052@wcnx.org
WCI*SWDALAMOGORDO                   lgarner@ci.alamogordo.nm.us
WCI*WASTCONTKILGRDSTRT              customerservice2010@wcnx.org
WCI*WASTCONTLEESVILL                customerservice2010@wcnx.org
WCI*WASTCONTNORTHSHORE              customerservice2010@wcnx.org
WCI*WASTECONNECTIONSTX              customerservice5120@wcnx.org
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 80 of 120
         SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                  Electronic Mail Utilities Service List
WEST VA-AMERICAN WATER CO           president.burton@amwater.com
WEST VA-AMERICAN WATER CO           dan.bickerton@amwater.com
WESTERN VIRGINIA WATER AUTHOR       info@westernvawater.org
WESTERN VIRGINIA WATER AUTHOR       info@westernvawater.org
WESTERN WASTE SERVICES INC          customerservice@gowesternwaste.com
WHITES SANITATION INC               mwhite@whiatessanitation.com
WINDSTREAM PMTFEE                   christopher.c.king@windstream.com
WINDSTREAM PMTFEE                   christopher.c.king@windstream.com
WISE ELECTRIC COOPERATIVE INC       customerservice@wiseec.com
WISE ELECTRIC COOPERATIVE INC       customerservice@wiseec.com
WSCWINDSTREAM COMPMTS               support@windstream.net
WSCWINDSTREAM PMT&FEE               ci.cams.bus.collections@windstream.com
WSCWINDSTREAM PMT&FEE               christopher.c.king@windstream.com
WSSC                                lucretia.morris@wsscwater.com
WYCO RECYCLING                      thinktrash@yahoo.com
XCEL ENERGY-NSP MN NDSD             inquire@xcelenergy.com
XCEL ENERGY-PUB SERV OF CO          inquire@xcelenergy.com
XCEL-SOUTHWESTERN PUBLIC            inquire@xcelenergy.com
YAMPA VALLEY ELECTRIC ASSOC         billing@yvea.com
ZAYO GROUP LLC                      customerservice@zayo.com
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 81 of 120




                         EXHIBIT G
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 82 of 120
         SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                 Electronic Mail Insurance Service List
           NAME                                 EMAIL
ACE AMERICAN INS. CO.      customercenter@chubb.com; cc-agent@chubb.com
ACE AMERICAN INSURANCE     customercenter@chubb.com; cc-agent@chubb.com
CO
ACE FIRE UNDERWRITERS      customercenter@chubb.com; cc-agent@chubb.com
ALLIED WORLD ASSURANCE     info@awac.com
CO. LTD.
ALLIED WORLD ASSURANCE     info@awac.com
COMPANY LTD.
ARGO RE LTD.               eric.whittington@argogroups.com
BEAZLEY INSURANCE          usainfo@beazley.com
COMPANY INC
BOWRING MARSH              info@powerhouse.bm
(BERMUDA) LIMITED
BROADSPIRE, A CRAWFORD     diane.lieberman@choosebroadspire.com
COMPANY
CHUBB SEGUROS MEXICO       servicio.clientesmexico@chubb.com
SA
CNA FINANCIAL              christina.leith@cna.com
EXCESS CASUALTY            rmorris@navg.com
DIVISION, ATTN: RYAN
MORRIS
FEDERAL INSURANCE CO       customercenter@chubb.com; cc-agent@chubb.com
FEDERAL INSURANCE          customercenter@chubb.com; cc-agent@chubb.com
COMPANY (“CHUBB”)
GALLAGHER BASSETT          brent_herrin@gbtpa.com
SERVICES, INC.
GREAT AMERICAN             contactus@gaig.com
INSURANCE COMPANY
HELMSMAN                   kristine.rey@libertymutual.com
HOMESITE INSURANCE         customerservice@homesite.com
COMPANY
INDEMNITY INSURANCE CO     customercenter@chubb.com; cc-agent@chubb.com
OF NORTH AMERICA
MAGNA CARTA INSURANCE      wcclaims@mcarta.com
LTD
NAVIGATORS INSURANCE       claims@mxmsig.com
COMPANY
PACIFIC INDEMNITY          customercenter@chubb.com; cc-agent@chubb.com
INSURANCE
SEDGWICK CLAIMS            bobby.holden@sedgwickcms.com
MANAGEMENT SERVICES,
INC.
SHELTER REINSURANCE        alendenbusch@shelterinsurance.com
COMPANY
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 83 of 120
         SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                 Electronic Mail Insurance Service List
STARR COMPANIES            claims@starrcompanies.com;public.realtions@strarrcom
                           panies.com
    Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 84 of 120
          SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                 Electronic Mail Surety Bond Service List
                 NAME                                    EMAIL
ACE INA GROUP                              david.lupica@westchester.com;
                                           bruce.kessler@westchester.com
CITY OF NEW ORLEANS                        bureauofaccounting@nola.gov
CITY OF RICHMOND, VIRGINIA                 finance@richmondgov.com
COMMISIONER OF AGRICULTURE                 karen.lover@state.co.us;
                                           cda_info@state.co.us
COMMISSIONER OF AGRICULTURE OF THE         karen.lover@state.co.us;
STATE OF COLORADO                          cda_info@state.co.us
COMMISSIONER OF AGRICULTURE OF THE         karen.lover@state.co.us;
STATE OF COLORADO                          cda_info@state.co.us
COMMISSIONER OF AGRICULTURE OF THE         nikki.fried@fdacs.gov
STATE OF FLORIDA
COMMONWEALTH OF KENTUCKY             robert.swisher@ky.gov;
                                     robert.milligan@ky.gov
COMMONWEALTH OF PENNSYLVANIA         ra-li-bwc-helpline@pa.gov
COMMONWEALTH OF PENNSYLVANIA         ra-pmmb@pa.gov; ra-
                                     pmmb62@pa.gov
DEPARTMENT OF HOMELAND SECURITY      cbp.goes.support@dhs.gov;
                                     iprpolicyprograms@dhs.gov
DEPARTMENT OF LABOR AND EMPLOYMENT darcy.kennedy@state.co.us
ENTERGY LOUISIANA, INC.              nkirby@entergy.com
ENTERGY LOUISIANA, LLC               nkirby@entergy.com
ENTERGY NEW ORLEANS INC              nkirby@entergy.com
FIDEITY AND DEPOSIT COMPANY OF       andrew.zoller@zurichna.com
MARYLAND
FIDEITY AND DEPOSIT COMPANY OF       sabrina.hart@zurichna.com
MARYLAND
FIDEITY AND DEPOSIT COMPANY OF       sabrina.hart@zurichna.com
MARYLAND
FIDEITY AND DEPOSIT COMPANY OF       ed.lopes@zurichna.com
MARYLAND
GDF SUEZ ENERGY RESOURCES, NA., INC. mercedes.ramos@engie.com
GEORGIA SELF-INSURERS GUARANTY TRUST gafund@deflaw.com
FUND
HUNTSVILLE UTILITIES                 john.olshefski@hsvutil.org
INDUSTRIAL COMMISSION OF ILLINOIS    david.larson@illinois.gov
LABOR COMMISSION OF UTAH             iaccd@utah.gov
LIBERTY MUTUAL INSURANCE COMPANIES   joshua.kelso@libertymutual.com
LIBERTY MUTUAL INSURANCE COMPANY     steven.wyatt@libertymutual.com
MICHIGAN DEPARTMENT OF AGRICULTURE   mda-info@michigan.gov
MONTANA DEPARTMENT OF LABOR &        dliquestions@mt.gov
INDUSTRY
NORTH CAROLINA DEPARTMENT OF         commissioner@ncdoi.gov
INSURANCE
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 85 of 120
         SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                Electronic Mail Surety Bond Service List
OREGON DEPARTMENT OF                      kristopher.w.strickler@odot.state.or.us
TRANSPORTATION
PEOPLE OF THE STATE OF CALIFORNIA         lodinforeq@dmv.ca.gov
PREPASS/HELP INC.                         info@prepassalliance.org
PREPASS/HELP INC.                         support@prepass.com
STATE OF ARKANSAS                         gina.burton@dfa.arkansas.gov
STATE OF CALIFORNIA                       cdfa.legaloffice@cdfa.ca.gov
STATE OF CALIFORNIA                       lasiobooz@dir.ca.gov
STATE OF CALIFORNIA.                      cdfa.legaloffice@cdfa.ca.gov
STATE OF FLORIDA                          nikki.fried@fdacs.gov
STATE OF FLORIDA                          debracompton@fsiga.org
STATE OF HAWAII                           dlnr@hawaii.gov
STATE OF ILLINOIS                         carolyn.parks@illinois.gov
STATE OF INDIANA                          mtaivalkoski@wcb.in.gov
STATE OF IOWA                             information.services@iowa.gov
STATE OF LOUISIANA                        lessiehouse@lmvc.la.gov
STATE OF MINNESOTA                        shannon.beckel@state.mn.us
STATE OF MINNESOTA                        patrice.bailey@state.mn.us
STATE OF NEVADA                           biinfo@business.nv.gov
STATE OF NEW YORK                         casey.mccue@agriculture.ny.gov
STATE OF OKLAHOMA                         otcmaster@tax.ok.gov
STATE OF OREGON                           dcbs.info@oregon.gov
STATE OF OREGON                           ask.odot@odot.state.or.us
STATE OF OREGON                           malib@boli.state.or.us
STATE OF TENNESSEE                        ask.tdci@tn.gov
STATE OF TENNESSEE                        tn.revenue@tn.gov
STATE OF TENNESSEE                        dwr.nefo@tn.gov
STATE OF TEXAS                            comptroller.help@cpa.texas.gov
STATE OF WEST VIRGINIA                    taxhelp@wv.gov
STATE OF WEST VIRGINIA                    taxhelp@wv.gov
STATE OF WEST VIRGINIA                    taxhelp@wv.gov
STATE OF WEST VIRGINIA                    taxhelp@wv.gov
STATE OF WISCONSIN                        dorelectronicfiling@wisconsin.gov
TEXAS DEPT OF INSURANCE                   txcomphelp@tdi.texas.gov
TEXAS WORKERS' COMPENSATION               txcomphelp@tdi.texas.gov
COMMISSION
TEXAS WORKERS' COMPENSATION               selfinsurance@tdi.texas.gov
COMMISSION
TRAVELERS PROPERTY CASUALTY GROUP         jwhale@travelers.com
UNITED STATES DEPARTMENT OF               ask@usda.gov
AGRICULTURE
WASHINGTON GAS                            customersupport@washgas.com
WESTCHESTER FIRE INSURANCE CO             stephen.hood@westchester.com
WESTCHESTER FIRE INSURANCE CO             stephen.hood@westchester.com
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 86 of 120
         SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                Electronic Mail Surety Bond Service List
ZURICH AMERICAN INSURANCE GROUP           michael.c.fay@zurichna.com;
                                          brian.hodges@zurichna.com
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 87 of 120




                         EXHIBIT H
    Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 88 of 120
          SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                    Electronic Mail Tax Service List
         NAME                                       EMAIL
ACADIA PARISH SCHOOL       pdeville@acadia.k12.la.us; smrichard@acadia.k12.la.us
BOARD
ADA COUNTY           eduncan@adacounty.id.gov: hmayes@adacounty.id.gov
ADA COUNTY           eduncan@adacounty.id.gov
ADAMS COUNTY         tomk@co.adams.in.us
ADAMS COUNTY         treasurer@adcogov.org
AIKEN COUNTY         auditor@aikencountysc.gov: treasurer@aikencountysc.gov
AL STACS             salestax@comcast.net
ALABAMA DEPARTMENT   preeti.gratz@revenue.alabama.gov;
OF REVENUE           changlan.li@revenue.alabama.gov;
                     kelly.graham@revenue.alabama.gov
ALABAMA DEPT OF      preeti.gratz@revenue.alabama.gov;
AGRICULTURE &        changlan.li@revenue.alabama.gov;
INDUSTRIES           kelly.graham@revenue.alabama.gov
ALABAMA DEPT OF      preeti.gratz@revenue.alabama.gov;
ENVIRONMENTAL        changlan.li@revenue.alabama.gov;
MANAGEMENT           kelly.graham@revenue.alabama.gov
ALACHUA COUNTY       gpeebles@alachuacounty.us;msexton@alachuacounty.us;ml
                     ieberman@alachuacounty.us
ALAMANCE COUNTY      tax.help@alamance-nc.com
ALPENA COUNTY        info@alpenacounty.org; mailto:ludlowk@alpenacounty.org
ANDERSON COUNTY      rcopeland@actrustee.com; janis@actrustee.com
ANDERSON COUNTY      cwages@andersoncad.net
ANDERSON COUNTY      jphillips@andersoncountysc.org
ANDREWS COUNTY       rharper@co.andrews.tx.us
ANDREWS ISD          chiefappraiser@andrewscad.org
ANGELINA COUNTY      taxoffice@angelinacounty.net
ANSON COUNTY         jdutton@co.anson.nc.us
ARAPAHOE COUNTY      treasurer2@arapahoegov.com
ARAPHOE COUNTY CLERK jlopez@arapahoegov.com
ARCHER COUNTY        archer@brazosnet.com
ARIZONA DEPARTMENT   mkillian@azda.gov
OF AGRICULTURE
ARIZONA DEPARTMENT   problemresolutionoffice@azdor.gov;
OF REVENUE           asktaxpolicy@azdor.gov,
ARIZONA DEPARTMENT   oicprocessing@azdor.gov
OF REVENUE
ARLINGTON COUNTY     mailto:revenue@arlingtonva.us
COMMISSIONER OF
REVENUE
ARLINGTON COUNTY     mailto:treasurer@arlingtonva.us
TREASURER
ARLINGTON COUNTY,    mailto:countymanager@arlingtonva.us
VIRGINIA
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 89 of 120
         SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                   Electronic Mail Tax Service List
AUSTIN COUNTY            krinn@austincounty.com
AVERY COUNTY             averytax.collector@averycountync.gov
BALDWIN COUNTY           taxcommissioner@baldwincountyga.com
BARBOUR COUNTY           gishelp@flagshipgis.com
BATTLE CREEK INCOME      mailto:tlgiannunzio@battlecreekmi.gov
TAX OFFICE
BEAUFORT COUNTY          auditor@bcgov.net
BEAUREGARD PARISH        jmorton@bpsheriff.org
BEAUREGARD PARISH        jmorton@bpsheriff.org
SHERIFF OFFICE
BEDFORD COUNTY           mailto:juliec@bedfordcountyva.gov;
                         mailto:juliec@bedfordcountyva.gov
BELL TAD                 exemptions@bellcad.org
BERKELEY COUNTY          mailto:webtrs@berkeleycountysc.gov
BERNALILLO COUNTY        treasurers@bernco.gov
BEXAR COUNTY             taxoffice@bexar.org
BEXAR COUNTY TAX         taxoffice@bexar.org
ASSESSOR
BIBB COUNTY TAG          taxinfo@maconbibb.us
OFFICE
BLADEN COUNTY            bctax@bladenco.org
BLANCO COUNTY            piarequest@co.blanco.tx.us
BLEDSOE COUNTY           bledsoemayor@bledsoe.net
BLOUNT COUNTY            info@blountcountyal.gov
BLOUNT COUNTY            kchapman@blounttn.org; rhicks@blounttn.org
BONNEVILLE COUNTY        bctreasurers@co.bonneville.id.us
BOONE COUNTY             info@boonecountyil.org
BOONE COUNTY             bcs@boonecountyky.org
BOONE COUNTY FISCAL      judgemoore@boonecountyky.org
COURT
BOONE COUNTY FISCAL      occlicense@boonecountyky.org
COURT
BOONE COUNTY SHERIFF     info@boonewvsheriff.org
BOSQUE COUNTY            county_clerk@bosquecounty.us
BOSSIER CITY - PARISH    nortonm@bossiercity.org
BOWIE CAD                ramona.dawson-norman@txkusa.org
BOYD COUNTY SHERIFF      admin@boydcountysheriff.com
BRADLEY COUNTY           donna.simpson@tn.gov
BRAXTON COUNTY           info@wvaco.org
BRAZORIA COUNTY          roving@brazoria-county.com
BRAZOS COUNTY            taxoffice@brazoscountytx.gov
BRAZOS COUNTY TAX        taxoffice@brazoscountytx.gov
ASSESSOR
BREG DCCA                breg@dcca.hawaii.gov
BREMOND ISD              karobie108@aol.com
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 90 of 120
         SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                   Electronic Mail Tax Service List
BREVARD COUNTY           lisa.cullen@brevardtaxcollector.com
BRIMMER LICENSE          york@brimmers.com
SERVICE
BROOKE COUNTY            mthoughton@assessor.state.wv.us
SHERIFF
BROWARD COUNTY           customerservice@broward.org
BROWN CAD                bmckibben@brown-cad.org
BROWN COUNTY             christine.pentecost@browncountytx.org
BROWN COUNTY             sheila.enderson@browncounty.sd.gov
BRUNSWICK COUNTY         ann.hardy@brunswickcountync.gov
BUFFALO ISD              ballardcs@buffaloisd.net
BULLOCH COUNTY           propertytax@bullochcounty.net
BUNCOMBE COUNTY          jennifer.pike@buncombecounty.org
BUREAU OF                cec.corporations@maine.gov
CORPORATIONS
BURKBURNETT ISD          jeanine.pickett@burkburnettisd.org
BURKE COUNTY             mariandjackson@burkecounty-ga.gov
BURKE COUNTY             tax@burkenc.org
BURLEIGH COUNTY          kglatt@nd.gov
BUSINESS AND             corprequest@sos.arkansas.gov
COMMERCIAL SERVICES
BUTTE-SILVER BOW         lpatrick@bsb.mt.gov
COUNTY
BUTTS COUNTY TAX         nwashington@buttscounty.org; njwbctc@netzero.net
COMMISSIONER
CA DEPT. OF FOOD &       secretary.ross@cdfa.ca.gov
AGRICULTURE DAIRY
CABARRUS COUNTY          mdthrift@cabarruscounty.us
CABELL COUNTY SHERIFF    taxoffice@cabellcounty.org
CADDO PARISH SHERIFF     welcome@caddosheriff.org
CALCASIEU PARISH         calclerkofcourt.com/email-us
CALCASIEU PARISH         robert.barrentine@cpsb.org
SCHOOL SYSTEM
CALDWELL CAD             angela.rawlinson@co.caldwell.tx.us
CALHOUN COUNTY           revenue@calhouncounty.org
CALHOUN COUNTY           vkirby@calhouncounty.org
LICENSE COMMISSIONER
CALHOUN COUNTY           calhounclerk@gmail.com
SHERIFF
CALIFORNIA               natalie.krout@cdfa.ca.gov
DEPARTMENT OF FOOD &
AGRICULTURE
CALIFORNIA DEPT OF       spatton@cdfa.ca.gov
FOOD & AGRICULTURE
CALLAHAN COUNTY          tax.info@callahancounty.org
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 91 of 120
         SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                   Electronic Mail Tax Service List
CAMDEN COUNTY            landerson@camdencountync.gov
CAMERON COUNTY           assessorcollector@co.cameron.tx.us
CAMP CAD                 j.tinsley@campcad.org
CAMPBELL COUNTY          sheriff@campbellcountyky.org
CAMPBELL COUNTY          mayorsstaff@campbellcountygov.com
CARBON COUNTY            pattybentsen@carbonwy.com
CARROLL COUNTY           taxcomm@carrollcountyge.com
CARROLL COUNTY TAG       taxcomm@carrollcountyge.com
COMMISSIONER
CARROLLTON-FARMERS       bradya@cfbisd.edu
BRANCH ISD
CARTER COUNTY            cartercountyclerk@gmail.com
CARTERET COUNTY          lorit@carteretcountync.gov
CASCADE COUNTY           mvdappts@cascadecountymt.gov
MOTOR VEH DEPT
CATAWBA COUNTY           lmathes@catawbacountync.gov
CATOOSA COUNTY           taxcommissioner@catoosa.com
CENTERVILLE CITY         gholleman@centervilletx.gov
CHAMBERS COUNTY          commission.info@chamberscountyal.gov
CHARLESTON COUNTY        treasurer@charlestoncounty.org
CHARLOTTE COUNTY         taxcollector@charlottecountyfl.gov
CHATHAM COUNTY           leesmith@chathamcounty.org
CHATSWORTH CITY HALL     tysonhaynes59@yahoo.com
CHEATHAM COUNTY          kerry.mccarver@cheathamcountytn.gov
CHEROKEE COUNTY          evelyn.postell@cherokeecounty-nc.gov
CHESTERFIELD COUNTY      treasurer@chesterfield.gov
CHESTERFIELD COUNTY      cctreasurer@shtc.net
CHESTERFIELD COUNTY      treasurer@chesterfield.gov
CHILDRESS COUNTY         childresscad@childresstx.us
CHILTON COUNTY           tim@chiltoncounty.org
CITY AND COUNTY OF       brendan.hanlon@denvergov.org
DENVER
CITY AND COUNTY OF       info@ehawaii.gov
HONOLULU
CITY OF ACWORTH          propertytax@acworth.org
CITY OF ALBANY           cityhall@albanyca.org
CITY OF ALBANY           albanyssbsupport@muniservices.com
CITY OF ALEXANDRIA       donna.jones@cityofalex.com
CITY OF ASHLAND          customerservice@ashlandky.org
CITY OF ASHLAND          mlayne@ashlandky.gov
CITY OF ASHLAND          customerservice@ashlandky.org
CITY OF ATHENS           finance@cityofathenstn.com.
CITY OF AURORA           finance@cityofathenstn.com.
CITY OF BALTIMORE        baltimorecitycollections@baltimorecity.gov
CITY OF BELFAST          cityclerk@cityofbelfast.org
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 92 of 120
         SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                   Electronic Mail Tax Service List
CITY OF BERKELEY         albanyssbsupport@muniservices.com
CITY OF BERKLEY          clerk@cityofberkeley.info
CITY OF BLAIRSVILLE      cityclerk@blairsville-ga.gov
CITY OF BOSTON           maureen.feeney@boston.gov
CITY OF BOULDER          licensingonline@bouldercolorado.gov
CITY OF BOWLING GREEN    revenue@bgky.org
CITY OF BREMOND          city-of-franklin@hotmail.com
CITY OF BROWNSVILLE      brownsville@windstream.net
CITY OF CAMP WOOD        dbrice@co.real.tx.us
CITY OF CENTRAL FALLS    sgrace@centralfallsri.us
CITY OF CHATTANOOGA      tmaddox@chattanooga.gov
CITY OF CHURCH HILL      info@churchhilltn.gov
CITY OF COVINGTON        info@covingtonky.com
CITY OF CROSSVILLE       info@crossvilletn.gov
CITY OF DELTA            tod@cityofdelta.net
CITY OF DRY RIDGE        greg.brockman@cdrky.org
CITY OF DURANGO          citymanager@durangogov.org
CITY OF EAGLE PASS       samezcua@eaglepasstx.us
CITY OF ENGLEWOOD        support@munirevs.com
CITY OF ERIE             sdivecchio@erie.pa.us
CITY OF ERIN             cheynnegirl@msn.com
CITY OF ERLANGER         corine.pitts@cityoferlanger.com
CITY OF EVART            cityclerk@evart.org
CITY OF FLEMINGSBURG     joetta.marshall@flemingsburgky.org
CITY OF FLEMINGSBURG     joetta.marshall@flemingsburgky.org
CITY OF FLORENCE, KY     linda.chapman@florence-ky.gov
CITY OF FLORESVILLE      hmartinez@floresvilletx.gov
CITY OF FOREST PARK      kthompson@forestparkga.org
CITY OF FORT COLLINS     mbeckstead@fcgov.com
CITY OF FORT THOMAS      jewald@ftthomas.org
CITY OF GARLAND          citytaxes@garlandtx.gov
CITY OF GEORGETOWN       stacey.clark@georgetownky.gov
CITY OF GRAND            finance@gjcity.org
JUNCTION
CITY OF GREELEY          finance@greeleygov.com
CITY OF GREENVILLE       jdudash@greenvillesc.gov
CITY OF HAMMOND          wilson_jt@hammond.org
CITY OF HARLINGEN        etrevino@myharlingen.us
CITY OF HARRIMAN         charles.kerley@cityofharriman.net
CITY OF HARRISONBURG     jeff.shafer@harrisonburgva.gov
CITY OF HARTFORD         ota@hartfordky.org
CITY OF                  taxdept@hendersoncountync.gov
HENDERSONVILLE
CITY OF HOHENWALD        khamm@hohenwald.com
CITY OF IRON MOUNTAIN    assessor@cityofironmountain.com
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 93 of 120
         SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                   Electronic Mail Tax Service List
CITY OF JOHNSON CITY     janetj@johnsoncitytn.org
CITY OF KANSAS CITY      finance@kcmo.org
CITY OF KANSAS CITY      revenue@kcmo.org
CITY OF KENNESAW         gauld@kennesaw-ga.gov
CITY OF KINGSLAND        fmorrow@kingslandgeorgia.com
CITY OF KINGSTON         dneil@kingstonsprings-tn.gov
SPRINGS
CITY OF KNOXVILLE        dfdyer@knoxvilletn.gov
CITY OF LAFAYETTE        ebeard@lafayettela.gov
CITY OF LAGRANGE         scooper@lagrangeky.net
CITY OF LANSING INCOME   treasurer@lansingmi.gov
TAX DIVISION
CITY OF LAREDO           dmaldonado@ci.laredo.tx.us
CITY OF LEBANON          staci@lebanontn.org
CITY OF LENOIR           ssclark@ci.lenoir.nc.us
CITY OF LOUISVILLE       salestax@louisvilleco.gov
CITY OF LUMBERTON        slocklear@ci.lumberton.nc.us
CITY OF LYNN             efannon@lynnma.gov
CITY OF MARIETTA         jbrown@mariettaga.gov
CITY OF MARQUETTE        treasurer@marquettemi.gov
CITY OF MAYFIELD KY      tjohnson@mayfieldky.gov
CITY OF MCALLEN          rmgrimes@mcallen.net; nguerra@mcallen.net
CITY OF MEMPHIS          treasury@memphistn.gov
CITY OF MORGANTON        pubinfo@ci.morganton.nc.us
CITY OF MORRISTOWN       tbain@mymorristown.com
CITY OF MOUNT CARMEL     tammy.conner@mountcarmeltn.gov
CITY OF MURFREESBORO     mwright@murfreesborotn.gov
CITY OF MURRAY, KY       finance@murrayky.gov
CITY OF NEW ORLEANS      wemccall@nola.gov
CITY OF NEWPORT          lkuntz@newportky.gov
CITY OF NEWPORT          newportadm@newporttn.org
CITY OF NORFOLK          daun.hester@norfolk.gov
CITY OF OAKLAND          dfjones@oaklandca.gov
CITY OF OAKLAND          kkasaine@oaklandca.gov
CITY OF ODENVILLE        sevans@cityofodenville.net
CITY OF PADUCAH, KY      jperkins@paducahky.gov
CITY OF PAWTUCKET        taxinfo@pawtucketri.com
CITY OF PHILADELPHIA     revenue@phila.gov
CITY OF PHILADELPHIA     revenue@phila.gov
DEPT. OF REVENUE
CITY OF PORTSMOUTH       paige.cherry@portsmouthva.gov
CITY OF PROVIDENCE       collector@providenceri.gov
CITY OF RAYMONDVILLE     olga.fadely@raymondvilletx.us
CITY OF RICHMOND         treasurer@richmondgov.com
CITY OF ROANOKE          treasurer@roanokeva.gov
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 94 of 120
         SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                   Electronic Mail Tax Service List
CITY OF ROCKINGHAM       shannonp@gorockingham.com.
CITY OF ROCKMART         jellis@rockmart-ga.gov
CITY OF ROCKWOOD         rwadmin@comcast.net
CITY OF ROCKY MOUNT      amy.staton@rockymountnc.gov
CITY OF ROSSVILLE        rossvillech@rossvillekansas.org
CITY OF RUSSELL          russelljec@aol.com
CITY OF RUSSELLVILLE     gskelton@rsvlar.org
CITY OF RUSSELLVILLE,    gskelton@rsvlar.org
KY
CITY OF SAN FRANCISCO    city.hall.building.management@sfgov.org
CITY OF SEATTLE          cityclerk@seattle.gov
CITY OF SHEBOYGAN        assessor@sheboyganwi.gov
CITY OF SHREVEPORT       council@shreveportla.gov
CITY OF SPRINGFIELD      skacoyannakis@springfieldcityhall.com
CITY OF SPRINGFIELD      administration@springfield-tn.org
CITY OF STAMPING         cityofstampingground@gmail.com
GROUND
CITY OF SULPHUR          groberts@sulphurspringstx.org
SPRINGS
CITY OF SURGOINSVILLE    surgoinsvillecit@bellsouth.net
CITY OF VIRGINIA BEACH   news@vbgov.com
CITY OF WARNER ROBINS    klopitz@wrga.gov
CITY OF WARWICK          tax-collector@warwickri.com
CITY OF WATERVILLE       info@waterville-me.gov
CITY OF WATTERSON        wattersonparkinfo@att.net
PARK
CITY OF WEAVER           finance@weaver-alabama.org
CITY OF WILDWOOD         cwood@wildwoodnj.org
CITY OF WINCHESTER       mlucas@winchesterky.com
CITY OF WOODSTOCK        finance@woodstockga.gov
CLAIBORNE COUNTY         angelia.tucker@claibornecsd.org
CLARENDON COUNTY         clarendontax@clarendoncountygov.org
CLARK COUNTY             treasurer@clarkcountyohio.gov
CLARK COUNTY             recweb@clarkcountynv.gov
CLARK COUNTY SHERIFF     info@kysheriff.org
CLARKE COUNTY            lcopeland@clarkecountyal.com
CLAY COUNTY              jweeks@claycountytax.com
CLAY COUNTY              ronaldrobertson@claycountyal.com
CLAY COUNTY              cctreasurer@co.clay.mn.us
CLAY COUNTY              mpullium@claync.us
CLEAR CREEK ISD          taxoffice@ccisd.net
CLEBURNE COUNTY          kbrown@celeburnecounty.us
CLEVELAND COUNTY         necole.richard@clevelandcounty.com
CNTY DIR OF FINANCE      deanna.sako@hawaiicounty.gov
CNTY OF HAWAII
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 95 of 120
         SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                   Electronic Mail Tax Service List
CNTY DIR OF FINANCE      vehiclerl@hawaiicounty.gov
CNTY OF HAWAII
COBB COUNTY              cobbtaxassessor@cobbcounty.org
COBB COUNTY TAX          tags@cobbtax.org
COMMISSIONER
COLBERT COUNTY           commission@colbertco.org
COLBERT COUNTY           revenuecommissioner@colbertco.org
COLEMAN COUNTY           billjones@web-access.net
COLLETON COUNTY          bhill@colletoncounty.org
COLLIN COUNTY            taxassessor@collincountytx.gov
COLLIN COUNTY TAX        propertytax@collincountytx.gov
ASSESSOR
COLORADO DEP OF          cdphe.information@state.co.us
PUBLIC HEALTH &
ENVIRO
COLORADO DEPARTMENT      kate.greenberg@state.co.us
OF AGRICULTURE
COLORADO DEPARTMENT      dor_taxpayerservice@state.co.us
OF REVENUE
COLORADO DEPARTMENT      administration@sos.state.co.us
OF STATE
COLUMBIA COUNTY          countyadministration@columbiacountyga.gov
COMAL COUNTY             talcoc@co.comal.tx.us
COMANCHE COUNTY          graceeverhart@gmail.com
COMM. OF REV. SERVICES   drs@po.state.ct.us
DOR
CONCHO CAD               concho.ccad@wcc.net
COOKE CAD                cookecad@yahoo.com
CORYELL COUNTY           tax_collector@coryellcounty.org
COUNTY OF MAUI           finance@mauicounty.gov
COUNTY TREASURER         cgtreas@cgcounty.org
COUNTY TREASURER OF      rek03@ccgov.net
CAMPBELL
CRAVEN COUNTY            rantry@cravencountync.gov
CRENSHAW COUNTY          crenshawrevenue@hotmail.com
CT DEPARTMENT OF         drs@po.state.ct.us
REVENUE SERVICES
CULBERSON COUNTY         culbersoncotaxoffice@gmail.com
CUMBERLAND COUNTY        kwyatt@cumberlandcountytn.gov
CUMBERLAND COUNTY        info@cumberlandcid.org
CUMBERLAND COUNTY        jule.bryson@state.tn.us
CLERK
DALE COUNTY              eoutlaw111@gmail.com
DALLAM CAD               hmccauley@dallamcad.org
DALLAM COUNTY            taxac@dallam.org
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 96 of 120
         SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                   Electronic Mail Tax Service List
DAVIDSON COUNTY          assessorweb@nashville.gov; vivian.wilhoite@nashville.gov
DAVIDSON COUNTY          assessorweb@nashville.gov; vivian.wilhoite@nashville.gov
CLERK
DAVIE COUNTY             bmyers@daviecountync.gov
DEKALB COUNTY            cchicks@dekalbcountyga.gov
DEKALB COUNTY            cbrooks@dekalbcountyal.us
DELAWARE DIVISION OF     liza.davis@delaware.gov
CORPORATIONS
DELAWARE DIVISION OF     kathy.revel@delaware.gov
REVENUE
DENVER MANAGER OF        keith.erffmeyer@denvergov.org
REVENUE
DEPARTMENT OF            feedback@usda.gov
AGRICULTURE
DEPARTMENT OF            dcra@dc.gov
CONSUMER AND
REGULATORY AFFAIRS
DEPARTMENT OF MOTOR      jennifer.gauthier@ct.gov
VEHICLES
DEPARTMENT OF            indianasafety@dor.in.gov
REVENUE
DEPARTMENT OF            dorprop2s@mt.gov
REVENUE
DEPARTMENT OF            drs@po.state.ct.us
REVENUE SERVICES
DEPARTMENT OF            stephanie.benson@tax.virginia.gov
TAXATION
DEPARTMENT OF THE        info@treasurer.mo.gov
TREASURY
DEPT. OF MOTOR           tammy.west@dmv.virginia.gov
VEHICLES
DODDRIDGE COUNTY         mcade@sheriff.state.wv.us
SHERIFF
DORCHESTER COUNTY        auditoradmin@dorchestercounty.net
DOUGLAS COUNTY           treasurer@dctreasurer.org
TREASURER
DUPLIN COUNTY            garyr@duplincountync.com
DURHAM COUNTY            tax_assessor@dconc.gov
DUVAL COUNTY             taxcollector@coj.net
EAGLE PASS ISD           rmartinez8@eaglepassisd.net
ECTOR CAD                ector@ectorcad.org
EDWARDS COUNTY           edwardstax@swtexas.net
EL PASO COUNTY           ctaxassessor@epcounty.com
EL PASO COUNTY           trsweb@elpasoco.com
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 97 of 120
         SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                   Electronic Mail Tax Service List
EL PASO TAX ASSESSOR /   ctaxassessor@epcounty.com
COLLECTOR
ERATH COUNTY             jcarey@co.erath.tx.us
FAIRFIELD COUNTY         miriam.woodard@fairfield.sc.gov
FALLS COUNTY             kayci.nehring@co.falls.tx.us
FANNIN COUNTY            taxcommissioner@tds.net
FAYETTE COUNTY           rubyporter@centurytel.net
FAYETTE COUNTY           taxcomm@fayettecountyga.gov
FCPS                     tax.office@fayette.kyschools.us
FENTRESS COUNTY          fentress.trustee@fentresscountytn.gov
FERGUS COUNTY            treasurer@co.fergus.mt.us
FLAGLER COUNTY           taxcollector@flaglertax.com
FLINT INCOME TAX         ncometax@cityofflint.com
DEPARTMENT
FLORIDA DEPARTMENT       nikki.fried@fdacs.gov
OF AGRICULTURE
FLORIDA DEPARTMENT       dorpto@floridarevenue.com
OF REVENUE
FLORIDA DEPARTMENT       dorpto@floridarevenue.com
OF REVENUE
FLORIDA DEPT OF          candie.fuller@dep.state.fl.us
ENVIRONMENTAL
PROTECTION
FLOYD COUNTY TAX         paynek@floydcountyga.org
COMMISSIONER
FORT BEND COUNTY         fbctaxinfo@fortbendcountytx.gov
FRANKLIN COUNTY          susan.wray@franklincountyva.gov
FRESNO COUNTY            taxcollectorwebmail@co.fresno.ca.us
GA AGRICULTURAL          gary.black@agr.georgia.gov
COMMODITY
COMMISSION
GA AGRICULTURAL          gary.black@agr.georgia.gov
COMMODITY COMMN FOR
MILK
GADSDEN COUNTY           alawson@gadsdencountyfl.gov
GAINES CAD               gainescad@gainescad.org
GALLATIN COUNTY          dorgallatinoffice@mt.gov
GALLATIN COUNTY           lbullard@gallatinfiscalcourt.com
SHERIFF
GALLATIN COUNTY          dorgallatinoffice@mt.gov
TREASURER
GALVESTON COUNTY         galcotax@co.galveston.tx.us.
GARFIELD TOWNSHIP        adehaan@garfield-twp.com
GARLAND ISD              helpdesk@garlandisd.net
GENEVA COUNTY            m.ellisongenevarev@gmail.com
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 98 of 120
         SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                   Electronic Mail Tax Service List
GEORGETOWN / SCOTT       info@gscrevenue.com
COUNTY REVENUE
GEORGIA DEPARTMENT       gary.black@agr.georgia.gov
OF AGRICULTURE
GILMER COUNTY SHERIFF     sheriff@gilmercountywv.gov
GLADEWATER ISD           turnert@gladwaterisd.com
GLYNN COUNTY             jchapman@glynncounty-ga.gov
GONZALES COUNTY          tac@co.gonzales.tx.us; ccedillo@co.gonzales.tx.us
GORDON COUNTY            motorvehicles@gordoncounty.org or propertytax@gordonco
                         unty.org
GORMAN ISD               ttreadway@gormanisd.net
GRAINGER COUNTY          trustee@graingertrustee.com
GRAND COUNTY             gcdhs@co.grand.com
TREASURER
GRAND RAPIDS CITY        assessorgr@grcity.us
INCOME TAX
GRANDVILLE COUNTY        michael.felts@granvillecounty.org
GRANT COUNTY             gctax@grantco.org
GRANT PARISH SHERIFF'S   info@grantso.org
SALES TAX FUND
GRAY COUNTY              graycountydmv@graycch.com
GRAYSON COUNTY TAX       stidhamb@co.grayson.tx.us
OFFICE
GREENBRIER COUNTY        bruce.sloan@greenbriercounty.net
SHERIFF
GREENE COUNTY            bruce.sloan@greenbriercounty.net
GREENWOOD COUNTY         jquarles@greenwoodsc.gov
GUADALUPE COUNTY         daryl.john@co.guadaupe.tx.us
GUILFORD COUNTY          bchavis@guilfordcountync.gov
GWINNETT COUNTY          taxcommissioner@gwinnettcounty.com
HALE CAD                 halecad1981@sbcglobal.net
HALIFAX COUNTY           ruth.oakes@co.halifax.va.us
HALL COUNTY              taxcommissioner@hallcounty.org
HANCOCK COUNTY           bill.seal@cot.tn.gov
HANCOCK COUNTY           hcsd@hanwv.org
SHERIFF
HANOVER COUNTY           treasurer@hanovercounty.gov
HARRIS COUNTY            tax.office@hctx.net
HARRIS COUNTY TAX        tax.office@hctx.net
ASSESSOR
HARRISON CAD             tax.office@hctx.net
HARRISON COUNTY          axcollector2@co.harrison.ms.us
HARRISON COUNTY          veronica@co.harrison.tx.us
HARRISON COUNTY TAX      axcollector2@co.harrison.ms.us
COLLECTOR
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 99 of 120
         SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                   Electronic Mail Tax Service List
HARTLEY CAD              hartleyappr@hartleycad.com
HASKELL CAD              whester@haskellcad.com
HAWAII COUNTY            deanna.sako@hawaiicounty.gov
HAWAII DEPARTMENT OF     hdoa.info@hawaii.gov
AGRICULTURE
HAWAII DEPARTMENT OF     tax.directors.office@hawaii.gov
TAXATION
HAWAII DEPARTMENT OF     tax.directors.office@hawaii.gov
TAXATION
HAWKINS COUNTY           nancy.davis@tn.gov
HAYS COUNTY              jenifer.okane@co.hays.tx.us
HAYWOOD COUNTY           greg.west@haywoodcountync.gov
HENDERSON COUNTY         pgoodall@henderson-county.com
HENDERSON TAX            bheppner@hendersonky.us
ADMINISTRATOR
HENRY COUNTY             mharris@co.henry.ga.us
HENRY COUNTY TAX         mharris@co.henry.ga.us
COMMISSIONER
HERNANDO COUNTY          tc@hernandocounty.us
HIGHLAND COUNTY          finance@hcclerk.org
HILL CAD                 hcad@hillcad.org
HILL COUNTY              tac@co.hill.tx.us
HILLSBOROUGH COUNTY      taylorj@hcflgov.net
HOCKLEY COUNTY           dbramlett@hockleycounty.org
HONOLULU COUNTY          bfstreasmailbox@honolulu.gov
HOOD COUNTY              aferguson@co.hood.tx.us
HOPKINS COUNTY           debbie@hopkinscountytx.org
HORRY COUNTY             jonesa@horrycounty.org
HOUSTON CAD              dmillican@co.houston.tx.us
HOUSTON COUNTY           dmillican@co.houston.tx.us
HOUSTON COUNTY           joyhooper79@yahoo.com
HOWARD COUNTY            tiffany.sayles@howardcountytx.com
HUNT COUNTY              hctax@hctax.info
HUNTINGTON COUNTY        paula.farley@huntington.in.us
IBERIA PARISH SCHOOL     dleblanc@iberia.k12.la.us
BOARD
IDAHO STATE TAX          taxrep@tax.idaho.gov
COMMISSION
IDAHO TRANSPORTATION     john.tomlinson@itd.idaho.gov
DEPARTMENT
IL DEPARTMENT OF         drussell@ilsos.net
BUSINESS SERVICES
ILLINOIS DEPARTMENT      rev.localtax@illinois.gov
OF REVENUE
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 100 of 120
          SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                    Electronic Mail Tax Service List
ILLINOIS                 epa.contactus@illinois.gov
ENVIRONMENTAL
PROTECTION AGENCY
IN BUREAU OF MOTOR       placy@bmv.in.gov
VEHICLES
IN BUREAU OF MOTOR       placy@bmv.in.gov
VEHICLES
IN DEPARTMENT OF         businesstaxassistance@dor.in.gov
REVENUE
INDIANA DEPARTMENT       businesstaxassistance@dor.in.gov
OF REVENUE
INDIANA DEPT OF          info@idem.in.gov
ENVIRONMENTAL MGMT.
INDIANA OF               businesstaxassistance@dor.in.gov
DEPARTMENT OF
REVENUE
INDIANA SECRETARY OF     constituent@sos.in.gov
STATE
INDIANA STATE EGG        straw@purdue.edu
BOARD
IOWA DEPARTMENT OF       david.brown@iowaagriculture.gov
AGRICULTURE MILK
FUND
IOWA DEPARTMENT OF       idr@iowa.gov
REVENUE
IOWA DEPARTMENT OF       idr@iowa.gov
REVENUE AND FINANCE
IOWA DEPT OF             omcs@iowadot.us
TRANSPORTATION
IREDELL COUNTY           bfurches@co.iredell.nc.us
IRION COUNTY             tacajg@outlook.com
IRVING ISD               taxoffice@irvingisd.net
JACK COUNTY              srobinson@jackcounty.org
JACKSON COUNTY           brandihenson@jacksonnc.org
JACKSON COUNTY           asargent@jacksoncountygov.com
JACKSON COUNTY           jeffarnold@jcch.net
JACKSON COUNTY           amanda.stafford@tn.gov
JACKSON COUNTY           tony.boggs@jacksoncountywv.com
SHERIFF
JACKSON PARISH STCA      townoffice@bellsouth.net
JASPER COUNTY            bobby.biscamp@co.jasper.tx.us
JEFFERSON COUNTY         winstonc@jccal.org
JEFFERSON COUNTY         property@co.jefferson.tx.us
JEFFERSON COUNTY          trustee@jeffersoncountytn.gov
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 101 of 120
          SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                    Electronic Mail Tax Service List
JEFFERSON COUNTY         countyclerk@jeffersoncountyclerk.org
CLERK
JEFFERSON COUNTY         revenueadd@jccal.org
REVENUE DEPARTMENT
JEFFERSON COUNTY TAX     auto@co.jefferson.tx.us
ASSESSOR
JEFFERSON PARISH         ruppert_ga@jpso.com
JOHNSON COUNTY           taxoffice@johnstonnc.com
JOHNSON COUNTY           jococontactus@gmail.com
JONES CAD                jonescad@hotmail.com
KANAWHA COUNTY           helpdesk2@kanawhasheriff.us
SHERIFF
KANSAS DEPARTMENT OF     brittney.grother@ks.gov
AGRICULTURE
KANSAS DEPARTMENT OF     kdor ta@ks.gov
REVENUE
KANSAS SECRETARY OF      sos@ks.gov
STATE
KAUA'I COUNTY            rpc@kauai.gov
KAUFMAN COUNTY           brnsamples@aol.com
KELLY AND RYAN           info@kelleyryan.com
ASSOCIATES INC
KENDALL COUNTY           terry.kramer@kendallad.org; requestinfo@kendallad.org
KENTON COUNTY            joe.shriver@kentoncounty.org
KENTON COUNTY            joe.shriver@kentoncounty.org
KENTUCKY DEPT. OF        treasury.web@ky.gov
REVENUE
KIMBLE CAD               kcad@kimblecad.org
KNOX COUNTY              citytaxoffice@knoxvilletn.gov
KNOX COUNTY              citytaxoffice@knoxvilletn.gov
KNOX COUNTY TAX          knoxcad@yahoo.com
OFFICE
LA PLATA COUNTY          tiffany.parker@co.laplata.co.us
CLERK AND RECORDER
LAFOURCHE PARISH         bdguidry@lpssonline.com; agranier@mylpsd.com
SCHOOL BOARD
LAMAR CAD                lamar@lamarcad.org
LAMAR COUNTY TAX         hmaroney@co.lamar.tx.us
ASSESSOR
LAMB CAD                 lambcad@windstream.net
LAMPASS COUNTY           lambcad@windstream.net
LANCASTER COUNTY         carriehelms@lancastercountysc.net
LANDCASTER COUNTY        cotreas@lancaster.ne.gov
MOTOR VEHICLE
LARAMIE COUNTY           treasurer@laramiecounty.com
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 102 of 120
          SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                    Electronic Mail Tax Service List
LASALLE PARISH SALES     toneal@cpsbla.us
TAX FUND
LAURENS COUNTY           cburke@co.laurens.sc.us
LAWRENCE COUNTY          kweathers@lawcotn.org
LEA COUNTY               smarinovich@leacounty.net
LEBANON COUNTY           sneuin@lebcnty.org; bspicer@lebcnty.org
LEE COUNTY               oprice@leeco.us
LEE COUNTY               dmatthijetz@co.lee.tx.us
LEE COUNTY               tax@leecountync.gov
LEE COUNTY               rdesjarlais@leegov.com
LEE COUNTY TREASURER     treas@leecova.org
LENOIR COUNTY            dparrish@co.lenoir.nc.us
LEON COUNTY              robin.shafer@co.leon.tx.us
LEWIS & CLARK COUNTY     kfrydenlund@lccountymt.gov
LEWIS COUNTY             sandra.clayton@tn.gov
LEWIS COUNTY CLERK       sandra.clayton@tn.gov
LEWIS COUNTY SHERIFF     agissy@lewiscountywv.org
LIMESTONE COUNTY         shall@co.limestone.tx.us
LINCOLN COUNTY           ssain@lincolncounty.org
LINCOLN COUNTY           kbeggs@lincolncountyga.com
LINCOLN COUNTY           genabowman@lincolncountywv.org
LINCOLN COUNTY           agissy@lewiscountywv.org
SHERIFF
LINCOLN PARISH           sheilag@lincolnparish.org
LLANO COUNTY             taxinfo@co.llano.tx.us
LOGAN COUNTY SHERIFF     lcsd@logan-co-sheriff-wv.org
LOGAN COUTNY             sherri@loganct.com
TREASURER
LOS ANGELES COUNTY       helpdesk@assessor.lacounty.gov.
LOWNDES COUNTY           rcain@lowndescounty.com
LOWNDES COUNTY           gishelp@flagshipgis.com
LOWNDES COUNTY TAX       rcain@lowndescounty.com
COMM.
LUBBOCK CAD              info@lubbockcad.org
LUBBOCK COUNTY           taxoffice@co.lubbock.tx.us
LYNN CAD                 dwillis@co.lynn.tx.us
MA DEPT. OF              rebecca.davidson@state.ma.us
AGRICULTURAL
RESOURCES
MACOMB COUNTY            treasurer@macombgov.org
TREASURER
MACON COUNTY             sjonesmayor@macontn.org
MACON COUNTY             maconcountybpp@gmail.com
MADISON COUNTY           taxcol@madisoncountyal.gov
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 103 of 120
          SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                    Electronic Mail Tax Service List
MADISON COUNTY           lhairston@madisoncountyal.gov
LICENSE DEPT
MAINE BUREAU OF          dacf@maine.gov
AGRICULTURE, FOOD AND
RURAL RESOURCES
MAINE DAIRY AND          info@drinkmainemilk.org
NUTRITION COUNCIL
MAINE REVENUE            taxpayerassist@maine.gov
SERVICES
MAINE REVENUE            taxpayerassist@maine.gov
SERVICES
MARION COUNTY            mctrustee@bellsouth.net
MARION COUNTY            gishelp@flagshipgis.com
MARLBORO COUNTY          mctreasurer@bellsouth.net
MARSHALL COUNTY          commission@marshallco.org
MARSHALL COUNTY          taxoffice@marshallcountywv.org
MARTIN COUNTY            khull@co.martin.tx.us
MARYLAND                 denise.burrell@maryland.gov
DEPARTMENT OF
AGRICULTURE
MARYLAND STATE           taxhelp@comp.state.md.us
DEPARTMENT
MASON COUNTY             taxac@co.mason.tx.us
MASON COUNTY SHERIFF     msppdir@pointpleasantwv.org
MATAGORDA COUNTY         taxac@co.matagorda.tx.us
MAURY COUNTY             bdaniels@maurycounty-tn.gov
MAURY COUNTY TAX         bdaniels@maurycounty-tn.gov
DEPT.
MAVERICK COUNTY          taxinfo@co.maverick.tx.us
MCCREARY COUNTY          mcso@mccrearysheriff.com
SHERIFF
MCCREARY COUNTY TAX      stephanie@mccrearycounty.com
ADMINISTRATOR
MCCREARY COUNTY TAX      stephanie@mccrearycounty.com
ADMINISTRATOR
MCDOWELL COUNTY          linda.onufrey@mcdowellgov.com
MCHENRY COUNTY           treas@mchenrycountyil.gov
MEIGS COUNTY             meigsclerkmaster@yahoo.com
MENARD COUNTY            kwagner@menardcad.org
MERCER COUNTY            sharpsville@roadrunner.com
MERCER COUNTY            mercercocommission@frontiernet.net
SHERIFF
MESA COUNTY              mctreas@mesacounty.us
MESA COUNTY CLERK        recording@mesacounty.us
AND RECORDER
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 104 of 120
          SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                    Electronic Mail Tax Service List
MESA COUNTY DOV          plates@mesacounty.us
MIAMI DADE COUNTY        proptax@miamidade.gov
MICHIGAN                 corpsmail@michigan.gov
CORPORATIONS DIVISION
MICHIGAN DEPARTMENT      statetreasurer@michigan.gov
OF THE TREASURY
MICHIGAN DEPARTMENT      statetreasurer@michigan.gov
OF THE TREASURY
MICHIGAN DEPARTMENT      statetreasurer@michigan.gov
OF TREASURY
MICHIGAN DEPARTMENT      statetreasurer@michigan.gov
OF TREASURY
MICHIGAN DEPARTMENT      statetreasurer@michigan.gov
OF TREASURY
MICHIGAN DEPARTMENT      statetreasurer@michigan.gov
OF TREASURY
MIDLAND COUNTY TAX       tax101@co.midland.tx.us
ASSESSOR
MILLS CAD                millscad@centex.net
MINERAL COUNTY           taxchris@mineralsheriff.com
SHERIFF
MINNESOTA                individual.incometax@state.mn.us
DEPARTMENT OF
REVENUE
MINNESOTA REVENUE        individual.incometax@state.mn.us
MINNESOTA REVENUE        individual.incometax@state.mn.us
MINNESOTA REVENUE        individual.incometax@state.mn.us
MINNESOTA SECRETARY      secretary.state@state.mn.us
OF STATE
MISSOULA COUNTY           tgernant@missoulacounty.us;
                         recording@missoulacounty.us
MISSOULA COUNTY           tgernant@missoulacounty.us;
TREASURER                recording@missoulacounty.us
MISSOURI DEPARTMENT      aginfo@mda.mo.gov
OF AGRICULTURE
MISSOURI DEPARTMENT      dormail@dor.mo.gov
OF REVENUE
MISSOURI DEPARTMENT      dormail@dor.mo.gov
OF REVENUE
MISSOURI DEPT. OF        aginfo@mda.mo.gov
AGRICULTURE
MISSOURI DEPT. OF        dormail@dor.mo.gov
REVENUE
MMTA                     bparke@mmta.com
MOFFAT COUNTY CLERK      traschke@moffatcounty.net
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 105 of 120
          SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                    Electronic Mail Tax Service List
MONONGALIA COUNTY        info@monsheriff.com
SHERIFF
MONROE COUNTY            boan-tina@monroecounty-fl.gov
MONROE COUNTY            marna.hull@monroetn.com
MONTAGUE CAD             mctad@windstream.net
MONTAGUE COUNTY          tac@co.montague.tx.us
MONTANA DEPARTMENT       dorprop2s@mt.gov
OF REVENUE
MONTANA DEPARTMENT       dorprop2w@mt.gov
OF REVENUE
MONTANA SECRETARY        sosrecords@mt.gov
OF STATE
MONTGOMERY COUNTY        allysonholland@mc-ala.org ; taxaudit@mc-ala.org
MONTGOMERY COUNTY        tax@mctx.org
MONTGOMERY COUNTY        probate@mc-ala.org
MONTGOMERY COUNTY        kbwiggins@mcgtn.net
MONTGOMERY COUNTY        cclerk@montgomerycountytn.org
CLERK
MOORE COUNTY             taxadmin@moorecountync.gov
MOREHOUSE SALES AND      milzokiya1986@bellsouth.net
USE TAX COMMISSION
MORGAN COUNTY            mcch@co.morgan.al.us
MOTOR CARRIER DEPT.      otcadmin@odot.state.or.us
TRANSPORTATION DIV.
NASH COUNTY              tax.collections@nashcountync.gov
NATCHITOCHES TAX         ntcjm@cp-tel.net
COMMISSION
NATRONA COUNTY           treasurerinfo@natronacounty-wy.gov
NATRONA COUNTY           treasurerinfo@natronacounty-wy.gov
TREASURER
NAVARRO COUNTY           rdouglas@navarrocounty.org
ND OFFICE OF STATE TAX   taxinfo@nd.gov
COMMISSIONER
NEBRASKA DEPARTMENT      agr.webmaster@nebraska.gov
OF AGRICULTURE
NEBRASKA SECRETARY       sos.info@nebraska.gov
OF STATE
NEVADA DEPARTMENT        a.bartosz@agri.nv.gov
OF AGRICULTURE
NEVADA DEPARTMENT        nevadaolt@tax.state.nv.us
OF TAXATION
NEVADA DEPT OF           a.bartosz@agri.nv.gov
AGRICULTURE
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 106 of 120
          SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                    Electronic Mail Tax Service List
NEVADA DIVISION OF       glovato@ndep.nv.gov
ENVIRONMENTAL
PROTECT
NEVADA SECRETARY OF      sosmail@sos.nv.gov
STATE
NEW HAMPSHIRE            corporate@sos.nh.gov
DEPARTMENT OF STATE
NEW HANOVER COUNTY       taxadmin@nhcgov.com
NEW JERSEY DEPT OF       contactag@ag.nj.gov
AGRICULTURE
NEW MEXICO DEPT OF       nmagsec@nmda.nmsu.edu
AGRICULTURE
NEWBERRY COUNTY          klsmith@newberrycounty.net
NEWTON COUNTY            ncross@co.newton.ga.us
NEZ PERCE COUNTY         barbfry@co.nezperce.id.us
NH DMV                   nh.dmvhelp@dos.nh.gov
NJ DEPT. OF              contactag@ag.nj.gov
AGRICULTURE
NOLAN CAD                bklepper@nolan-card.org
NORTH CAROLINA           corpinfo@sosnc.gov
SECRETARY OF STATE
NORTH DAKOTA             ndda@nd.gov
DEPARTMENT OF
AGRICULTURE
NUECES CANYON ISD        juan.saucedo@realcad.org
NUECES COUNTY            juan.saucedo@realcad.org
NUECES COUNTY TAX        kevin.kieschnick@nuecesco.com
ASSESSOR
NYS DEPT OF              contact@dec.ny.gov
ENVIRONMENTAL
CONSERVATION
OCONEE COUNTY            treasurerinfo@oconeesc.com
OFFICE OF STATE TAX      taxinfo@nd.gov
COMMISSIONER
OFFICE OF TAX AND        e-services.otr@dc.gov
REVENUE
OFFICE OF TAX AND        e-services.otr@dc.gov
REVENUE
OHIO DEPARTMENT OF       agrcommunications@agri.ohio.gov
AGRICULTURE
OHIO DEPARTMENT OF       constituentaffairs@tos.ohio.gov
TAXATION
OHIO DEPARTMENT OF       constituentaffairs@tos.ohio.gov
TAXATION
  Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 107 of 120
         SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                   Electronic Mail Tax Service List
OKLAHOMA                kandi.batts@ag.ok.gov
DEPARTMENT OF
AGRICULTURE
OKLAHOMA SECRETARY      tod.wall@sos.ok.gov
OF STATE
OKLAHOMA TAX            otcmaster@tax.ok.gov
COMMISSION
OKLAHOMA TAX            otcmaster@tax.ok.gov
COMMISSION
OKLAHOMA TAX            otcmaster@tax.ok.gov
COMMISSION
OKLAHOMA TAX            otcmaster@tax.ok.gov
COMMISSION
OKLAHOMA TAX            otcmaster@tax.ok.gov
COMMISSION
OKLAHOMA TAX            otcmaster@tax.ok.gov
COMMISSION
ONSLOW COUNTY           harry_smith@onslowcountync.gov
OR DOT MOTOR CARRIER    odottolcomments@odot.state.or.us
TRANS. BRANCH
ORANGE COUNTY           taxpc@co.orange.tx.us
ORANGE COUNTY           tax@orangecountync.gov
ORANGE COUNTY           ttcinfo@ttc.ocgov.com
ORANGE COUNTY TAX       taxpc@co.orange.tx.us
ASSESSOR
OREGON DEPARTMENT OF    corp.help.dor@oregon.gov
REVENUE
OREGON SECRETARY OF     oregon.sos@oregon.gov
STATE
OREGON TRUCKING         info@ortrucking.org
ASSOCIATIONS
OSHA ENVIRONMENTAL      info@oecscomply.com
COMPLIANCE SYS
OWEN COUNTY             owencogov@owencountyky.us
PA DEPARTMENT OF        ra-sgoc@pa.gov
REVENUE
PA DEPARTMENT OF        ra-sgoc@pa.gov
REVENUE
PA DEPARTMENT OF        ra-sgoc@pa.gov
REVENUE
PA DEPT OF              ra-epcontactus@pa.gov
ENVIRONMENTAL
PROTECTION
PA DEPT. OF REVENUE     ra-sgoc@pa.gov
PANOLA COUNTY           holly.gibbs@co.panola.tx.us
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 108 of 120
          SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                    Electronic Mail Tax Service List
PARISH OF CATAHOULA      toneal@cpsbla.us
PARISH OF CONCORDIA      toneal@cpsbla.us
PARISH OF EAST BATON     financeinternetaccount@brla.gov
ROUGE
PARISH OF EAST           toneal@cpsbla.us
CARROLL
PARISH OF RAPIDES        jholloway@rpso.la.gov
PARISH OF ST. MARY       pio@stmaryso.com
PARISH OF ST. TAMMANY    shawnmcmanus@stpso.com
PARISH SALES TAX FUND    salestax@tpcg.org
PARK COUNTY               it@parkcounty.org
PARK COUNTY              pmeyer@parkcounty.us
PARKER CAD               autoreg.chief@parkercountytx.com
PARKER COUNTY TAX        autoreg.chief@parkercountytx.com
ASSESSOR
PARMER CAD               pcad@parmercad.org
PASQUOTANK COUNTY        stewartp@co.pasquotank.nc.us
PENDER COUNTY            bmurray@pendercountync.gov
PENNINGTON COUNTY        aaolson@co.pennington.mn.us
PENNSYLVANIA             ra-corps@pa.gov
DEPARTMENT OF STATE
PERRY COUNTY             perrytrustee@netease.net
PERSON COUNTY            sallen@personcountync.gov
PHILADELPHIA             revenue@phila.gov
DEPARTMENT OF
REVENUE
PICKENS COUNTY           mkirk@pickensalabama.com
PIKE COUNTY              mmosleypikerevenue@yahoo.com
PINE TREE ISD            aanders@ptisd.org
PINELLAS COUNTY          taxcollector@taxcollect.com
PITT COUNTY              lorie.english@pittcountync.gov
PLAQUEMINES PARISH       assessor@plaqpao.com
PLYMOUTH COUNTY          treasurer@co.plymouth.ia.us
PLYMOUTH COUNTY          treasurer@co.plymouth.ia.us
POCAHONTAS COUNTY        shelton1@assessor.state.wv.us
SHERIFF
POLK COUNTY              joetedder@polktaxes.com
POLK COUNTY              mbowlin@polknc.org
POLK COUNTY              propertytax.treasurer@polkcountyiowa.gov
TREASURER
POTTER COUNTY            pcto@co.potter.tx.us
POWER COUNTY             dcurry@co.power.id.us
PRESTON COUNTY           jlewis@prestoncountywv.gov
SHERIFF
PULASKI COUNTY           skelley@pcgovt.com
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 109 of 120
          SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                    Electronic Mail Tax Service List
PUTNAM COUNTY            wayne.nabors@tn.gov
PUTNAM COUNTY            sdeweese@putnamwv.org
SHERIFF
RAINS CAD                rcadmail@rainscad.org
RALEIGH COUNTY           ralcom@raleighcounty.com
RANDALL COUNTY TAX       christina.mcmurray@randallcounty.com
ASSESSOR
RANDOLPH COUNTY          tips@rcsowv.org
SHERIFF
RAYMONDVILLE ISD         tijerinar@raymondvilleisd.org,rodriguezis@raymondvilleisd
                         .org
REAL COUNTY              dbrice@co.real.tx.us
RED RIVER COUNTY         redrivertax@yahoo.com
REEVES CAD               reevescad@gmail.com
RHODE ISLAND             corporations@sos.ri.gov
SECRETARY OF STATE
RICHLAND COUNTY          treasurer@richlandcountysc.gov
RICHLAND COUNTY          treasurer@richlandcountysc.gov
TREASURER
RICHMOND COUNTY          vagas.jackson@richmondnc.com
RICHMOND COUNTY          kbrann@co.richmond.va.us
RIVERSIDE COUNTY         rcttc@rivco.org
ROANOKE COUNTY           khutchins@roanokecountyva.gov
ROBESON COUNTY           kellie.blue@co.robenson.nc.us
ROCKINGHAM COUNTY        taxadm@co.rockingham.nc.us
ROCKWALL CAD             info@rockwallcad.com
ROSEBUD COUNTY           kfahrenbruck@rosebudcountymt.com
TREASURER
ROUTT COUNTY CLERK       liacovetto@co.routt.co.us
ROWAN COUNTY             taxcollector@rowancountync.gov
RUNNELS COUNTY           runnelscotax2@wtxs.net
RUSSELL COUNTY           rcountypropertytax@ctvea.net
RUTHERFORD COUNTY        tebbatey@rutherfordcountytn.gov
SAMPSON COUNTY           jjohnson@sampsonnc.com
SAN AUGUSTINE COUNTY     regina.barthol@co.san-augustine.tx.us
SANTA CLARA COUNTY       scctax.collector@fin.scgov.org
SANTA FE ISD             robyn.tilitzki@sfisd.org
SARASOTA COUNTY          info@sarasotataxcollector.com
SC DEPARTMENT OF         corptax@dor.sc.gov
REVENUE
SC DEPARTMENT OF         corptax@dor.sc.gov
REVENUE
SC DEPARTMENT OF         fiduciaries@dor.sc.gov
REVENUE
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 110 of 120
          SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                    Electronic Mail Tax Service List
SC DEPT HEALTH &         info@dhec.sc.gov.
ENVIRONMENTAL
CONTROL
SC DMV MAIL IN           help@scdmvonline.com
REGISTRATION DEPT.
SCHLEICHER CAD           schleicher2tac@gmail.com
SCOTT COUNTY             sctrustee@highland.net
SCOTT COUNTY             info@scott.kysheriff.org
SCURRY COUNTY            jana.young@co.scurry.tx.us
SEATTLE BUSINESS         tax@seattle.gov
LICENSING & TAX
ADMINISTRATION
SECRETARY OF STATE       branch.bmv@maine.gov
SECRETARY OF STATE       business@sos.idaho.gov
SECRETARY OF STATE        sos@sos.iowa.gov
SECRETARY OF STATE       info@sos.mo.gov
SECRETARY OF THE         corpinfo@sec.state.ma.us
COMMONWEALTH
SEVIER COUNTY            cbuchanan@sevier.utah.gov
SHACKELFORD CAD          csnyder@shackelfordcad.com
SILVER BOW COUNTY        lpatrick@bsb.mt.gov
TREASURER
SMITH COUNTY TAX         taxoffice@smith-county.com
ASSESSOR
SMITH COUNTY TAX         taxoffice@smith-county.com
OFFICE
SOMERVELL CAD            somervellcad@yahoo.com
SOUTH DAKOTA             agmail@state.sd.us
DEPARTMENT OF
AGRICULTURE
ST. CHARLES PARISH       salestax@stcharles.k12.la.us
SCHOOL BOARD
ST. JOHN THE BAPTIST     info@lalocaltax.com
PARISH
STANISLAUS COUNTY        fordg@stancounty.com
STATE OF ARKANSAS        gina.burton@dfa.arkansas.gov
STATE OF IDAHO           taxrep@tax.idaho.gov
STATE OF MI - DIRECT     treasrevenuesharing@michigan.go
MAIL UNIT #298
STERLING COUNTY          julie.mcentire@co.sterling.tx.us
SULLIVAN COUNTY          susan.ramsey@sullivancountytn.gov
SUMNER COUNTY            info@sumnertn.org
SUMTER COUNTY            taxcollectorsc@yahoo.com
SURRY COUNTY             harrisonp@co.surry.nc.us
SUTTON CAD               sutton.tac@verizon.net
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 111 of 120
          SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                    Electronic Mail Tax Service List
TANGIPAHOA PARISH        donna.drude@tangischools.org
SCHOOL SYSTEM
TARRANT COUNTY           webmaster@tarrantcounty.com
TAYLOR CAD               coronado@cadtx.org
TAYLOR COUNTY TAX        mwiggins@taylorcountytaxcollector.com
COLLECTOR
TAZEWELL COUNTY          eyoung@tazewellcounty.org
TENNESSEE DEPARTMENT     tn.agriculture@tn.gov
OF AGRICULTURE
TERRY CAD                e.olivas@windstream.net
TEXAS CITY ISD           gcad@galvestoncad.org
TEXAS COMMISSION ON      info@tceq.texas.gov
ENVIRONMENTAL QLTY
TEXAS DEPARTMENT OF      tdafinancialservices@texasagriculture.gov
AGRICULTURE
TITUS COUNTY             titustaxoffice@yahoo.com
TOM GREEN COUNTY         becky.robles@co.tom-green.tx.us
TOM GREEN COUNTY TAX     becky.robles@co.tom-green.tx.us
OFFICE
TOOLE COUNTY CLERK       bjackson@toolecountymt.gov
TOWN OF BELLINGHAM       assessors@bellinghamma.org
TOWN OF BRYSON            carlapassmore@brysoncitync.gov
TOWN OF COEBURN          ksharpe@townofcoeburn.com
TOWN OF DECATUR           laurasmith@decaturtn.net
TOWN OF EMERALD ISLE     gknapp@emeraldisle-nc.org
TOWN OF ENFIELD          assessor@enfield.org
TOWN OF HERMON           grassr@hermon.net
TOWN OF JASPER           mayortownofjaspertn@gmail.com
TOWN OF JEFFERSON        taxadmin@ashecountygov.com
TOWN OF WALLACE          jmartin@wallacenc.gov
TOWN OF WARREN           kleadem@townofwarren-ri.gov
TOWN OF WARSAW           jblackleyrice@town.warsaw.va.us
TOWN OF WATERTOWN        hamel@watertownct.org
TOWN OF WEST             helene@westhartfordct.gov
HARTFORD
TOWN OF WEST             helene@westhartfordct.gov
HARTFORD
TOWN OF WILBRAHAM        lfrederick@wilbraham-ma.gov
TOWN OF WILKESBORO       jbyrd@wilkesboronc.org
TOWN OF WINDSOR          elliot@townofwindsorct.com
TRANSYLVANIA COUNTY      jessica.mccall@tconc.org
TRAVIS COUNTY            taxoffice@traviscountytx.gov.
TRAVIS COUNTY TAX        taxoffice@traviscountytx.gov.
ASSESSOR
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 112 of 120
          SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                    Electronic Mail Tax Service List
TREASURER STATE OF       state.treasurer@maine.gov
MAINE
TREASURER STATE OF       state.treasurer@maine.gov
MAINE
TREASURERS OFFICE        treasurer@sheridancounty.com
TUCKER COUNTY SHERIFF    fong1022000@yahoo.com
TULSA COUNTY             dsemler@tulsacounty.org
TUSCALOOSA COUNTY        license@tuscco.com
TUSCALOOSA COUNTY        collector2@tuscco.com
TWIN FALLS COUNTY        treas-inq@co.twin-falls.id.us
TX STATE COMPTROLLER     comptroller.help@cpa.texas.gov
UINTAH COUNTY            wlong@uintah.utah.gov
UNION COUNTY             ucta@uniongov.com
UNION COUNTY             ucta@uniongov.com
UNION COUNTY             assessor@union-county.org
UNION PARISH             dgriggs@lpsto.org
UNITED ISD               momadrigal@uisd.net
UPTON COUNTY             mzarate@co.upton.tx.us
US DEPARTMENT OF         amsadministratoroffice@ams.usda.gov
AGRICULTURE AMS
US ENVIRONMENTAL         r9.info@epa.gov
PROTECTION AGCY REG
IX
UT DEPT. OF              mcscorres@utah.gov
TRANSPORTATION
UTAH COUNTY              slcotreasurer@slco.org
UTAH STATE TAX           taxmaster@utah.gov
COMMISSION
UTAH STATE TAX           taxmaster@utah.gov
COMMISSION
UTAH STATE TAX           taxmaster@utah.gov
COMMISSION
UTAH STATE TAX           taxmaster@utah.gov
COMMISSIONER
UVALDE CAD               rvaldez@uvaldecad.org
UVALDE COUNTY TAX        rita@uvaldecounty.com
ASSESSOR
VAN ZANDT CAD            admin@vzcad.org
VANCE COUNTY             taxoffice@vancecounty.org
VENTURA COUNTY           steven.hintz@ventura.org
VERMONT AGENCY OF        agr.helpdesk@vermont.gov
AGRICULTURE
VERMONT AGENCY OF        agr.helpdesk@vermont.gov
AGRICULTURE
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 113 of 120
          SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                    Electronic Mail Tax Service List
VERMONT DEPARTMENT       tax.vttaxdept@vermont.gov
OF TAXES
VERMONT DEPARTMENT       tax.vttaxdept@vermont.gov
OF TAXES
VERNON PARISH            vppj@vppjla.com
VICTORIA COUNTY          rscherer@vctx.ort
VIRGINIA DEPARTMENT      stephanie@benson@tax.virginia.gov
OF REVENUE
VIRGINIA DEPARTMENT      stephanie@benson@tax.virginia.gov
OF TAXATION
VIRGINIA DEPARTMENT      stephanie@benson@tax.virginia.gov
OF TAXATION
VIRGINIA DEPT. OF        stephanie@benson@tax.virginia.gov
AGRICULTURE &
CONSUMER SERVICES
VIRGINIA DEPT. OF        stephanie@benson@tax.virginia.gov
TAXATION
VOLUSIA COUNTY           revenue@volusia.org
VT AGENCY OF AG, FOOD,   agr.media@vermont.gov; terry.smith@vermont.gov
& MARKETS
WA STATE DEPT. OF        bls@dor.wa.gov
REVENUE
WAKE COUNTY              taxhelp@wakegov.com
WALKER CAD               wcad@sbcglobal.net
WALKER COUNTY            wcad@sbcglobal.net
WALKER COUNTY            commissioner@walkerga.us
WALKER COUNTY            tirey@walkercountysherriff.com
WALLER COUNTY            wcad@sbcglobal.net
WARE COUNTY              rcollins@warecounty.com
WARE COUNTY TAX          waretax@warecounty.com
COMMISSIONER
WARREN COUNTY            bryant.trustee@warrencountytn.gov; taxes@blomand.net
WARREN COUNTY            crichardson@wcsoky.net ; chargett@wcsoky.net
WARREN COUNTY CLERK      lynette.yates@ky.gov
WARREN COUNTY            revenue@bgky.org ; david.lyne@bgky.org
OCCUPATIONAL LICENSE
WASHINGTON COUNTY        wdilworth@brenhamk-12.net
WASHINGTON COUNTY        wctrustee@washingtoncountytn.org
WASHINGTON COUNTY        tbates@wcgov.org
WASHINGTON COUNTY        help@washco.utah.gov
WASHINGTON COUNTY        fparker@washcova.com
WASHINGTON COUNTY        tabatha.hansen@co.washington.mn.us
WASHINGTON PARISH        aestave@wpso.la.gov ; jwilson@wpso.la.gov
SHERIFF'S OFFICE
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 114 of 120
          SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                    Electronic Mail Tax Service List
WASHINGTON               secretaryofstate@sos.wa.gov
SECRETARY OF STATE
WASHINGTON STATE         bls@dor.wa.gov
DEPARTMENT OF
REVENUE
WASHOE COUNTY            tax@washoecounty.us
WAYNE COUNTY             alan.lumpkin@waynegov.com
WAYNE COUNTY             renickbooth@waynecountywv.org
WEBB COUNTY TAX          rmcuellar@webbcountytx.gov
OFFICE
WEBSTER COUNTY           webcosd300@yahoo.com
SHERIFF
WEBSTER PARISH           lhudson@websterpsb.org
SCHOOL BOARD
WELD COUNTY              treasurer@weldgov.com
WELD COUNTY CLERK        treasurer@weldgov.com
WEST BATON ROUGE         melanie.david@wbrcouncil.org
PARISH
WEST VIRGINIA            jhatton@wvda.us
DEPARTMENT OF
AGRICULTURE
WEST VIRGINIA            jhatton@wvda.us
DEPARTMENT OF
AGRICULTURE
WEST VIRGINIA            business@wvsos.gov
SECRETARY OF STATE
WEST VIRGINIA STATE      alicia.e.clark@wv.gov; taxhelp@wv.gov
TAX DEPARTMENT
WEST VIRGINIA STATE      alicia.e.clark@wv.gov; taxhelp@wv.gov
TAX DEPARTMENT
WEST VIRGINIA STATE      alicia.e.clark@wv.gov; taxhelp@wv.gov
TAX DEPARTMENT
WEST VIRGINIA TAX        alicia.e.clark@wv.gov; taxhelp@wv.gov
DEPARTMENT
WHARTON COUNTY           grace.utley@co.wharton.tx.us
WHITE COUNTY             chad.marcum@whitecountytn.gov
WHITE COUNTY TAX         wctc@whitecounty.net
COMMISSIONER
WHITLEY COUNTY            dowens@2geton.net
WICHITA COUNTY           tommy.smyth@co.wichita.tx.us
WICHITA COUNTY TAX       tommy.smyth@co.wichita.tx.us
ASSESSOR
WILBARGER CAD            cquis@co.wilbarger.tx.us
WILBARGER COUNTY         cquis@co.wilbarger.tx.us
WILKES COUNTY            ahamilton@wilkescounty.net
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 115 of 120
          SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                    Electronic Mail Tax Service List
WILLACY COUNTY           elizabeth.barnhart@co.willacy.tx.us
WILLIAMSBURG COUNTY      treasurer@williamsburgcounty.sc.gov ;
                         taxcollector@williamsburgcounty.sc.gov
WILLIAMSON COUNTY        tanna.glenn@williamsoncounty-tn.gov ;
                         karen.paris@williamsoncounty-tn.gov
WILLIAMSON COUNTY        proptax@wilco.org ; motorvehicle@wilco.org
WILSON COUNTY            taxoffice@wilson-co.com
WINKLER COUNTY           wctac@co.winkler.tx.us
WINN PARISH SCHOOL       debra@winnpsb.org; dwoodward@winnpsb.us
BOARD
WINNEBAGO COUNTY         winnebagotreasurer@wincoil.us
WIRT COUNTY SHERIFF      k.root@wirtcountysheriff.com
WISCONSIN DEPARTMENT     datcpworkinglands@wisconsin.gov
OF AGRICULTURE
WISCONSIN DEPARTMENT     dorincome@wisconsin.gov
OF REVENUE
WISCONSIN DEPARTMENT     dorincome@wisconsin.gov
OF REVENUE
WISCONSIN DEPARTMENT     dorincome@wisconsin.gov
OF REVENUE
WISCONSIN DEPARTMENT     dorincome@wisconsin.gov
OF REVENUE
WISCONSIN DEPT OF        datcphotline@wisconsin.gov
AGRICULTURE, TRADE &
CONSUMER PROTECTION
WISCONSIN DEPT. OF       dficorporations@wisconsin.gov
FINANCIAL INSTITUTIONS
WISE COUNTY              monte.shaw@co.wise.tx.us
WISE COUNTY              smith_d@wisecounty.org ; taxinquiry@wisecounty.org
WOOD COUNTY              ctaylor@mywoodcounty.com
WOOD COUNTY SHERIFF      dschuck@woodcountywv.com ;
                         sheriff@woodcountywv.com
WYOMING COUNTY           wyomingcountysheriff@verizon.net
SHERIFF
WYOMING DEPARTMENT       christie.yurek@wyo.gov ; brenda.arnold@wyo.gov
OF REVENUE
WYOMING DEPT OF          wda1@wyo.gov ; julie.cook@wyo.gov
AGRICULTURE
WYOMING SECRETARY OF     secofstate@wyo.gov
STATE
YANCY COUNTY             danny.mcintosh@yanceycountync.gov ;
                         fonda.thomas@yanceycountync.gov
YELLOWSTONE COUNTY       slong@co.yellowstone.mt.gov
YELLOWSTONE COUNTY       slong@co.yellowstone.mt.gov
TREASURER
  Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 116 of 120
         SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                   Electronic Mail Tax Service List
YOAKUM COUNTY           jparrish@yoakumcounty.org
YORK COUNTY             finance@yorkcountygov.com
YOUNG CAD               n.thomas@youngcounty.org
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 117 of 120




                          EXHIBIT I
   Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 118 of 120
          SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
                 Electronic Mail Shareholder Service List
       NAME                ATTN                        EMAIL
BLACKROCK FUND      ATTN: MR. CLAUDE      alan.mason@blackrock.com
ADVISORS            ALAN MASON
DIMENSIONAL FUND    ATTN: DR. GERARD      gerard.oreilly@dfafund.com
ADVISORS LP         KIERAN OREILLY
MORGAN STANLEY      ATTN: MR. STEPHEN     stephen.penwell@morganstanley.com
& CO. LLC           BRYAN PENWELL
THE VANGUARD        ATTN: MR. GREGORY     gregory_davis@vanguard.com
GROUP, INC.         DAVIS
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 119 of 120




                          EXHIBIT J
Case 19-36313 Document 82 Filed in TXSB on 11/13/19 Page 120 of 120
       SOUTHERN FOODS GROUP, LLC, et al. – Case No. 19-36313
          Electronic Mail Hedging Counterparties Service List
            NAME                              EMAIL
    DAIRY PRODUCTS INC          info@dairyproductsinc.com
    RABOBANK NY BRANCH          tmteam@rabobank.com
